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                                  Exhibit 5:
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   LIST OF ACRONYMS

   APCD                 Air Pollution Control Division
   AQCC                 Air Quality Control Commission
   CAA                  Clean Air Act
   CAMP                 Continuous Ambient Monitoring Program
   CDOT                 Colorado Department of Transportation
   CDPHE                Colorado Department of Health and Environment
   CEQ                  Council on Environmental Quality
   CFR                  Code of Federal Regulations
   CO                   Carbon monoxide

   CO2                  Carbon dioxide

   DEH                  Denver Department of Environmental Health

   Denver               City and County of Denver
   DPM                  Diesel particulate matter
   DRCOG                Denver Regional Council of Governments
   EIS                  Environmental Impact Statement
   EPA                  Environmental Protection Agency
   FHWA                 Federal Highway Administration
   FR                   Federal Register
   FTA                  Federal Transit Administration
   GHG                  Greenhouse gas
   GP                   General Purpose
   HAP                  Hazardous Air Pollutant
   I/M                  Inspection and Maintenance
   LOS                  Level of Service
   mg/m3                Milligrams per cubic meter of air
   ML                   Managed Lanes
   MMT                  Million metric tons
   MOBILE               Mobile Source Emission Model (EPA)
   MOVES                Motor Vehicle Emission Simulator
   MSAT                 Mobile source air toxic
   NAAQS                National ambient air quality standards




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   NEPA                   National Environmental Policy Act
   NO2                   Nitrogen dioxide
   NOx                   Nitrogen oxides
   O3                    Ozone
   OTAQ                   EPA Office of Transportation Air Quality
   PACT                  Preferred Alternative Collaborative Team
   PM                    Particulate matter
   PM2.5                 Particulate matter of 2.5 microns or less in diameter
   PM10                  Particulate matter of 10 microns or less in diameter
   POM                   Particulate Organic Matter
   ppb                   Parts per billion
   ppm                   Parts per million
   RTD                   Regional Transportation District
   RTP                   Regional transportation plan
   SIP                   State implementation plan
   SO2                   Sulfur dioxide
   TIP                    Transportation improvement program
   TSD                   Technical Support Document
   USC                    United States Code
   VHT                   Vehicle hours of travel
   VMT                   Vehicle miles of travel
   VOC                    Volatile organic compounds
   μg/m    3
                         Micrograms per cubic meter




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 1       INTRODUCTION

 The I-70 East Environmental Impact Statement (EIS) is a joint effort between the Federal
 Highway Administration (FHWA) and the Colorado Department of Transportation (CDOT).
 The intent of the EIS is to identify potential highway improvements along I-70 in the Denver
 metropolitan area between I-25 and Tower Road and to assess their potential effects on the
 human and natural environment.

 1.1     Project Limits

 As shown on Figure 1, the project limits extend along I-70 between I-25 and Tower Road. The
 project area covers portions of Denver, Commerce City, Aurora, and Adams County. This area
 includes the neighborhoods of Globeville, Elyria and Swansea, Northeast Park Hill, Stapleton,
 Montbello, and Gateway. The portion of Aurora in the project area is referred to as the Aurora
 Neighborhood in this report. Each resource has a specific study area based on the resource.

 Figure 1.   Project area




                                    r                                                                                           CO
                               40,,
                                / Commerce City                                                                                 0
                                                                                                                                a.)
                                                                                                  56th Ave



                                                                                             Montbello                Gateway
                              I                       47th Ave
                                                                       Stapleton

                   Elyria 8. Swansea       Northeast
                                           Park Hill
                                                MLK Blvd
                                                                                                             Aurora

        Denver                                           Project Limits
                  &-)              CO
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                   Project Area                                  Neighborhood Boundaries              19,             Freight Railroads




 1.2     Project Background

 Analysis of I-70 began in June 2003 as part of the I-70 East Corridor EIS, a joint effort
 conducted by CDOT, FHWA, the Regional Transportation District (RTD), the Federal Transit
 Administration (FTA), and the City and County of Denver (Denver). In June 2006, CDOT and
 RTD determined that the highway and transit elements of the I-70 East Corridor EIS process
 serve different travel markets, are located in different corridors, and have different funding
 sources. The highway and transit components of the analysis were, therefore, separated.


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 After the project separation, the alternatives that made it through the screening process by
 addressing the purpose and need of the project were fully evaluated in the Draft EIS,
 published in November of 2008. With the release of the 2008 Draft EIS, the public and
 agencies had an opportunity to review and comment on it. Public hearings were held to
 present the information and encourage formal comments. Due to the complexity of the project
 and the extensive amount of public comments received during the formal comment period, the
 project team decided to form the Preferred Alternative Collaborative Team (PACT) as part of a
 collaborative process with project stakeholders to recommend a preferred alternative. Through
 this collaborative process, additional analysis was performed, which resulted in the
 elimination of two previous alternatives and the addition of a new alternative.
 Additional analysis and public involvement efforts were performed to determine the validity of
 the alternatives that were considered reasonable alternatives in the 2008 Draft EIS. Based on
 the public comments, the additional analysis, and the PACT collaborative process, the project
 team determined that the Realignment Alternatives using I-270 were no longer reasonable.
 Consequently, a new alternative option was designed to address the public concerns and
 incorporate their comments. Due to the changes in the alternatives, outdated census data, and
 new and updated federal and state laws and regulations, the analysis in the 2008 Draft EIS
 was revisited and the Supplemental Draft EIS was written.
 The Supplemental Draft EIS was released in August of 2014 for public comment. The
 comment period closed in October of 2014, at which time comments were reviewed and the
 determination was made concerning additional information to be included in the Final EIS.
 This technical report describes the methodology used and presents the results of the air
 quality analyses for the I-70 East project based on three fundamental components:
        Carbon monoxide (CO) hotspot analysis;
        Particulate matter (PM) hotspot analysis (for particulate matter of 10 microns or less
         in diameter [PM10], specifically); and
        Emissions inventory burden analysis for National Ambient Air Quality Standards
         (NAAQS) criteria pollutants, mobile source air toxics (MSATs), and greenhouse gases
         (GHGs).

 1.3     Update to the Air Quality Analysis

 The air quality analysis for the Final EIS differs from the Supplemental Draft EIS in several
 respects, as described below:
        Traffic data from the Denver Regional Council of Governments (DRCOG) Compass
         model is being used in this analysis. This model includes minor updates to the socio-
         economic data set used in the Supplemental Draft EIS.
        Only the Preferred Alternative (Partial Cover Lowered Alternative with Managed
         Lanes Option) is modeled in the carbon monoxide hotspot analysis for the Final EIS
         since all of the alternatives were modeled for the Supplemental Draft EIS and showed
         low values, and there are only minor changes to the traffic data.




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        An updated/corrected inspection and maintenance (I/M) file, provided by the Colorado
         Department of Public Health and Environment (CDPHE) Air Pollution Control
         Division (APCD), was used for the carbon monoxide hotspot analysis in the Final EIS.
        Dispersion modeling for the PM10 hotspot analysis will use meteorological data from
         the Stapleton meteorological station to better represent the weather at the project
         location.
        On the recommendation of the Environmental Protection Agency (EPA), changes also
         were made to how the below-grade sections of highway in the Preferred Alternative
         were modeled for the PM10 hotspot analysis, and the receptor network was expanded to
         include all locations outside the project right of way.
        The PM10 background concentration for the hotspot analysis was determined using new
         guidance from EPA, which requires the use of the fourth highest PM10 value over a
         three-year period, excluding exceptional events.
        An updated emissions inventory for NAAQS pollutants/precursors and MSAT
         pollutants was included in the Final EIS.
        An updated discussion of climate change and greenhouse gases (GHGs), including
         updated emissions calculations, was used to better portray the relationship of Colorado
         GHG emissions to nationwide and global totals.
        Objectives and requirements for an air quality monitoring plan that will be used
         during the construction phase of the project to monitor for PM10 emissions was
         included in the Final EIS.


 1.4     Report Overview

 This report describes the air pollutants of interest that were analyzed and identifies the
 regulations and guidance used to establish the methodology and assumptions for the analyses.
 This report also documents existing air quality conditions in the project area, describes the
 methodology used in the air quality analysis, discusses results of the analysis and effects of
 the alternatives and options on air quality, and presents potential mitigation measures to
 reduce air emissions during construction and operation of the highway.




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 2      RESOURCE DEFINITION

 The primary air quality concerns for potential I-70 East highway improvements focus on the
 exposure of local populations to criteria pollutants, MSATs, GHGs, and fugitive dust from
 construction activities.

 2.1    Criteria Pollutants

 The Clean Air Act of 1970 (CAA), as amended, identifies six commonly found air pollutants,
 also known as criteria pollutants, as harmful to human health and the environment.
 Ground-level ozone (O3). Ozone is a pollutant created by the chemical reaction of volatile
 organic compounds (VOC) and nitrogen oxides (NOx) in the presence of sunlight. The O3
 molecule is created through this chemical transformation, which typically occurs downwind
 from the VOC and NOx emission sources. As a result, ozone is considered a regional issue
 rather than localized to streets or intersections, and an individual highway project will
 typically have little or no effect on regional ozone concentrations. Ozone is evaluated using the
 VOC and NOx emission precursors in an emission inventory burden analysis instead of a
 localized, or hotspot, analysis.
 Health effects include breathing problems, reduced lung function, asthma, irritated eyes,
 stuffy nose, reduced resistance to colds and other infections, and acceleration of the aging of
 lung tissue. Ozone also damages plants, trees, rubber products, fabrics, and other materials.
 As of 2015, the Denver region is classified as nonattainment for the 8-hour 2008 ozone
 standards. The region was originally designated under the 1-hour standard, which has since
 been replaced with an 8-hour standard in 2008.
 Particulate matter. PM is a complex mixture of very small particles and liquid droplets
 classified as either inhalable coarse-sized particles (PM10 refers to particles 10 microns or less)
 or fine particles (PM2.5 refers to particles 2.5 microns or less and makes up a portion of PM10).
 PM includes diesel tailpipe emissions; road, brake, and tire dust; and dust due to construction
 activities (particulate matter is not a major component of emissions from gasoline-powered
 vehicles, which are the predominant source of traffic in this corridor).
 Health effects include nose and throat irritation, lung damage, and bronchitis. PM10 has been
 a concern in the Denver region in the past, but the region is currently in
 attainment/maintenance for this pollutant. The Denver nonattainment area was redesignated
 to attainment/maintenance status by the EPA on September 16, 2002 (EPA, 2002) and has
 maintained the NAAQS since that time.
 While PM10 constitutes both visible and fine dust particles, PM2.5 is mainly a product of
 vehicle emissions and other combustion sources, and is not visible to the naked eye. The ratio
 of PM2.5 to PM10 varies. According to the results of the emission inventory analysis (Section
 7.3), PM2.5 accounts for approximately 57 percent of non-dust PM10 vehicle exhaust emissions;
 however, particulate matter pollution sources, such as road sanding and brake and tire wear,
 are the primary contributing factors of PM10 emissions for the Final EIS. For road dust, EPA
 has documented the ratio of PM2.5 to PM10 to be 25 percent (EPA, 2011a).



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 Denver is in attainment for the 1997, 2006, and 2012 PM2.5 standards. There has been one
 exceedance of the 24-hour PM2.5 standard since 1999, which occurred at the Denver
 Continuous Air Monitoring Program (CAMP) monitoring station in 2001; therefore, PM2.5 is
 not a pollutant of concern in the Denver area at the present time or for the foreseeable future.
 Carbon monoxide. Carbon monoxide is a colorless, odorless gas emitted directly from vehicle
 tailpipes as a product of combustion. Because of this, carbon monoxide tends to concentrate at
 intersections with high vehicle delays and poor level of service. Carbon monoxide reduces the
 ability of blood to bring oxygen to body cells and tissues. High concentrations of carbon
 monoxide may be particularly hazardous to people who have heart or circulatory problems
 and people who have damaged lungs or breathing passages. In severe cases, carbon monoxide
 poisoning can cause death.
 Carbon monoxide has been a concern in the Denver region in the past, but the region was
 redesignated to an attainment/maintenance area for this pollutant in December 2001 (EPA,
 2001).
 Nitrogen dioxide. Nitrogen dioxide (NO2) is a highly reactive gas that is emitted during the
 combustion process. Health effects include lung damage and illnesses of the respiratory
 system. NO2 has not been and is not currently an issue in the Denver region or the state of
 Colorado.
 Sulfur dioxide. Sulfur dioxide (SO2) is one of a group of highly reactive gases emitted during
 the combustion process. SO2 causes breathing problems and lung damage. The Denver region
 has not had any violations of the SO2 standard, nor has any location within Colorado. Sulfur
 dioxide is a pollutant of general air quality concern and contributes to the overall air shed of
 the project study area. Sulfur dioxide is not considered a transportation-related criteria
 pollutant.
 Lead. Lead is a metal found naturally in the environment. It is used in manufacturing and
 historically was added to gasoline to reduce engine knocking, boost octane ratings, and
 decrease wear and tear on engine components. Lead poisoning causes serious health effects,
 including seizures, high blood pressure, learning disabilities, behavioral disorders, and central
 nervous system problems. Lead has been phased out of paint and automotive fuels.
 Monitoring data show that lead is not a pollutant of concern in the Denver region.
 The six criteria pollutants are regulated by EPA through the NAAQS, which defines primary
 and secondary limits for these air pollutants based on human health and
 environment/property damage, respectively. Table 1 summarizes the concentration standards
 for the NAAQS criteria pollutants. Each of the criteria pollutants has been proven through
 scientific study to have adverse effects on human health and the environment and/or property.
 EPA tracks these criteria pollutants in two ways: through measurements of pollutant
 concentrations in the air at monitoring sites across the nation, including the Denver region,
 and through analytical estimates of emissions based on implementation of transportation
 plans, improvement programs, and individual projects.
 To summarize, of the NAAQS criteria pollutants, only carbon monoxide, PM10, and ozone have
 been of concern in the Denver region, and ozone is the only pollutant for which the region is
 currently in nonattainment. The region was originally designated under the 1-hour standard,


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 which has since been replaced with an 8-hour standard in 1997 that was updated in 2008. The
 Denver region was redesignated to attainment/maintenance status for PM10 by the EPA on
 September 16, 2002 (EPA, 2002a), and for carbon monoxide on December 14, 2001 (EPA,
 2001).

 Table 1.     National Ambient Air Quality Standards

                Primary        Averaging     Secondary
 Pollutant                                                                 Form                     Final Rule Citation
               Standards         Time        Standards

             9 parts per                                    Not to be exceeded more than once
                              8-hour        None                                                    76 Federal Register
             million (ppm)                                  per year
 CO                                                                                                 (FR) 54294
                                                            Not to be exceeded more than once       August 31, 2011
             35 ppm           1-hour        None
                                                            per year
             0.15             Rolling
             micrograms       three-        Same as                                                 73 FR 66964
 Lead                                                       Not to be exceeded
             per cubic        month         Primary                                                 November 12, 2008
             meter (μg/m3)    average

             53 parts per                   Same as         Annual mean must not exceed
                              Annual                                                                75 FR 6474
             billion (ppb)                  Primary         standard
                                                                                                    February 9, 2010;
 NO2
                                                                                                    61 FR 52852
                                                            98th percentile averaged over three
             100 ppb          1-hour        None                                                    October 8, 1996
                                                            years must not exceed standard

                                            Same as         Not to be exceeded more than once
 PM10        150 μg/m3        24-hour1
                                            Primary         per year on average over three years2

                                                            Annual mean averaged over three         78 FR 3086
             12 μg/m3         Annual        15 μg/m3
                                                            years must not exceed standard          January 15, 2013
 PM2.5
                                            Same as         98th percentile averaged over three
             35 μg/m3         24-hour4
                                            Primary         years must not exceed standard3

                                                            Annual fourth- daily maximum 8-hour
                                            Same as                                                 73 FR 16436
 Ozone       0.075 ppm        8-hour                        concentration, averaged over three
                                            Primary                                                 March 27, 2008
                                                            years must not exceed standard5

                                                                                                    75 FR 35520 June
                                                            99th percentile of 1-hour maximum       22, 2010
 SO26        75 ppb           1-hour        None            concentrations averaged over three      38 FR 25678
                                                            years must not exceed standard          September 14,
                                                                                                    1973
 Source: EPA, 2014 (http://www.epa.gov/air/criteria.html)
 1. To attain this standard, the three-year average of the annual arithmetic mean PM2.5 concentrations from single or
 multiple community-oriented monitors must not exceed 15 μg/m3.
 2. The annual average standard for PM10 was revoked by EPA in a rule making in September 2006. The previous
 standard was 50 μg/m3.
 3. This standard was revised from 65 to 35 μg/m3 by EPA in a rule making in September 2006, and will be
 implemented over a lengthy period. To attain this standard, the three-year average of the 98th percentile of 24-hour
 concentrations at each population-oriented monitor within an area must not exceed 35 μg/m3. This standard becomes
 effective December 18, 2006.
 4. To attain this standard, the three-year average of the fourth highest daily maximum 8-hour average ozone
 concentrations measured at each monitor within an area over each year must not exceed 0.08 ppm.
 5. (a) The standard is attained when the expected number of days per calendar year with maximum hourly average
 concentrations above 0.12 ppm is < 1. (b) The 1-hour standard is applicable to all areas notwithstanding the
 promulgation of 8-hour ozone standards under Sec. 50.10. On June 2, 2003, (68 FR 32802) EPA proposed several
 options for when the 1-hour standard would no longer apply to an area.
 6. Colorado has a 3-hour SO2 standard of 267 ppb more than once in any 12-month period.
 (https://www.colorado.gov/pacific/sites/default/files/5-CCR-1001-14.pdf)




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 2.2     Mobile Source Air Toxics

 Toxic air pollutants, also known as Hazardous Air Pollutants (HAP), are those known or
 suspected to cause cancer or other serious health effects, such as reproductive effects or birth
 defects, or adverse environmental effects. Through the HAP Program of the CAA
 Amendments of 1990, EPA has identified approximately 187 pollutants that are known to
 cause health problems. Of the 187 HAP toxic air pollutants, 21 have been identified by EPA as
 MSATs. MSATs are compounds emitted from motor vehicles and equipment that are known or
 suspected to cause cancer or other serious health and environmental effects.
 Of the 21 MSATs, EPA has indicated that the majority of adverse health effects arise from
 seven pollutants, which FHWA has labeled as priority MSATs for National Environmental
 Policy Act (NEPA) studies.
 Most air toxics originate from mobile sources (e.g., cars, trucks, buses), stationary sources
 (e.g., factories, refineries, power plants), and indoor sources including building materials and
 cleaning solvents.
 Benzene. Benzene is a component of gasoline vapors and motor vehicle exhaust. Acute (short-
 term) exposure can cause eye, skin, and respiratory tract irritation, while chronic (long-term)
 exposure can cause blood disorders, reproductive effects, and cancer.
 Formaldehyde. Formaldehyde is a component of motor vehicle exhaust. Both acute and
 chronic exposure can result in respiratory symptoms, as well as eye, nose, and throat
 irritation. The EPA also considers formaldehyde a probable human carcinogen.
 Naphthalene. Naphthalene is a component of motor vehicle exhaust. Acute and chronic
 exposure can lead to anemia and cataracts, as well as liver and neurological damage. The EPA
 considers naphthalene a possible human carcinogen.
 Diesel Particulate Matter (DPM)/Diesel Exhaust Organic Gases. DPM and organic
 gases constitute a mixture of numerous pollutants released during the combustion of diesel
 fuel. Acute exposures can cause irritation and inflammation, and may exacerbate allergies
 and asthma symptoms. Chronic exposure may damage the lungs in various ways, and likely
 poses a lung cancer hazard.
 Acrolein. Acrolein is a component of motor vehicle exhaust. Acute and chronic exposure may
 result in upper respiratory tract irritation and congestion, as well as irritation to the eyes. It
 is unclear from the scientific evidence if acrolein poses a reproductive or cancer risk to
 humans.
 1,3 Butadiene. 1,3 butadiene is a component of motor vehicle exhaust that breaks down
 quickly in the atmosphere, but nonetheless is found in the ambient air at low levels in urban
 and suburban areas. Acute exposure causes irritation of the eyes, nasal passages, throat, and
 lungs. Chronic exposure may result in cardiovascular diseases, leukemia, and other cancers.
 Polycyclic Organic Matter (POM). POM defines a broad class of compounds, including
 polycyclic aromatic hydrocarbons (PAHs), which are formed by combustion and are present in
 the atmosphere in particulate form. Compounds in this class may have various acute effects,
 but the principal concern is that chronic exposure can increase the risk of cancer in humans.



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 Based on FHWA’s analysis using EPA’s air quality models, DPM is the dominant MSAT of
 concern.
 EPA has programs to reduce emissions of many MSATs through control technologies and
 other methods. Primary among these is EPA’s Control of Hazardous Air Pollutants from
 Mobile Sources: Final Rule to Reduce Mobile Source Air Toxics, issued February 26, 2007, to
 significantly lower emissions of benzene and other air toxics.

 2.3    Greenhouse Gases

 GHGs trap heat and make the planet warmer. The primary sources of GHG emissions in the
 United States are from electricity production, transportation, industry, commercial and
 residential activities, and agriculture. Most of the emissions are produced by burning fossil
 fuels, such as petroleum, coal, and natural gas. The handling and waste management of
 certain chemicals also increases GHGs. Recent concerns with climate change (global warming)
 have prompted calls to reduce GHGs, of which carbon dioxide (CO2) is the primary component.
 The full effects of global warming caused by GHGs are known to include broad impacts to
 society and ecosystem. For example, climate change can increase or decrease rainfall,
 influence agricultural crop yields, affect human health, cause changes to forests and other
 ecosystems, or even impact energy supply.

 2.4    Construction Fugitive Dust

 Fugitive dust in the lower atmosphere is a type of particulate matter and is harmful to
 humans and the environment. The term “fugitive” refers to the widespread or open area
 sources of the dust as compared to a single point source such as a smokestack. Fugitive dust
 has been linked to asthma, emphysema, chronic obstructive pulmonary disease, bronchitis,
 and heart disease. It is also a component of haze, which causes visibility problems. It has both
 natural and man-made causes. Natural examples of fugitive dust include wind erosion and
 wildfires. Human activities that cause fugitive dust include agriculture, construction,
 commercial and industrial operations, burning materials, vehicle exhaust, and travel (for
 example, unpaved roads, tire wear, and brake dust).
 Fugitive construction dust is only one component of lower atmospheric dust and particulate
 matter, but it is singled out for special consideration due to the potential effects on people
 within or near a major construction project such as I-70 East. Dust particles can be so small
 that they pass through the nasal cavity and into the lungs to cause damage. Also, toxic and
 cancer-causing chemicals can attach to dust and produce much more profound effects when
 inhaled. These situations may be worsened during construction projects requiring longer
 durations to complete.




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 3       APPLICABLE LAWS, REGULATIONS, AND GUIDANCE

 Several applicable laws, regulations, and guidance were used for the analysis of air quality in
 this report.

 3.1     National Environmental Policy Act

 NEPA was passed by Congress in 1969 and signed into law by President Nixon on January 1,
 1970. NEPA came into existence following a period of increased concern for human impacts on
 the natural and human environments. It mandates that decisions involving federal funds and
 approvals consider social, economic, and environmental factors in the decision-making
 process. NEPA also requires that agencies making these decisions consult with other agencies,
 involve the public, disclose information, investigate the environmental effects of a reasonable
 range of alternatives, and prepare a detailed statement of the environmental effects of the
 alternatives. NEPA set up procedural requirements for all federal government agencies to
 prepare environmental assessments and EISs for projects that will use federal funding or
 require a federal permit, such as a major highway project like the proposed I-70 East project.

 3.2     Council on Environmental Quality Regulations

 NEPA also established the President’s Council on Environmental Quality (CEQ) to oversee
 NEPA implementation and maintain compliance. CEQ regulations provide specific guidance
 to federal agencies in developing environmental impact statements while allowing agencies to
 set their own implementing procedures. The regulations require that an EIS be prepared
 when a proposed action is projected to have a significant impact on the quality of the human
 environment. Under the CEQ regulations, EIS documents must provide full and fair
 discussion of significant environmental impacts and inform decision makers and the public
 about project alternatives.

 3.3     Clean Air Act

 Air quality is regulated at the national level by the Clean Air Act of 1970, as amended in 1977
 and 1990. The Act regulates emissions through the NAAQS and HAP programs, which
 includes MSATs. EPA has set primary (health) and secondary (environment and property)
 limits for the NAAQS criteria pollutants previously described. Specific requirements are
 placed on the transportation planning process in air quality nonattainment areas that do not
 meet the NAAQS emissions limits and in areas that have been reclassified from
 nonattainment to attainment/ maintenance areas.

 3.4     Transportation Conformity Rule

 Transportation conformity is the link between air quality planning and transportation
 planning. It is required under CAA Section 176(c) to ensure that federally supported highway
 and transit projects are consistent with air quality goals in the state implementation plan
 (SIP). The Transportation Conformity Rule 40 CFR 93 promulgated through CAA legislation
 is the mechanism through which transportation plans, programs, and projects are evaluated


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 for air quality impacts in nonattainment and attainment/maintenance areas. The goal of
 transportation conformity is to ensure that FHWA and FTA funding and approvals are made
 for highway and transit actions that are consistent with air quality goals.
 The air quality conformity process has two levels: regional air quality conformity and project-
 level conformity. Regional and project-level conformity applies to transportation projects in air
 quality nonattainment and attainment/maintenance areas (EPA-420-B-12-013, 2012).
 The regional conformity analysis is conducted for the regional transportation program (RTP)
 and the transportation improvement program (TIP). Regional conformity ensures that the
 RTP and TIP—and the financially constrained projects therein—are consistent with the SIP
 emissions budgets (i.e., limits) in the air quality SIP. In nonattainment and maintenance
 areas, regional conformity analyses are conducted at least every four years, as well as on an
 as-needed basis.
 Project-level conformity is conducted for non-exempt projects that are funded and/or approved
 by FHWA or FTA. Project-level conformity also includes a hotspot analysis in carbon
 monoxide areas and for projects of air quality concern in particulate matter non-attainment
 and attainment/maintenance areas.
 A project cannot create new, increase the frequency of, or exacerbate the severity of air quality
 violations. Furthermore, the design and concept for the proposed project must be adequately
 defined and must remain consistent with the project’s definition in the conforming RTP and
 TIP. If the project changes in concept or design during the planning process, or if it was not
 originally included in the RTP and TIP, the regional conformity analysis would need to be
 revisited before the project can proceed (40 CFR 93.115).
 A hot-spot analysis for I-70 East is required for carbon monoxide because the Denver region is
 an attainment/maintenance area and because carbon monoxide screening criteria listed under
 40 CFR 93.123(a) were triggered.
 A PM10 hot-spot analysis is required for projects of air quality concern in PM10 nonattainment
 and attainment/maintenance areas per 40 CFR §93.123(b). EPA regulations state that a
 project will be determined to be of air quality concern if it meets any of five evaluation
 criteria. Two of the five criteria are related to transit projects and are not applicable to the
 I-70 East project. The remaining three criteria are potentially applicable:
      1. New highway projects that have a significant number of diesel vehicles, and expanded
         highway projects that have a significant increase in the number of diesel vehicles.
      2. Projects affecting intersections that are at Level of Service D, E, or F with a significant
         number of diesel vehicles, or those that will change to Level of Services D, E, or F
         because of increased traffic volumes from a significant number of diesel vehicles
         related to the project.
      3. Projects in or affecting locations in areas, or categories of sites, that are identified in
         the PM2.5 or PM10 applicable implementation plan or implementation plan submission,
         as appropriate, as sites of violation or possible violation.




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 3.5     Colorado Air Pollution Prevention and Control Act

 At the state level, there are the Colorado Air Pollution Prevention and Control Act of 1992 and
 the Colorado Air Quality Control Commission (AQCC) Regulations. The Act was passed to
 foster the health, welfare, convenience, and comfort of the inhabitants of the state of Colorado
 and to facilitate the enjoyment and use of the scenic and natural resources of the state. Policy
 direction under this Act is intended to achieve the maximum practical degree of air purity in
 every portion of the state, to attain and maintain NAAQS, and to prevent the significant
 deterioration of air quality in those portions of the state where the air quality is better than
 the NAAQS. AQCC’s Regulation No. 10, Transportation Conformity, defines the roles and
 responsibilities and criteria used to evaluate consistency between state air quality
 standards/objectives and transportation planning and major construction activities across the
 state as defined in SIPs. The state law and regulations are focused on the implementation and
 monitoring of control measures for reducing air pollution.




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 4      METHODOLOGY

 The air quality analysis for the Final EIS differs from the Supplemental Draft EIS in several
 respects, as stated in Section 1.3, Update to the air quality analysis.
 For this Final EIS, project-related effects on local ambient concentrations of carbon monoxide
 and PM10 were investigated using hotspot analyses as described below. PM2.5, nitrogen oxides,
 and other pollutants described above were examined somewhat more broadly with emissions
 inventories for the project area since they are not considered to be pollutants of concern in the
 Denver area, based on current and recent monitoring data as compared to the NAAQS levels.
 Traffic data from the DRCOG model are being used to conduct the air quality analysis for the
 Final EIS. The DRCOG model data comes from the Compass (Version 5.0) model, including
 minor updates to the socio-economic data set used in the Supplemental Draft EIS, and not
 from the newer Focus regional travel demand model. The Compass model is still the official
 model for use on project-level studies in the region, and is immediately available. For the
 Supplemental Draft EIS, traffic data from the FHWA approved DynusT model were compared
 to the DRCOG model traffic data through a series of sensitivity tests. Data from the two
 sources were found to be reasonably close, and thus the Final EIS continues to use the
 DRCOG model data. However, the DynusT model, which can be more accurate for
 intersections with high traffic volumes and long delays, was used to validate the carbon
 monoxide hotspot location used for the Final EIS, as described in Section 4.3.1, Approach
 Models, and Data.
 The following sections identify the air quality study area and the methodologies used for the
 carbon monoxide and PM10 hotspot analyses and the emissions inventory burden analysis for
 NAAQS criteria pollutants, MSATs, and GHGs.

 4.1    Study Area

 The air quality analysis for I-70 East is based on both a large geographic study area that
 encompasses the corridor and surrounding neighborhoods and localized hotspot areas that are
 focused on an intersection or interchange. These study areas are shown in Figure 2. The green
 shading on the graphic represents the particulate matter hotspot analysis areas and the
 orange shading is for the carbon monoxide hotspot analysis areas.




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 Figure 2.           Air quality study areas


                              Welby
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    •       Air quality monitoring station                                  CO hotspot                          PM hotspot                      Air quality study area



 4.2          Interagency Consultation

 An Interagency Consultation process was established to support the air quality analysis of
 carbon monoxide, PM10, and other pollutants. Although Section 93.105 of the Transportation
 Conformity Rule requires an Interagency Consultation process, it was used to establish the
 methodology and requirements for both conformity and NEPA. As the project sponsor, CDOT
 initiated consultation with staff from the APCD of the CDPHE, the EPA, and the FHWA
 through working group meetings, informal correspondence (e.g., e-mail), and several formal
 Interagency Consultation meetings. This group effort resulted in a common understanding of
 the assumptions and methodology to be used for conducting the air quality analyses,
 documented by the I-70 East Supplemental Draft EIS Air Quality Analysis Protocol (2014)
 and Final EIS Air Quality Analysis Protocol Addendum (2015). Specific items established
 through the Interagency Consultation process include:
             Geographic area covered by the analysis
             Emissions model, air dispersion models, and input parameters used in the analysis
             Years of analysis
             Specific pollutants to analyze



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         Whether and how to estimate road and construction dust emissions
         Nearby emissions sources to be considered
         Background monitors and concentrations for the hotspot analyses
         Intersections and/or interchange areas for the hotspot analyses
         Project-specific data assumptions
         Appropriate placement of receptors for the hotspot analyses

 These assumptions were documented in an Air Quality Protocol that was reviewed by the
 consulting agencies and updated through the Interagency Consultation process, and an
 addendum that was produced for the Final EIS. The Protocol and addendum are included as
 Appendix A.
 Interagency Consultation also was utilized during the conformity determination process,
 specifically during the designation of the I-70 East project as a project of local air quality
 concern. Representatives from all participating agencies met to discuss EPA criteria for
 making the designation. Table 2 summarizes data that agencies used to make their decision,
 including information about diesel truck volume and intersection analysis as it relates to the
 conformity rule criteria.
 After completion of the Supplemental Draft EIS modeling, interagency consultation partners
 EPA and APCD reviewed the AQTR and modeling files. Both agencies suggested revisions to
 the modeling, as noted later in this document, and these revisions have been incorporated in
 the Final EIS modeling.




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 Table 2.    Project of local air quality concern criteria evaluation

                       Criteria*                            Data Used to Make Determination**
                                                    Total traffic volume within the study area between the
                                                    2035 No-Action Alternative and the Preferred
    (i) New highway projects that have a            Alternative increases by 4 percent and on the I-70
    significant number of diesel vehicles,          corridor by 14 percent. Although truck traffic decreases
    and expanded highway projects that              cumulatively throughout the entire I-70 corridor, at
    have a significant increase in the              several locations along I-70 truck traffic is expected to
    number of diesel vehicles.                      increase by as much as 5.5% (shown in Figure 3).This
                                                    is between 250 and 850 additional trucks per day at
                                                    each location.
    (ii) Projects affecting intersections that        Daily truck traffic within
                                                                                   Daily truck traffic at newly
    are at Level-of-Service D, E, or F with a           the PM10 hotspot at
                                                                                   constructed interchanges
    significant number of diesel vehicles, or        existing intersections that
                                                                                         in the Preferred
    those that change to Level-of-Service           change to LOS D, E, or F in
                                                                                   Alternative with LOS D, E,
    D, E, or F because of increased traffic          the Preferred Alternative
                                                                                           or F (2035).
    volumes from a significant number of                       (2035)
    diesel vehicles related to the project.             660 to 2,330 trucks           600 to 1,580 trucks
    (iii) New bus and rail terminals and
    transfer points that have a significant
                                                                               N/A
    number of diesel vehicles congregating
    at a single location.
    (iv) Expanded bus and rail terminals
    and transfer points that significantly
                                                                               N/A
    increase the number of diesel vehicles
    congregating at a single location.
    (v) Projects in or affecting locations in
    areas, or categories of sites which are
                                                     N/A; the I-70 East project is not identified as a site of
    identified in the PM2.5 or PM10 applicable
                                                       violation nor as a site of possible violation in the
    implementation plan or implementation
                                                            applicable documentation for the region
    plan submission, as appropriate, as
    sites of violation or possible violation.
   * Criteria from Section 93.123(b)(1) of the Conformity Rule
   ** Traffic data from DRCOG Compass (Version 5.0) (2015)




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 Figure 3.      Percent change in truck traffic between No-Action and the Preferred
                Alternative

              10.0%


                       I. ■                                                                                                                                                                                                               ■ 1i ■■■
               5.0%
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               0.0%
               ‐5.0%
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              ‐10.0%
              ‐15.0%
              ‐20.0%
                                                                     Brighton to York

                                                                                        York to Steele




                                                                                                                                                                                                                                                             Peoria to I‐225
                                                                                                                                                                                                                          CPB to Havana

                                                                                                                                                                                                                                          Havana to Peoria
                       I‐25 to Washington

                                            Washington to Brighton




                                                                                                                              Colorado to Dahlia




                                                                                                                                                                                                                                                                                                                      Pena to Airport
                                                                                                                                                                      Monaco to Quebec




                                                                                                                                                                                                                                                                               I‐225 to Chambers




                                                                                                                                                                                                                                                                                                                                         Airport to Tower
                                                                                                                                                                                         Quebec to I‐270




                                                                                                                                                                                                                                                                                                   Chambers to Pena
                                                                                                         Steele to Colorado



                                                                                                                                                   Dahlia to Monaco




                                                                                                                                                                                                           I‐270 to CPB
                                                                                                                                           Total % Difference Truck



 Although truck traffic decreases at some locations along the I-70 corridor between the
 No-Action Alternative and the Preferred Alternative, there are anticipated to be moderate
 increases in truck traffic at various locations throughout the project area. In addition, the
 project will create new intersections with moderate truck traffic at an LOS of D, E, or F and
 will cause other existing intersections, some with over 1,500 trucks daily, to become LOS D, E,
 or F. Based on this information, the I-70 East project was determined to be a project of local
 air quality concern.

 4.3    Carbon Monoxide Hotspot Methodology

 The Denver region is an attainment/maintenance area for the pollutant carbon monoxide.
 Because of this, a quantitative project-level hotspot analysis was conducted for the I-70 Final
 EIS. Section 93.116(a) of the Transportation Conformity Rule requires that emissions from a
 proposed FHWA or FTA project—when considered with existing background concentrations—
 will not cause or contribute to any new violations, worsen existing violations, or delay timely
 attainment of the NAAQS or any required interim emissions reductions or other milestones.
 These criteria are satisfied for projects in carbon monoxide attainment/maintenance areas
 using a hotspot analysis.
 As defined in Section 93.101 of the Transportation Conformity Rule, a quantitative “… hotspot
 analysis is an estimation of likely future localized … pollutant concentrations and a
 comparison of those concentrations to the national ambient air quality standards.” A hotspot
 analysis is conducted at specific locations, such as congested roadway intersections. It uses an
 on-road mobile emissions model combined with an air quality dispersion model to determine
 design values that represent local pollutant concentrations. As long as the estimated
 concentrations for the relevant pollutants in these areas of interest are equal to or lower than


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 the NAAQS (or no greater than the No-Action Alternative, if concentrations are above the
 NAAQS), the project would demonstrate that Clean Air Act conformity requirements for the
 hotspot analysis are met.
 The carbon monoxide hotspot analysis for conformity purposes also will serve as the analysis
 for NEPA. While the conformity regulations only require the analysis of a preferred
 alternative (and the No-Action Alternative if the preferred alternative violates the NAAQS),
 NEPA typically requires the analysis of all alternatives considered. However, for the Final
 EIS, it was determined through Interagency Consultation that only the Preferred Alternative
 would be modeled. The Supplemental Draft EIS included carbon monoxide hotspot modeling
 for all alternatives, and showed concentration values well below the NAAQS in all cases. As
 the traffic data for the Final EIS differ only slightly from those used for the Supplemental
 Draft EIS, it is unlikely that results for the alternatives not modeled herein will differ
 substantially from those presented in the Supplemental Draft EIS.

 4.3.1        Approach, Models, and Data

 EPA’s guidance and reference documents cited previously were used to establish the overall
 approach, modeling input data, and other assumptions for the carbon monoxide hotspot
 analysis.

 4.3.1.1           Overview of the modeling process

 Figure 4 shows the modeling process used for this quantitative carbon monoxide hotspot analysis.

 Figure 4.    Modeling process for the carbon monoxide hotspot analysis


                                          Local                                         Vehicle Fleet
         Traffic Data
                                    Meteorological Data                                    Data




                                                   EPA MOVES Model


              Traffic Data                           CO Emission Factors
                                                      by Roadway Link
     Background Concentrations

             Site Geometry          1/7111110.    EPA CAL3QHC Model             Receptor Locations

          Signal Parameters
                                                 CO Emissions Concentrations
    Local Land Use and Population                  at Near-Road Receptors




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 Traffic data in the form of future traffic volumes, vehicle miles of travel (VMT), and travel
 speeds from the DRCOG Compass regional travel demand model simulate the activities that
 generate emissions from on-road motor vehicles. For this Final EIS, the Partial Cover
 Lowered Alternative with Managed Lanes Option was modeled with Compass.
 Local meteorological conditions, fuel specifications, and emissions control programs are input
 into the MOVES2010b Motor Vehicle Emissions Simulator model (MOVES), in addition to the
 travel model results. The MOVES model uses this information to estimate on-road mobile-
 source (i.e., vehicle) emissions.
 Emissions rates produced by MOVES then are fed into the CAL3QHC air quality dispersion
 model. CAL3QHC estimates localized ambient carbon monoxide concentrations at receptors in
 and near the hotspot intersection study area. In addition to MOVES emissions rates,
 CAL3QHC also uses worst-case meteorological data and local terrain features in its
 calculations. In short, CAL3QHC takes the carbon monoxide emissions rates and travel
 information from vehicles operating on the local roads and highways, tracks the emissions as
 they flow through the air, and estimates maximum daily concentrations at near-road
 receptors in the project area. A persistence factor is used by the CAL3QHC model to convert
 peak-hour emissions to peak periods so the results are comparable to the 8-hour carbon
 monoxide standard.

 4.3.1.2        Carbon monoxide emissions for the hotspot analysis

 This hotspot analysis is based on carbon monoxide exhaust emissions from on-road motor
 vehicles. Carbon monoxide emissions from other sources are included in the analysis through
 the use of background emissions, as discussed below.

 4.3.1.3        Locations to model

 The intersection location for the carbon monoxide hotspot analysis was determined through
 the Interagency Consultation process. The Conformity Rule requires modeling of intersection
 locations that are or will be at LOS D or worse. In the case of the I-70 East project, this would
 be dozens of intersections. The 2008 Draft EIS included carbon monoxide hotspot modeling for
 four worst-case intersections. For the Supplemental Draft EIS, the modeling effort was scaled
 back to one intersection. As stated in FHWA’s online Transportation Conformity Reference
 Guide, “... screen tools can show that if a project passes using a conservative set of
 assumptions, then it would definitely pass a more rigorous test.” In this case, the conservative
 set of assumptions includes modeling the worst-case intersection location, emissions factor
 dataset, and travel assumptions.
 The modeling of only one location is an alternative methodology allowed under Section
 93.123(a)(1) of the Conformity Rule, with EPA Regional Administrator approval. The
 alternative approach was proposed through the Interagency Consultation process and
 approved by the EPA Regional Administrator in a letter to CDOT dated June 12, 2013, as
 required by the rule. The letter is contained in Appendix B. The 2008 Draft EIS found that the
 interchange at I-70 and Colorado Boulevard would have the highest carbon monoxide
 concentrations in the project area for the build scenarios considered then. The alternatives
 evaluated in the Final EIS are expected to have similar impacts on speeds and traffic volumes


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 to those in the 2008 Draft EIS and the 2014 Supplemental Draft EIS. A sensitivity analysis
 was performed using the DynusT traffic model to validate the choice of the I-70 interchange at
 Colorado Boulevard as the worst-case location for the carbon monoxide hotspot analysis. This
 mesoscopic simulation model can be more accurate than the Compass model for intersections
 with high volumes and long delays. The analysis found that the I-70 interchanges at Quebec
 Street and Colorado Boulevard were the two worst interchanges, with the model predicting
 slightly higher carbon monoxide emissions at the Quebec Street interchange due to higher
 traffic volumes and longer delays. The emissions difference between the two locations was
 relatively small, however (about 13 percent to16 percent). As ambient carbon monoxide
 concentrations are highly correlated with carbon monoxide emissions, it is expected that
 modeled carbon monoxide concentrations would vary by a similar percentage, or about 0.2
 ppm to 0.4 ppm based on the modeling results from the Supplemental Draft EIS, which would
 still result in total concentrations well below the NAAQS level. Given this minimal difference,
 and the fact that the PM10 hotspot modeling for the project is being conducted with traffic data
 from Compass, it was determined to use the Compass data for this analysis as well, and to
 continue to use the I-70 and Colorado Boulevard interchange as the location for the carbon
 monoxide hotspot analysis.

 4.3.1.4         Analysis years/year of peak emissions

 Section 93.116(a) of the Conformity Rule requires that carbon monoxide hotspot analyses
 consider the full time frame of an area’s transportation plan. According to FHWA’s online
 Transportation Conformity Reference Guide, this is accomplished by analyzing the year(s) of
 peak emissions over the plan’s horizon through 2035. If the carbon monoxide concentrations in
 the year of peak emissions are lower than the NAAQS limits, then it can be assumed that no
 adverse impacts will occur in any years within the time frame of the plan.
 Rather than perform traffic modeling and hotspot analyses for numerous years to determine
 the year of peak emissions, the effort was streamlined through the Interagency Consultation
 process and approved by the EPA Regional Administrator. In the streamlined approach,
 CDOT used the highest carbon monoxide emissions factors—in this case, for the year 2010—
 and the 2035 VMT to represent a worst-case condition. With this approach, it is not necessary
 to analyze several years to determine the year of peak emissions. If the worst traffic
 conditions (e.g., highest traffic volumes, most congestion delay, highest travel times, etc.) and
 highest emission rates are modeled, then the resulting carbon monoxide concentration is the
 highest that potentially could be experienced between 2010 and 2035. If the worst resulting
 concentration is less than the NAAQS, then all other less congested locations in the corridor
 could be expected to be lower than the NAAQS as well.

 4.3.1.5         Season(s) to model

 Because carbon monoxide violations have typically occurred in the winter in the Denver
 region and the maintenance plan for this pollutant addresses wintertime conditions, the
 winter season was modeled for the carbon monoxide hotspot analysis.




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 4.3.1.6        Model selection

 As required by the Transportation Conformity Rule in Section 93.105(c)(1)(i), an emissions
 model and an air quality dispersion model were selected through the Interagency
 Consultation process. EPA’s MOVES2010b Motor Vehicle Emissions Simulator model was
 selected for use at the project scale to estimate emissions for each roadway link in the carbon
 monoxide hotspot study area. MOVES is the approved and recommended emissions model for
 CO carbon monoxide hotspot analyses for conformity determinations (EPA-420-B-12-010).
 EPA’s CAL3QHC model was selected for the air dispersion analysis and estimation of
 pollutant concentrations at receptors in and around the carbon monoxide hotspot study area.
 It is the recommended model for use in carbon monoxide hotspot screening analyses.
 CAL3QHC combines a steady-state dispersion model with a traffic model to calculate delays
 and queues at signalized intersections. CAL3QHC is one of the approved and recommended
 air dispersion models for analyzing carbon monoxide impacts at intersections (Appendix W to
 40 CFR 51, §5.2.3).

 4.3.1.7        Traffic data

 The DRCOG regional travel demand model used for this carbon monoxide hotspot analysis is
 the most recent version of Compass. The roadway networks in Compass include arterials,
 expressways, frontage roads, ramps, and freeways. Much of the collector street network in the
 region also is included. High-occupancy vehicle and high-occupancy tolled lanes are likewise
 included. Essentially, the only roads not included are local and residential streets and some
 collectors. Traffic volumes and speeds from the centroid connectors in the Compass model are
 used to represent travel on these local roads.
 All alternatives have been modeled with sufficient information for projecting traffic, congested
 speeds, and emissions for all of the alternatives, as discussed in Chapter 3, Summary of
 Project Alternatives. Each link in the model’s roadway network includes basic roadway
 information consisting of distance, number of lanes, roadway type (e.g., collector street,
 freeway, etc.), area type (e.g., central business district, urban, suburban, rural), tolls, and so
 forth. For the 2035 alternative model runs, the model provides forecasts of traffic volumes,
 congested speeds, and other information useful for long-range transportation planning and
 NEPA studies. Congested speeds are average speeds estimated by the model based on the
 amount of traffic and congestion on the link. All of these data are available for each link in the
 network.

 4.3.1.8        Project-specific data

 In Section 93.123(c), the Transportation Conformity Rule requires that the carbon monoxide
 hotspot analysis assumptions be consistent with the regional emissions analysis for
 conformity of the transportation plan and improvement program; and it suggests that project-
 specific data be used that are consistent with the major design features of the project. The
 data applied in this carbon monoxide hotspot analysis are consistent with the assumptions
 used in the conformity determination for the regional transportation plan and improvement
 program. In addition, project-specific data—such as traffic volumes and site geometry—are


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 consistent with the major design features of the project. Data sources and assumptions used
 in the carbon monoxide hotspot analysis are included in the following sections for the MOVES
 and CAL3QHC models, respectively.

 4.3.2       Estimating On-road Mobile Vehicle Carbon Monoxide Emissions
             Using MOVES

 EPA’s MOVES2010b Motor Vehicle Emissions Simulator model was applied at the project
 scale to estimate emissions for each roadway link in the carbon monoxide hotspot study area.
 MOVES is the approved and recommended model for carbon monoxide hotspot analyses for
 conformity determinations (EPA-420-B-12-010).

 4.3.2.1         Overview of the MOVES modeling process

 The MOVES model uses several types of input data to generate either emissions factors or
 total emissions. Input data include vehicle types, fuel specifications, time periods,
 geographical information, vehicle operating characteristics, meteorological data, fuel
 specifications, and inspection/maintenance program parameters, among others. MOVES
 includes default data for most of these items, but in most cases local data were used.
 Section 2 of EPA’s guidance (EPA-420-B-10-041) describes the following steps for estimating
 on-road motor vehicle emissions for this analysis using the MOVES model:
        Characterizing a project in terms of links
        Determining the number of MOVES runs
        Developing basic run specification inputs
        Entering project details using the Project Data Manager
        Generating emissions factors for use in air quality modeling

 The following sections present the input data and assumptions used in the MOVES model for
 the carbon monoxide hotspot analysis and the process for generating carbon monoxide
 emissions and emissions factors. Specific input assumptions and sources are cited for the
 respective data items.

 4.3.2.2         MOVES input data and assumptions

 This section identifies relevant data, sources, and assumptions used in the MOVES modeling
 for the carbon monoxide hotspot analysis. The intent of this discussion is not to explain how
 the MOVES model works or how to run it but, rather, to document the assumptions used in
 running the MOVES model. Table 3 summarizes the option selections for the MOVES model.
 Table 4 summarizes the input data sources for the MOVES model used in the carbon
 monoxide hotspot analysis. Subsequent sections describe the input data in more detail.




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 Table 3.     Summary of MOVES assumptions for the carbon monoxide hotspot analysis

      No.               Item/Option                                      Assumption
   1        Season to model                      Winter quarter

   2        Scale                                Inventory

                                                 8:00 a.m. to 9:00 a.m. for morning peak period
   3        Time spans
                                                 5:00 p.m. to 6:00 p.m. for evening peak period
   4        Geographic bounds                    Denver County
                                                 Fuel types:
                                                 Gasoline
                                                 Diesel
                                                 Compressed-natural gas
                                                 Vehicle types:
                                                 Motorcycle
                                                 Passenger car
                                                 Passenger truck
                                                 Light commercial truck
   5        Vehicles, equipment, and fuel type
                                                 Refuse vehicle
                                                 Motor home
                                                 School bus
                                                 Transit bus
                                                 Intercity bus
                                                 Single-unit long-haul truck
                                                 Single-unit short-haul truck
                                                 Combination long-haul truck
                                                 Combination short-haul truck
                                                 Urban restricted access (i.e., freeway)
   6        Road type
                                                 Urban unrestricted access (i.e., non-freeway)
                                                 Pollutant:
                                                 Carbon monoxide
   7        Pollutants and processes             Processes:
                                                 Running exhaust
                                                 Crankcase running exhaust
                                                 General output:
                                                 Mass units: grams
                                                 Distance units: miles
   8        Output
                                                 Activity: distance traveled, population
                                                 Output emission detail:
                                                 For all vehicle/equipment categories: Emission process




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 Table 4.          Summary of MOVES input data sources for the carbon monoxide hotspot
                   analysis

   No.                        Data                                                Source

           Meteorological data (temperature and
   1                                                   Stapleton International Airport weather station
           humidity)

                                                       Age distributions provided by APCD based on Colorado
   2       Vehicle type and age distributions          Department of Revenue data; consistent with CO State
                                                       Implementation Plan
   3       Fuel supply and formulation                 Default MOVES data
   4       Inspection and maintenance program          Local parameters supplied by APCD*
                                                       Calculated by CDOT from the traffic data used in the
   5       Link source type
                                                       intersection analysis
   6       Links                                       DRCOG Compass model
   * Per EPA suggestion, the I/M input file used for all MOVES analyses in this Final EIS were updated and corrected
     from the version used in the Supplemental Draft EIS, to improve the model’s consistency with Colorado’s currently
     implemented I/M program.


 4.3.2.3           Characterizing a project in terms of links

 As described previously, the link traffic data were obtained from the DRCOG Compass models
 for the No-Action and Build Alternatives. The guidance (EPA-420-B-10-041) states that the
 goal of defining a project’s links is “to accurately capture emissions where they occur.” The
 Compass model does this by accurately simulating the geospatial features of the roadway
 system in a common coordinate system.
 Each link represents a segment of road where a certain type of vehicle activity occurs. There
 are two types of links for this project: (1) free-flow links, and (2) queue links. Free-flow links
 represent vehicle activity on intersection approach and departure links. Each free-flow link in
 this project was defined using length, average speed, and traffic volume. Queue links
 represent vehicles idling at an intersection. Queue links were defined using traffic volume;
 link length is not relevant.

 4.3.2.4           Determining the number of MOVES runs

 The number of MOVES model runs was established through the Interagency Consultation
 process. As mentioned above, the Supplemental Draft EIS included carbon monoxide hotspot
 modeling for all alternatives and because there were only minor difference in traffic models
 used for the Final EIS, only one alternative, the Partial Cover Lowered Alternative with
 Managed Lanes Option was modeled. The number of unique MOVES runs necessary to
 conduct the carbon monoxide hotspot analysis is:
       Number of MOVES runs = (2 peak time of day periods) x (2 link types) x (1 quarter) x
                              (1 alternative) = 4 runs

 Historical carbon monoxide monitoring data indicate that carbon monoxide violations are only
 expected to occur in the winter months in the project area; therefore, only the winter quarter
 was modeled. As previously described, the MOVES runs should reflect worst-case conditions.
 For this project, peak emissions were modeled using 2010 emissions factors with 2035 traffic


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 data. Traffic data were defined for the morning and evening peak traffic periods in the
 Compass model for the alternative being considered.

 4.3.2.5          Developing basic run specification inputs

 MOVES requires a run specification that defines the place and time of the analysis, as well as
 the vehicle types, road types, fuel types, and the emission-producing processes and pollutants
 that will be included in the analysis (EPA-420-B-10-041). The run specification identifies the
 data input options for the MOVES runs. Appendix C contains detailed information about the
 MOVES run specifications for the carbon monoxide hotspot analysis.

 4.3.2.6          Entering project details using the Project Data Manager

 After preparing the run specification, the next step is to create the appropriate input tables
 that describe the project in detail. Each MOVES run must have an accompanying set of input
 database tables that are imported into the model with the Project Data Manager. The
 following types of tables can be imported:
         Meteorology
         Age distribution
         Fuel supply
         Fuel formulation
         Inspection and maintenance programs
         Link source type
         Links
         Link drive schedule
         Operating mode distribution
         Off network
 For this carbon monoxide screening analysis of an intersection without any off-network links,
 not all of the importers were used. Specifically, this analysis did not import a link drive
 schedule, operating mode distribution, or off-network table for the screening analysis as all of
 the activity is defined through the average speed function of the Links input.
 The MOVES input databases and data sources for the carbon monoxide hotspot analysis are
 described in Appendix D.

 4.3.3       CAL3QHC Air Dispersion Modeling of Carbon Monoxide
             Emissions

 This description of the CAL3QHC modeling process is based in part on the EPA’s User’s Guide
 to CAL3QHC Version 2.0: A Modeling Methodology for Predicting Pollutant Concentrations
 Near Roadway Intersections (EPA-454/R-92-006R, Revised, September 1995).




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 4.3.3.1         Overview of the CAL3QHC modeling process

 CAL3QHC calculates air quality concentrations based on the emission rates from the MOVES
 model, volume of traffic on each link from the DRCOG Compass model, and other factors. It
 generates distance-based emissions for moving vehicles and time-based emissions for idling
 vehicles for the roadway links in the carbon monoxide hotspot study area around I-70 and
 Colorado Boulevard. Moving vehicles are simulated on free-flow links and idling vehicles are
 simulated using queue links in the model.
 The required information from MOVES is an emission rate in grams per vehicle-mile for each
 free-flow link and an emission rate in grams per vehicle-hour for each queue link. For the free-
 flow links in CAL3QHC, the emissions were summed for all relevant pollutant processes then
 divided by the vehicle-miles of travel to obtain the desired emissions factors. The process is
 similar for the queue links. All relevant pollutant processes are summed together, then
 divided by the vehicle hours of travel on the link to obtain the desired emission rates.
 The model also uses land use and population data, traffic data, traffic signal timing
 parameters, intersection geometry, and worst-case meteorological values to estimate
 maximum carbon monoxide concentrations at near-road receptor locations. The receptor
 locations are another input to the CAL3QHC model. CAL3GHC is used to model a single hour
 for two time periods (AM peak and PM peak), which generates a one-hour maximum predicted
 concentration. A persistence factor then is applied to generate an eight-hour maximum
 predicted concentration.

 4.3.3.2         CAL3QHC input data

 This section describes the input data for the CAL3QHC model. The model relies primarily on
 locally obtained data. Table 5 summarizes the data and sources, which are described in more
 detail in the following sections.

 Table 5.    Summary of CAL3QHC data and sources

   No.                     Data                                        Source

   1     Intersection geometry                   CDOT

                                                 CDOT, based on EPA’s CAL3QHC User’s Guide
   2     Receptor locations
                                                 requirements
   3     Traffic volumes                         DRCOG Compass regional travel demand model
   4     Traffic signal operational parameters   CDOT
   5     Carbon monoxide emissions factors       CDOT, MOVES


 4.3.3.3         Carbon monoxide emissions factors

 The composite running emissions factor for each free-flow link and the idle emissions factor
 for each queue link were obtained from the MOVES model. Each link in the model has its own
 emissions factor.



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 4.3.3.4         Traffic data

 Traffic volumes were obtained for the 2010 and 2035 No-Action Alternative and 2035 Build
 Alternatives from the DRCOG Compass regional travel demand model.

 4.3.3.5         Meteorological parameters

 The following values were used for the meteorological parameters in the CAL3QHC model:
         Averaging time (min): 60
         Surface Roughness (cm): 175
         Settling Velocity (cm/s): 0
         Deposition Velocity (cm/s): 0
         Persistence Factor: 0.7
         Transport Wind Speed (m/s): 1
         Stability Class: 4
         Mixing Height (m): 1,000

 Additionally, the model was set to vary the wind direction incrementally to estimate the worst
 case for each receptor, thus ensuring the most conservative concentration results.

 4.3.3.6         Site geometry and link data

 Free-flow and queue links are defined using X, Y, and Z coordinates to represent roadways
 within the I-70/Colorado Boulevard carbon monoxide hotspot study area. The intersection and
 roadway configurations are based on roadway designs from CDOT. Specific details of the
 intersection geometry used in the model include the intersection configuration and lane
 widths.
 Each queue and free-flow link was entered as a discrete link in the model. For each link, the
 starting and ending coordinates were entered. The traffic volume, emissions factor, number of
 travel lanes, total cycle length, red signal cycle length, and saturation flow length also were
 entered for each link.

 4.3.3.7         Traffic signal operational parameters

 Traffic signal parameters used in the CAL3QHC model include average signal cycle length,
 average red signal time length at each intersection approach, clearance lost time, vehicle
 saturation flow, signal type (pre-timed, actuated or semi-actuated), and arrival rate (worst,
 below average, average, above average, or best progression). These were provided by CDOT.

 4.3.3.8         Receptor locations

 Receptor locations were distributed around the intersection where carbon monoxide emission
 concentrations are estimated. Receptor locations are defined on the same X-Y-Z coordinate


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 system as the site geometry. The receptor locations are defined by the analyst. EPA’s
 CAL3QHC user’s guide specifies a minimum distance of 10 feet from the outside edge of the
 road and a recommended height of 1.8 meters based on the average standing human height.
 For each alternative analyzed, the primary axis of each signalized intersection was
 surrounded by a series of 24 receptors placed 10 feet from the pavement edge.

 4.3.4       Background Concentrations

 This hotspot analysis uses background carbon monoxide concentrations from ambient
 monitoring data. The background carbon monoxide concentration values of 4.55 ppm for 8-
 hour and 6.73 ppm for 1-hour averaging times were provided by APCD.

 4.4     PM10 Hotspot Methodology

 Through Interagency Consultation, the project has been determined to be of local air quality
 concern. The Denver region is an attainment/maintenance area for the pollutant PM10.
 Because of this, the project must meet project-level conformity requirements. Therefore, this
 hotspot analysis is based on the requirements in the Transportation Conformity Rule and
 EPA’s conformity guidance for quantitative particulate matter hotspot analyses (EPA-420-B-
 13-053). They describe the process and requirements: (1) for determining whether a project is
 of air quality concern, and (2) for meeting the NAAQS for PM10 if an analysis is applicable.
 In addition to the conformity rule, an EPA memorandum (EPA, 2011b) provides guidance for
 the PM10 hotspot analysis by recommending that the same model be used in NEPA documents
 as is used for determining transportation conformity to maximize coordination and minimize
 confusion. For this project, the PM10 hotspot analysis for conformity purposes also serves as
 the analysis for NEPA.

 4.4.1       Approach, Models, and Data

 EPA’s guidance and reference documents cited previously were used to establish the overall
 approach, modeling input data, and other assumptions for the PM10 hotspot analysis.

 4.4.1.1         Overview of the modeling process

 Figure 5 shows the modeling process used for this quantitative PM10 hotspot analysis.




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 Figure 5.     Modeling process for the PM10 hotspot analysis


                                      Local                     Fuel and Control                  Vehicle Fleet
          Traffic Data
                                Meteorological Data          Program Specifications                  Data




                                              PM-10 Emission Factors
                                                 by Roadway Link
          Meteorological Data
                                                       r
           Receptor Locations                EPA AERMOD Model                         Off-Network Truck Stop Data

                                                       I
                                          PM-10 Emissions Concentrations
                                             at Near-Road Receptors

 Traffic data in the form of future traffic volumes, vehicle miles of travel, and travel speeds
 from the DRCOG Compass regional travel demand model simulates the activities that
 generate emissions from motor vehicles. For this Final EIS, the following project alternatives
 were modeled with Compass:
         2021 Phase 1
         2035 No-Action Alternative
         2035 Revised Viaduct Alternative, General-Purpose (GP) Lanes Option
         2035 Revised Viaduct Alternative, Managed Lanes (ML) Option
         2035 Partial Cover Lowered Alternative with GP Lanes
         2035 Partial Cover Lowered Alternative with ML

 The No-Action Alternative and Revised Viaduct Alternative both have options that shift I-70
 south or north. These shifts have no impact on traffic circulation and are each considered a
 single alternative for the purpose of projecting traffic, congested speeds, and emissions for all
 of the alternatives.
 Local meteorological conditions, and fuel specifications were input into the MOVES2010b
 Motor Vehicle Emissions Simulator model, in addition to the travel model results. The
 MOVES model used this information to estimate on-road mobile-source (i.e., vehicle)
 emissions.
 Emissions rate estimates produced by MOVES then are fed into the AERMOD air quality
 dispersion model. AERMOD estimates localized ambient PM10 concentrations at receptors in
 and near the two hotspot locations chosen for the study. In addition to MOVES emissions



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 rates, AERMOD also uses local meteorological data and terrain features in its calculations. In
 short, AERMOD takes the PM10 emissions rates from vehicles operating on the local roads and
 highways, truck idling activity at the off-network truck stop, and the emission factors from
 the covered highway (as applicable). AERMOD then performs all ambient air impact
 calculations on an hourly basis at each receptor. These hourly concentrations for all receptors
 then are post-processed by different algorithms to calculate the corresponding averaging
 periods (e.g., 8-hour, 24-hour, etc.) and design concentrations according to the statistical form
 of each NAAQS. AERMOD files are available with project records.

 4.4.1.2         PM10 emissions for the hotspot analysis

 The particulate matter hotspot analysis includes PM10 emissions from on-road mobile sources
 and from an off-highway truck stop located at the northeast corner of I-70 and 46th Avenue
 and Steele Street/Vasquez Boulevard. The truck stop is a source of potentially significant
 PM10 emissions. It is modeled as an off-network link in MOVES and an area source in
 AERMOD. The following list summarizes the emissions included and not included in this
 PM10 hotspot analysis:
        Exhaust, brake wear, and tire wear emissions from on-road vehicles are included in
         this analysis.
        Re-entrained road dust kicked up into the air by passing vehicles was included in this
         PM10 hotspot analysis. Road dust is a significant component of PM10 emissions from
         mobile sources.
        Emissions from construction-related activities were not required and, therefore, not
         included in this PM10 hotspot analysis since these emissions are considered temporary,
         as defined in 40 CFR 93.123(c)(5). Temporary increases in PM10 emissions due to
         construction-related activities are defined in the regulation as those occurring only
         during construction that last five years or less at any given site.

 4.4.1.3         Locations to model

 The geographic area to be covered by the PM10 hotspot analysis was determined through the
 Interagency Consultation process. It was agreed that rather than analyzing all on-road
 interchange locations across the entire project area, it would be appropriate to focus the PM10
 hotspot analysis at two locations that were expected to have the highest concentrations.
 Considerations for locations with the highest concentrations include areas with the highest
 traffic volumes and congestion, nearby land uses with public access, high numbers of diesel
 vehicles, and other factors. The highest volume locations in the project area are associated
 with major interchanges. The major interchanges and their 2035 traffic forecasts from the
 DRCOG Compass model run are listed in Table 6. The forecasted volumes for the other
 alternatives are similar.




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 Table 6.      Interchange traffic volumes (2035)

                      Interchange                               2035 Annual Average Daily Traffic
   I-70/I-25                                             ~495,000
   I-70/I-270                                            ~260,000
   I-70/I-225                                            ~355,000
   I-70/Peña Boulevard                                   ~235,000
 Source: 2035 DRCOG regional travel demand model, Compass Version 5.0.


 The I-70/I-270 and I-70/Peña Boulevard interchanges have high traffic volumes but no nearby
 land uses with public access. The I-70/I-25 interchange is just outside of the project limits, but
 upwind of the project area under some conditions. As the figures in Table 5 indicate, the
 interchanges of I-70 with I-25 and I-225 have higher traffic volumes than the other two
 locations. Furthermore, background concentrations are expected to be very similar at the four
 locations based on the proximity of nearby PM10 monitors.
 Considering these factors, two interchange locations were selected for the analysis:
      1. The I-70/I-25 interchange area from I-25 to the Steele Street/Vasquez Boulevard
         interchange
      2. The area around the I-70/I-225 interchange

 4.4.1.4          Season(s) to model

 Because PM10 violations have typically occurred in the winter in the Denver region and the
 maintenance plan for this pollutant addresses wintertime conditions, the winter season was
 modeled. As required by EPA guidance 420-B-13-053, “... it is also important to conduct
 modeling for those parts of an analysis year where PM concentrations are expected to be
 highest.” This was verified through the Interagency Consultation process, as well as from the
 local PM10 monitoring data.

 4.4.1.5          Model selection

 As required by the Transportation Conformity Rule (40 CFR 93.105(c)(1)(i)), an emissions
 model and an air quality dispersion model were selected through the Interagency
 Consultation process. EPA’s MOVES2010b Motor Vehicle Emissions Simulator model was
 selected for use at the project scale to estimate emissions for each roadway link in the PM10
 hotspot locations. EPA’s AERMOD model (Version 14134) was selected through Interagency
 Consultation for the air dispersion analysis and estimation of pollutant concentrations at
 receptors in the local near-road land areas. AERMOD can model closure of the truck stop in
 the corridor affected by some of the alternatives, and it also can model lowered sections of
 roadway, as in the Partial Cover Lowered Alternative, as well as the outflow from the
 proposed covered portion of I-70.




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 4.4.1.6         Project-specific data

 The Transportation Conformity Rule requires that the most recent planning assumptions be
 used for a conformity determination of regional transportation plans and transportation
 improvement programs (40 CFR 93.110). The regulation also states that a hotspot analysis
 must use assumptions that are consistent with the current regional conformity determination.
 EPA’s guidance (EPA-420-B-13-053, 3.3.7) further specifies that project-specific data be used
 when possible. Project-specific data refers to information related directly to the corridor and/or
 proposed project rather than default values from the MOVES model.
 Data sources and assumptions used in the PM10 hotspot analysis are included in the following
 sub-sections. The requirements related to the data item are summarized from the descriptions
 in EPA guidance (EPA-420-B-13-053, 3.3.7).

 4.4.1.6.1       Traffic data

 Traffic data used in the PM10 hotspot analysis was sufficient to characterize each link in the
 project area. The primary link traffic data were obtained from the DRCOG model runs for the
 No-Action and Build Alternatives. The 2035 No-Action Alternative model is consistent with
 the model, network, and other assumptions used for the conformity determination of the
 regional transportation plan and transportation improvement program.
 The DRCOG regional travel demand model used for this PM10 hotspot analysis is the most
 recent version of Compass. The roadway networks in Compass include arterials, expressways,
 frontage roads, ramps, and freeways. Much of the collector street network in the region also is
 included. High-occupancy vehicle and high-occupancy tolled lanes are likewise included.
 Essentially, the only roads not included are local and residential streets and some collectors.
 Each link in the model’s roadway network includes basic roadway information such as
 distance, number of lanes, roadway type (e.g., collector street, freeway), area type (e.g., central
 business district, urban, suburban, rural), tolls, and others. For the 2035 alternative model
 runs, the model provides forecasts of traffic volumes, congested speeds, and other information
 useful for long-range transportation planning and NEPA studies. Congested speeds are
 average speeds estimated by the model based on the amount of traffic and congestion on the
 link. All of these data are available for each link in the network.

 4.4.1.6.2       Starts per hour and vehicle idling at the Pilot Travel Center

 In addition to on-road, link-based mobile sources (cars, trucks, etc.), the PM10 hotspot analysis
 includes an off-highway truck stop located at the northeast corner of I-70 and 46th Avenue
 and Steele Street/Vasquez Boulevard. The Pilot Travel Center truck stop is a source of
 potentially significant PM10 emissions. It is modeled as an off-network link in MOVES and as
 an area source in AERMOD. Figure 6 shows an aerial view of the truck stop location.




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 Figure 6.   Pilot Travel Center aerial view




 The Pilot Travel Center is proposed to be closed as part of the Partial Cover Lowered
 Alternative and Revised Viaduct Alternative, North Option because the land is needed to
 accommodate the alternatives’ footprints. Thus, it became important to understand the diesel
 truck idling activity at the truck stop during the winter months to support the analysis so the
 associated emissions could be subtracted from results for the appropriate alternatives.
 A review of aerial photos and initial informal surveys and interviews provided the following
 estimates of activity at the truck stop:
         The truck stop has spaces for approximately 90 rigs to park overnight.
         The truck stop parking lot was full at 5:00 a.m. during a typical weekday in January.
         Very little movement occurred from 5:00 a.m. to 5:45 a.m. Two small activity peaks
          occurred between 5:45 a.m. and 7:00 a.m. and between 7:30 a.m. and 8:45 a.m.
         For winter months on a typical weekday, the number of trucks is 90 (lot 100 percent
          full).
         Auxiliary power unit (APU) use is estimated at zero (0 percent).
         Diesel engine idling is estimated at 100 percent if the average temperature is below 32
          degrees Fahrenheit; and it is estimated at zero (0 percent) otherwise.
         The minimum number of trucks in the parking lot during the winter weekday day is
          estimated to be 20. Based on driver input, their departure time depends on the location
          and timing of their shipment pickup or drop-off.
         The use/vacancy curve is estimated as shown in Figure 7. This information was used to
          estimate the starts per hour.


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 Figure 7.   Estimated trucks in Pilot Travel Center parking lot

  100

   90

   80

   70

   60

   50

   40

   30

   20

   10

    0
         # v•
        I:-   # v•
                # ce•
                    # #v• #   # ir
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 Appendix B contains more detail on the data collection, research, and results associated with
 the Pilot Travel Center to support the PM10 hotspot analysis. No other off-network emission
 sources were modeled in the PM10 hotspot analysis.

 4.4.1.6.3       Road dust emissions

 Road dust from mobile sources is a significant factor of particulate emissions within the
 project area. Road dust emissions are estimated to contribute up to 70 percent of the total
 daily PM10 emissions at the two hotspot locations. MOVES does not calculate particulate
 matter emissions from road dust. To estimate road dust and sanding emissions for this
 analysis, emissions factors from the most recent PM10 maintenance conformity modeling were
 compared with control factors currently achieved by CDOT.
 Emissions factors included in the conformity modeling vary with road type and jurisdiction
 maintaining the road. However, within the project area, CDOT currently uses increased
 sweeping and sanding control measures to reduce roadside dust emissions beyond the factors
 in the conformity modeling. For the Supplemental Draft EIS, project alternatives were
 evaluated with and without this program. At the I-25 hotspot location, the location with the
 highest PM10 design values, the comparison of particulate matter concentrations with and
 without the program showed that the existing maintenance program reduces total roadway
 PM10 concentrations by as much as 60 percent. While all alternatives were modeled with and



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 without road dust maintenance factors, the results of the PM10 analysis include maintenance
 program benefits and values to include the existing sweeping program for all alternatives.

 4.4.1.6.4        Vehicle type and age distribution

 The vehicle type and age distributions were obtained from the Colorado Department of
 Revenue and are consistent with those used in the most recent conformity determination for
 the Denver region.

 4.4.1.6.5        Temperature and humidity

 Temperature and humidity data used as inputs for the MOVES emission model were obtained
 from the Stapleton weather station, to be consistent with the input data used for the regional
 emissions analysis for conformity.

 4.4.1.6.6        Other project-specific data

 To support the air quality dispersion modeling with AERMOD, the following project-specific
 data were obtained:
         Surface meteorological data from monitors that measure the atmosphere near the
          ground from the Stapleton Airport weather station1
         Upper air data describing the vertical temperature profile of the atmosphere
         Land use data describing surface characteristics near the surface meteorological
          monitors
         Nearby population data from the U.S. Census
         Information necessary for determining locations of air quality modeling receptors
 This information is not used in the regional conformity determination, so there is no
 consistency requirement for these data in that regard. However, the information was derived
 from local and/or national sources to represent local conditions.

 4.4.2        Analysis Year/Year of Peak PM10 Emissions

 Section 93.116(a) of the Conformity Rule requires that PM10 hotspot analyses consider the full
 time frame of an area’s transportation plan. The EPA’s quantitative particulate matter
 hotspot guidance (EPA-420-B-13-053, November 2013) expands on this requirement by stating
 that the analysis should include the year(s) within the transportation plan during which peak
 emissions from the project are expected. The rule also describes the factors that should be
 considered when selecting the year(s) of peak emissions, including changes in vehicle fleets,
 traffic volumes, speeds, and VMT, as well as expected trends in background concentrations.
 The analysis year of 2035 was selected through the Interagency Consultation process.
 However, the Interagency Consultation process also established the need to verify the year of


 1
  This weather station was suggested by CDPHE to better represent weather conditions in the project area for the
 dispersion modeling.



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 peak emissions through a comparison of emissions factors and VMT for several interim years.
 This analysis verified that 2035 is the year of peak emissions.
 Verification of the year of peak emissions was determined through an aggregate estimation of
 emissions for every five years from 2010 through 2035. The EPA’s MOVES model was run for
 each year to produce emissions factors in grams per mile. The emissions factors were
 multiplied by average weekday VMT for each year to produce an estimate of emissions for
 each interim year for comparison.
 Based on the requirements, the regional transportation plan’s horizon year of 2035 was
 modeled and an analysis was conducted to estimate emissions for 2010 and interim years of
 2015, 2020, 2025, and 2030. Project completion is anticipated to occur after 2020. Three
 locations were reviewed in the year emissions analysis: (1) the air quality study area, (2) the
 I-70/I-25 PM10 hotspot area, and (3) the I-70/I-225 PM10 hotspot area.
 The year of peak emission analysis included road dust and road sanding estimates that are
 consistent with the SIP. Since the goal of this analysis is simply to document the trend in
 emissions, an average road dust emissions rate was used for the entire project area (unlike
 the actual hotspot analysis, where link-specific emissions rates were used). This rate was
 calculated using the VMT and controlled sanding and road dust emissions estimates from
 Section 3.4 of the PM10 SIP Technical Support Document (TSD). Calendar year 2025 values
 were used (the last year of data in the TSD), and the resulting emissions rate is 0.616 grams
 per mile.
 It should be noted that the approach of using a road-dust emission rate assumes an infinite
 reservoir of dust and sand on the highway surface that is re-suspended into the air in direct
 proportion to VMT. This is, thus, a conservative approach to estimating airborne dust since, in
 reality, the dust and sand would be gradually depleted from the road surface as it was re-
 suspended and settled out away from the highway.
 Appendix C contains a detailed discussion of the input data, assumptions, and process for
 conducting the year of peak emissions analysis. The results of the emissions estimates are
 shown in Table 7, Figure 8, Figure 9, and Figure 10. As the table and charts indicate, PM10
 emissions are highest in 2035 for the study area as a whole, as well as the I-70/I-25 and I-70/I-
 225 hotspot areas. Thus, the year of peak emissions was estimated to occur in 2035, and it can
 be assumed that the concentration results would be similar as well.
 The consideration of background PM10 concentration trends further supports the use of 2035
 as the year of peak emissions. In the APCD’s Colorado State Implementation Plan for PM10,
 Revised Technical Support Document (September 2005), Table 5.1-1 shows a summary of
 maintenance year model demonstrations in which the sixth highest modeled concentration
 increases steadily from 2001 through at least 2030. Table 3.1-1 of that document also shows a
 steadily increasing total PM10 emission inventory from 2001 through 2025. In that 2005
 document, the analysis does not include 2035, but the evidence is clear—the overall PM10
 emission inventory is rising over time due to increases in almost all source types. Therefore, it
 is reasonable to conclude that the year 2035 is the year of peak emissions to model for the
 PM10 hotspot analysis.




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 Table 7.                       PM10 emissions for peak year of emissions analysis (study area, pounds per
                                weekday)

                       Description          2010            2015            2020         2025           2030             2035

  Study Area
  Freeway                                   5,745           5,886           6,176        6,525          6,849           7,181
  Non-freeway                               5,215           5,885           6,488       7,028           7,505           7,903
  Total                                     10,960          11,772      12,664          13,553         14,353          15,084
  I-70/I-25 Hotspot Area
  Freeway                                    878             825             844           872           904             935
  Non-freeway                                276             296            308            316           327             335
  Total                                     1,154           1,120           1,152       1,188           1,231           1,270
  I-70/I-225 Hotspot Area
  Freeway                                    173             180             198           218           231             245
  Non-freeway                                170             187            198            207           217             225
  Total                                      343             367            396            425           448             471




 Figure 8.                      PM10 emissions for peak year of emissions analysis (study area, pounds per
                                weekday)

                       16,000

                       14,000

                       12,000

                       10,000
      pounds per day




                        8,000

                        6,000

                        4,000

                        2,000

                           ‐
                                     2010            2015            2020           2025             2030             2035

                                      Exhaust      Brake wear   ■Tire wear     ■ Road Dust/Sanding    ■ Total




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 Figure 9.                     PM10 emissions for peak year of emissions analysis (I-70/I-25 hotspot area,
                               pounds per weekday)

                     1,400

                     1,200

                     1,000
    pounds per day




                      800

                      600

                      400

                      200

                           ‐
                                  2010          2015         2020          2025             2030           2035

                                    Exhaust    Brake wear   Tire wear   Road Dust/Sanding      Total




 Figure 10.                    PM10 emissions for peak year of emissions analysis (I-70/I-225 hotspot area,
                               pounds per weekday)

                     500

                     450

                     400

                     350
    pounds per day




                     300

                     250

                     200

                     150

                     100

                      50

                      ‐
                                 2010         2015          2020          2025              2030           2035

                                    Exhaust    Brake wear   Tire wear   Road Dust/Sanding      Total




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 4.4.3       Estimating On-Road Mobile Vehicle PM10 Emissions Using
             MOVES

 4.4.3.1         MOVES input data and assumptions

 Section 4 of EPA’s guidance (EPA-420-B-13-053) describes the following steps for estimating
 on-road motor vehicle emissions for this analysis using the MOVES model:
         Characterizing a project in terms of links
         Determining the number of MOVES runs
         Developing basic run specification inputs
         Entering project details using the Project Data Manager
         Generating emissions factors for use in air quality modeling

 This section identifies relevant data, sources, and assumptions used in the MOVES modeling
 for the PM10 hotspot analysis. The intent of this discussion is not to educate about how the
 MOVES model works or how to run it. Instead, this discussion documents the assumptions
 used in running the MOVES model.

 4.4.3.1.1       Characterizing a project in terms of links

 As described previously, the link traffic data were obtained from the DRCOG Compass models
 for the No-Action and Action alternatives. The guidance (EPA-420-B-13-053) state’s that the
 goal of defining a project’s links is “to accurately capture emissions where they occur.” The
 Compass model does this by accurately simulating the geospatial features of the roadway
 system in a common coordinate system. Additionally, the Pilot Travel Center is modeled as an
 off-network link at the location where the emissions occur in the network.
 Inconsistencies were discovered in the links modeled for different alternatives in the
 Supplemental Draft EIS. These problems were corrected for the modeling conducted for this
 Final EIS.

 4.4.3.1.2       Determining the number of MOVES runs

 Traffic and meteorological conditions change by time of day, day of week, and month. The
 number of unique MOVES runs necessary to conduct the PM10 hotspot analysis is:
          Number of MOVES runs = (4 time of day periods) x (1 quarter) x (6 alternatives)
                                  = 24 runs

 Historical PM10 monitoring data indicate that PM10 violations are only expected to occur in the
 winter months in the project area; therefore, only the winter quarter was modeled. Traffic
 data were defined for the four weekday time periods in the Compass model: morning peak
 (AM), midday (MD), evening peak (PM), and overnight (ON). The Compass model generates
 emissions rates for every hour of each period; for these analyses, the hour with the highest
 emissions rate was chosen to represent the entire period.




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 For this Final EIS, the following project alternatives were modeled with Compass:
        2021 Phase 1
        2035 No-Action Alternative
        2035 Revised Viaduct Alternative, General-Purpose Lanes Option
        2035 Revised Viaduct Alternative, Managed Lanes Option
        2035 Partial Cover Lowered Alternative, General-Purpose Lanes Option
        2035 Partial Cover Lowered Alternative, Managed Lanes Option

 The No-Action Alternative and Revised Viaduct Alternative both have options that shift I-70
 south or north. These shifts have no impact on traffic circulation and are each considered a
 single alternative for the purpose of projecting traffic, congested speeds, and emissions for all
 of the alternatives.

 4.4.3.1.3       Developing basic run specification inputs

 MOVES requires a run specification that defines the place and time of the analysis, as well as
 the vehicle types, road types, fuel types, and the emission-producing processes and pollutants
 that will be included in the analysis (EPA-420-B-13-053). Appendix D contains detailed
 information about the run specifications for the MOVES model.

 4.4.3.1.4       Entering project details using the Project Data Manager

 After preparing the run specification, the next step is to create the appropriate input tables
 that describe the project in detail. Each MOVES run must have an accompanying set of input
 database tables that are imported into the model with the Project Data Manager. The
 following types of tables can be imported:
        Meteorology
        Age distribution
        Fuel supply
        Fuel formulation
        Link source type
        Links
        Link drive schedule
        Operating mode distribution
        Off network
        The input database tables that contain this information are described in Appendix E.




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 4.4.3.2        Generating emissions factors

 The MOVES model provides results as either an emission total (if “Inventory” is selected) or
 an emissions factor (if “Emission Rates” is selected). AERMOD uses a grams/hour emissions
 factor for each hour of the day. For the hotspot analysis, the Inventory option was selected so
 MOVES produced output in the format needed by AERMOD. Aggregate particulate matter
 emissions in units of grams/hour then were calculated by summing the appropriate pollutants
 over the roadway network links.

 4.4.4       Estimating Emissions from Road Dust, Construction, and
             Additional Sources

 As previously stated, re-entrained road dust kicked up into the air by passing vehicles was
 included in this PM10 hotspot analysis. Road dust is a significant component of PM10 emissions
 from mobile sources. The EPA requires road dust emissions to be included in all conformity
 analyses of PM10 emissions, including hotspot analyses (EPA-420-B-13-053-6.3.2). MOVES
 does not calculate PM emissions from road dust. To estimate road dust and sanding emissions
 for this analysis, the emissions factors from the most recent PM10 conformity modeling were
 used. Each link was assigned an emissions factor based on road type, control program and
 maintaining agency.

 4.4.5       AERMOD Air Dispersion Modeling of PM10 Emissions

 4.4.5.1        Air quality model selection

 Through the Interagency Consultation process, it was determined that AERMOD was the
 most appropriate model to use in this PM10 hotspot analysis. The American Meteorological
 Society/EPA Regulatory Model (AERMOD) is EPA’s recommended near-field dispersion model
 for many regulatory applications. EPA recommended AERMOD in a November 9, 2005, final
 rule (40 CFR 51, Revision to the Guideline on Air Quality Models: Adoption of a Preferred
 General Purpose Dispersion Model and Other Revisions, Federal Register, Volume 70, No.
 216) that amended EPA’s “Guideline on Air Quality Models” after more than 10 years of
 development and peer review, which resulted in substantial improvements and
 enhancements. AERMOD includes options for modeling emissions from volume, area, and
 point sources, so it can model the impacts of the truck stop and the Partial Cover Lowered
 Alternative.

 4.4.5.2        Characterizing emission sources

 4.4.5.2.1      Physical characteristics and location

 Using spatial analysis in a geographic information systems (GIS) environment, the physical
 characteristics and location of the emission sources were translated into AERMOD’s input
 format. For this analysis, the highway and intersection links in MOVES were represented as
 Area Sources in AERMOD, with the following exceptions: per suggestions from the EPA, the
 below-grade sections in the Partial Cover Lowered Alternatives were modeled using
 AERMOD’s OPENPIT source option, and the ends of the tunnel(s) were modeled as volume


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 sources, with the tunnel emissions based on discrete hourly emissions calculated for each
 tunnel portal based on diurnal fluctuations in the traffic data. To be conservative in assessing
 the near-field impacts, all area sources were modeled as being located at-grade (including
 viaduct sources), and flat terrain was used (per communication with EPA). Deposition of
 particulates was not modeled for these analyses, per EPA guidance, to more conservatively
 estimate ambient concentrations.

 4.4.5.2.2       Emission rates/emissions factors

 The magnitude of emissions within a given time period or location is a necessary component of
 dispersion modeling. MOVES-generated emission rates were utilized for AERMOD. Each
 MOVES link is represented by one or more sources in AERMOD.

 4.4.5.2.3       Temporal and seasonal assumptions

 The proper description of emissions by time of year, day of week, and hour of day is critical to
 the utility of air quality modeling. Air quality modeling for the 24-hour PM10 NAAQS in this
 circumstance only involves modeling one quarter of the year over the winter months for five
 years. For this PM10 hotspot analysis, an hourly emissions factor was generated for each
 alternative for use in AERMOD.

 4.4.5.2.4       Other AERMOD Modeling specifications

 The most current EPA guide for conducting AERMOD modeling (EPA-454/B-03-001, 2004)
 was referenced during this study. Other AERMOD model specifications include the following:
        Assume Flat Terrain
        Urban Option: Single Urban Area and All Sources Urban
        Release Height: 1.42 meters
        Initial Vertical Dimension: 2.83 meters
        Profile Base Elevation: 1609 meters
        RECTABLE value: 6th highest value

 4.4.5.3         Meteorological data inputs

 For this PM10 analysis, five years (1990-1994) of meteorological data from the Stapleton
 International Airport were processed for application in the AERMOD model. These data were
 provided by APCD and were chosen in consultation with the FHWA and the EPA to better
 represent meteorological conditions in the project area than data from the Denver
 International Airport. Meteorological data for the winter months for each year was used in
 this analysis. These data were processed by APCD with AERMET—AERMOD’s
 meteorological pre-processor, so that the data arrived ready to be used in AERMOD.
 In addition to surface characteristics, night-time dispersion in urban areas can be greater
 than in surrounding rural areas with similar surface characteristics as a result of the “urban



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 heat island effect.” Because this PM10 hotspot analysis falls within an urban area, the sources
 were treated as urban in AERMOD.

 4.4.5.4        Receptor placement

 Receptors are locations in the project area where the air quality model estimates future PM10
 concentrations. Section 93.123(c)(1) of the Conformity Rule requires PM10 hotspot analyses to
 estimate air quality concentrations at “appropriate receptor locations in the area substantially
 affected by the project,” i.e., a location that is suitable for comparison to the relevant PM10
 NAAQS.
 The appropriate design of the receptor network for this PM10 hotspot analysis was determined
 through the Interagency Consultation process. To be of sufficient resolution to capture the
 concentration gradients throughout the hotspot study area, a nested grid was designed.
 Receptors were placed at 25-meter intervals in the area between the roadway edge and 100
 meters away. Between 100 and 500 meters from the road’s edge, a spacing of 100 meters was
 used. The Flagpole option in AERMOD was used to define a receptor height of 1.5 meters.
 This receptor placement extends out to a sufficient distance from sources to account for
 emissions that affect concentrations throughout the project area. Furthermore, the dense
 placement of receptors assures that concentrations near locations of interest, such as Swansea
 Elementary School, are evaluated.
 Following direction from the EPA Office of Transportation Air Quality (OTAQ), an expanded
 receptor network was used for the PM10 analysis in this Final EIS than had been used for the
 analysis in the Supplemental Draft EIS (correspondence with OTAQ included in Appendix J).
 Whereas, in the previous analysis, receptors were only placed in locations that were open to
 the public, in this analysis receptors were placed in all locations not directly controlled by the
 project owner (CDOT), regardless of whether they were publicly accessible.
 Typical receptor locations for the PM10 hotspot analyses are shown in Figure 11 and Figure 12
 for the two hotspot locations (each specific alternative modeled has a slightly different
 receptor network based on differences in the right of way for that alternative).




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 Figure
 Figure 11. Typical receptor
        11. Typical          locations for
                    receptor locations for the PM10 hotspot
                                           the PM10 hotspotanalysis
                                                            analysis(I-70
                                                                     (I-70at
                                                                           atI-25)
                                                                              I-25)




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 Figure 12. Typical receptor locations for the PM10 hotspot analysis (I-70 at I-225)




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          • Receptor Locations          Commercial                        Residential    Park

       11PM Hotspot                     Governmentalli nstitutional       Industrial     Transportation




 4.4.6       Background Concentrations

 This hotspot analysis uses background PM10 concentrations from ambient monitoring data.
 Identifying an appropriate monitor to use for PM10 background concentrations was a key topic
 for air quality Interagency Consultation. A complicating factor is that there is no monitor that
 is upwind from the project area under most meteorological conditions that also captures the
 industrial contributions that the residents in the project area neighborhoods are concerned
 about.
 Denver’s Continuous Air Monitoring Program (CAMP) station and the Commerce City, Welby
 (WBY), and National Jewish Health (NJH) Center sites are the closest monitors to the project
 area. The CAMP station is in the central business district and is not representative of land
 use anywhere else in the project corridor. The NJH site monitor does not record PM10
 emissions. Each of the monitors are downwind of at least one major highway, which means
 they may not represent a true background value.
 After reviewing the locations of these three monitors on aerial photographs, the Commerce
 City site was selected as the background monitor since it best captures the industrial PM10



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 contributions in the project area and is a reasonable distance from the I-70 corridor (it may
 best reflect actual background concentrations excluding I-70 impacts). The selection of the
 Commerce City site was made by CDOT through the Interagency Consultation process that
 included FHWA, EPA, and APCD.
 Updated EPA guidance (included in correspondence with EPA and OTAC, Appendix J)
 requires use of the fourth highest PM10 value over a three-year period, excluding exceptional
 events, to represent background concentrations. For the Final EIS, the background
 concentrations were estimated using 2011 to 2013 data, resulting in a background PM10 value
 of 89 μg/m3.

 4.4.7       Construction Fugitive Dust

 The estimation of fugitive emissions from construction is not possible until specific
 construction methods and sequencing are developed for the selected Preferred Alternative.
 This is because the emissions factors used to estimate construction emissions require specific
 information regarding equipment type, (i.e., dozer, scraper, grader, etc.), operating hours,
 vehicle speed, project duration, and so forth.
 In the absence of this detailed information, it is possible to provide a relative comparison
 among the alternatives based on the amount of material to be handled. In general, the more
 material moved, the greater the construction-related fugitive dust emissions. Therefore, the
 total amount of material handled is used as a surrogate measure for understanding the
 relative dust and equipment-related exhaust particulate emissions during construction.

 4.5     Methodology for Criteria Pollutants, Mobile Source Air
         Toxics, and Greenhouse Gases

 Emissions inventories of NAAQS criteria pollutants, MSATs, and GHGs were developed for
 the No-Action Alternative and the Build Alternatives. The inventories allow for the
 assessment of these pollutants and their potential impacts by alternative. The methodologies
 to prepare the inventories and assess impacts are common to each of these three categories of
 pollutants. The inventories were prepared for 2010 and 2035 by APCD using EPA’s MOVES
 model and interpolated for each interim five-year increment.

 4.5.1       Approach, Models, and Data

 EPA’s and FHWA’s guidance and reference documents cited previously were used to establish
 the overall approach, modeling input data, and other assumptions for preparing the emission
 inventories. The resulting inventories represent weekdays (24-hour period) for January and
 July in the respective analysis years.

 4.5.1.1         Overview of the modeling process

 Figure 13 shows the modeling process used for this analysis.




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 Figure 13. Modeling process for the criteria pollutant, MSAT, and GHG analyses


          Traffic Data from                Local                      Fuel and Control      Vehicle Fleet
           DRCOG Model               Meteorological Data           Program Specifications      Data




                                                   EPA MOVES Model


                                                Emission Factors by Pollutant,
                                                   Speed, and Road Type


                 Traffic Data from
                  DRCOG Model
                                           Post-process for Pollutant Type


                                             Criteria
                                                            MSAT           GHG
                                            Pollutant
                                                           Emissions     Emissions
                                            Emissions

 Traffic data—including traffic volumes, vehicle miles of travel, and travel speeds—from
 DRCOG’s Compass model simulate the activities that generate emissions from motor vehicles.
 For this Final EIS, the following project alternatives were modeled with Compass:
           2021 Phase 1
           2035 No-Action Alternative
           2035 Revised Viaduct Alternative, General-Purpose Lanes Option
           2035 Revised Viaduct Alternative, Managed Lanes Option
           2035 Partial Cover Lowered Alternative, General-Purpose Lanes Option
           2035 Partial Cover Lowered Alternative, Managed Lanes Option

 The No-Action Alternative and Revised Viaduct Alternative both have options that shift I-70
 south or north. These shifts have no impact on traffic circulation and are each considered a
 single alternative for the purpose of projecting traffic, congested speeds, and emissions for all
 of the alternatives.
 These alternatives have been modeled with sufficient detail for projecting traffic, congested
 speeds, and emissions for all of the alternatives. Local meteorological conditions, fuel
 specifications, and emissions control programs are input into the MOVES model, in addition
 to the travel model results. The MOVES model uses this information to estimate on-road
 mobile source (i.e., vehicle) emissions factors in units of grams per mile. The emissions factors
 are multiplied by the daily (24-hour weekday period) vehicle miles of travel for every roadway
 link in the study area based on the link’s roadway functional classification and estimated
 congested speed. The emission inventories are the sum of the link emissions. The resulting



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 inventories represent weekdays (24-hour period) for January and July in the respective
 analysis years.

 4.5.1.2         Air quality model selection

 MOVES was selected through the Interagency Consultation process for use in preparing the
 criteria pollutant, MSAT, and GHG emissions inventories. MOVES allows for the use of
 project-specific, local data where it is available, and it has the capability of modeling
 pollutant-origination processes that estimate exhaust and evaporative emissions, as well as
 brake and tire wear emissions, from all types of on-road vehicles. As noted above, MOVES
 does not incorporate the effects of EPA’s recently finalized Tier 3 emissions standards, which
 are projected to result in reductions of individual criteria and hazardous air pollutants by 10
 percent to 56 percent (EPA, 2014). Thus the emissions inventories produced for this analysis
 are conservative, in that the actual emissions will likely be lower than those presented.

 4.5.1.3         Pollutants to analyze

 Analysis of NAAQS includes five criteria pollutants: CO, NO2, particulate matter (PM2.5, and
 PM10), SO2, and Ozone. The pollutant ozone is a regional issue that involves the interaction of
 various chemicals in the presence of sunlight, so it is addressed at the project level through its
 precursors—volatile organic compounds (VOC) and oxides of nitrogen (NOx). Because lead has
 been eliminated from on-road vehicle fuels, it is no longer a pollutant of concern from roadway
 emissions, so it is not included in the analysis of criteria pollutants. MSAT analyses cover the
 most recent list of seven priority MSATs in FHWA’s 2012 guidance. The MOVES emissions
 factors for GHGs include adjustments for the most recent changes to the Corporate Average
 Fuel Economy (CAFE) standards. Identical travel and meteorological data were used for all
 pollutants. SO2 was analyzed because it is a pollutant of general air quality concern and
 contributes to the overall air shed of the project study area. SO2 is not considered a
 transportation-related criteria pollutant.

 4.5.1.4         Geographic area

 The emissions inventories are based on a large geographic project area that encompasses the
 corridor study area and surrounding neighborhoods. The study area was determined based on
 the area in which forecasted traffic volumes change significantly between the No-Action and
 the Build Alternatives.

 4.5.1.5         Analysis years

 As defined in the Air Quality Protocol developed through the Interagency Consultation
 process, the emission inventories were prepared for the 2010 base year and the regional
 transportation plan’s horizon year of 2035 by APCD. To support the trends analysis,
 inventories were estimated for each intervening five-year increment: 2015, 2020, 2025, and
 2030.
 The project is anticipated for completion between 2020 and 2025, so 2025 is the first analysis
 year to contain a Build Alternative condition. Therefore, the 2010, 2015, and 2020 inventories


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 are common to all alternatives for a given pollutant, whereas the 2025, 2030, and 2035
 inventories are alternative-specific.

 4.5.1.6        Temporal and seasonal conditions

 The emission inventories for criteria pollutants, MSATs, and GHGs represent a January
 weekday (24-hour period) and a July weekday (24-hour period) in the respective analysis
 years. The use of weekdays is consistent with peak traffic conditions that occur in the morning
 and evening rush hours on weekdays. Both January and July are reported separately to
 indicate peaking characteristics of the various pollutants.

 4.5.1.7        Planning assumptions

 In preparing the emission inventories, the most recent planning assumptions consistent with
 the most recent conformity determination for the regional transportation plan and
 transportation improvement program were used by APCD. Many of these planning
 assumptions, such as existing and future households and employment, are built into the
 assumptions of the DRCOG Compass model.

 4.5.1.8        Traffic data

 The traffic data (e.g., vehicle miles of travel, congested speeds) for this analysis were obtained
 from the 2010 base year Compass model and the 2035 DRCOG Compass model runs for the
 No-Action Alternative and Build Alternatives. The 2035 No-Action Alternative model is
 consistent with the model, network, and other assumptions used for the conformity
 determination of the regional transportation plan and transportation improvement program.
 The 2035 Build Alternatives were developed using the 2035 No-Action Alternative roadway
 network as a starting point.
 The roadway networks in Compass include arterials, expressways, frontage roads, ramps, and
 freeways. Much of the collector street network is included. High-occupancy vehicle and high-
 occupancy tolled lanes are likewise included. Essentially, the only roads not included are local
 and residential streets and some collectors.
 Each link in the model’s roadway network includes basic roadway information, such as
 distance, number of lanes, roadway type (e.g., collector street, freeway), area type (e.g., central
 business district, urban, suburban, rural), tolls, and others. For the 2035 alternative model
 runs, the model provides forecasts of traffic volumes, congested speeds, and other information
 useful for long-range transportation planning and NEPA studies such as this. Congested
 speeds are average speeds estimated by the model based on the amount of traffic and
 congestion on the link. All of these data are available for each link in the network. These data
 were used to construct MOVES input files for average speed distribution and road type
 distribution.
 The daily vehicle miles of travel for each alternative are shown in Table 8.




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 Table 8.    Vehicle miles of travel (daily, study area)

                                                       2035
                                         2035                    2035 PCL     2035 PCL        2035
   Vehicle Type        2010 Base                     Revised
                                       No-Action                    GP           ML          Phase 1
                                                    Viaduct GP
   Motorcycle           16,700          24,700        26,000      26,000        25,500        25,200
   Passenger
                       3,476,600       5,081,800    5,413,000    5,406,500    5,289,100      5,197,200
   Car
   Light
   Passenger           2,429,700       3,551,200    3,783,100    3,778,500    3,696,500      3,632,000
   Truck
   Light
   Commercial           811,700        1,186,400    1,263,900    1,262,300    1,234,900      1,213,400
   Truck
   Bus (intercity,
   transit,             10,300          15,600        16,200      16,100        15,900        15,800
   school)
   Single-Unit
   Truck, Motor         64,100          93,200        98,100      100,400       97,700        95,600
   Home
   Combo Heavy
                        342,000         500,800      529,100      539,800      525,400        512,700
   Trucks
   Total*              7,151,000       10,453,600   11,129,500   11,129,700   10,885,000    10,691,800
   *Totals may vary due to rounding.


 4.5.1.9          Travel distribution by vehicle type

 The percentage of vehicle miles of travel attributed to each vehicle type also is called VMT mix
 and is an important component of an air quality analysis for freeway alternatives. In reality,
 VMT mix is different for every segment of road in the study area; but, for analysis purposes,
 the VMT mix is assumed to be the same for all links in a given roadway functional
 classification for a given alternative. In preparing the emission inventories, alternative-
 specific VMT mixes were used in the MOVES model. The base VMT mix was developed by
 APCD using CDOT’s automated traffic recorder (ATR) data from the existing I-70 East
 corridor. The base VMT mix was used for the 2035 No-Action Alternative. The No-Action VMT
 mix was adjusted for each Build Alternative to account for changes in heavy trucks reflected
 in the DRCOG Compass model runs. Table 9 shows the VMT mixes by alternative.




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 Table 9.     Freeway travel distribution by vehicle type (VMT mix)

                                                    2035         2035
                                   2035 No-                                  2035 PCL        2035 PCL
           Vehicle Type                           Revised      Revised
                                    Action                                      GP              ML
                                                 Viaduct GP   Viaduct ML

   Motorcycle                           0.24%       0.23%         0.23%         0.23%          0.23%
   Passenger Car                       48.61%      48.64%        48.60%        48.58%         48.59%
   Light-Duty Personal Use             33.97%      33.99%        33.96%        33.95%         33.96%
   Pickup
   Light-Duty Commercial               11.35%      11.36%        11.35%        11.34%         11.35%
   Pickup
   Bus                                  0.15%       0.15%         0.15%         0.15%          0.15%
   Single Unit Truck                    0.89%       0.88%         0.90%         0.90%          0.90%
   Combo Truck                          4.79%       4.75%         4.82%         4.85%          4.83%
   Total                               100.00%    100.00%       100.00%       100.00%        100.00%
   *Totals may vary due to rounding.


 4.5.1.10         Vehicle type and age distributions

 The vehicle type and age distributions were obtained from the Colorado Department of
 Revenue and are consistent with those used in the most recent conformity determination for
 the Denver region. These distributions are used in the MOVES model and show the percent of
 vehicles by age (e.g., less than one year, one to two years, two to three years, etc.) for the
 following vehicle types:

           Motorcycle                                       Refuse truck
           Passenger car                                    Single-unit short-haul truck
           Passenger truck                                  Single-unit long-haul truck
           Light commercial truck                           Motor home
           Intercity bus                                    Combination short-haul truck
           Transit bus                                      Combination long-haul truck
           School bus

 The distributions are contained in Appendix B. The vehicle population data provided by APCD
 for 2010 also is included in the appendix.

 4.5.1.11         Temperature and humidity

 Temperature and humidity data used as input to the MOVES model were obtained from the
 Stapleton weather station and are shown in Table 10.




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 Table 10. Temperature and humidity data

                            Temperature (°F)                        Humidity (%)
       Hour
                       January               July              January                  July
  1                      17.9                55.3                59.8                   57.6
  2                      17.2                51.9                60.0                   59.9
  3                      16.5                49.2                59.6                   61.7
  4                      15.8                47.2                59.8                   64.1
  5                      15.2                45.8                59.9                   65.9
  6                      14.8                44.1                59.6                   67.1
  7                      14.5                42.6                59.6                   63.0
  8                      14.3                43.8                59.5                   55.3
  9                      15.8                51.1                58.1                   48.2
  10                     22.9                62.9                52.2                   42.2
  11                     30.1                74.8                45.9                   36.5
  12                     36.0                85.1                41.4                   32.1
  13                     40.1                94.1                38.2                   28.9
  14                     42.3                99.0                37.0                   27.2
  15                     43.2               100.7                36.5                   26.5
  16                     42.5               101.2                37.5                   26.7
  17                     40.3               100.0                39.8                   28.0
  18                     34.3                96.6                45.4                   29.8
  19                     28.6                90.7                51.0                   33.2
  20                     25.7                83.1                54.3                   37.8
  21                     23.4                75.6                56.4                   43.8
  22                     21.9                69.0                57.7                   48.1
  23                     20.3                64.3                59.1                   51.8
  24                     19.1                59.7                59.7                   54.8


 4.5.1.12        Fuel specifications

 The MOVES model requires parameters that represent the fuel specifications for a given area.
 The fuel specifications for this analysis were provided by APCD and are consistent with the
 most recent conformity determination for the region’s transportation plan and improvement
 program. They are contained in Appendix B.

 4.5.1.13        Inspection and maintenance program

 The Denver region’s existing and anticipated future vehicle inspection and maintenance (I/M)
 program parameters were provided by APCD for the MOVES model. As mentioned in Section
 4.3.2, the I/M input file for the Final EIS was updated and corrected from that used in the
 Supplemental Draft EIS, to improve the model’s consistency with Colorado’s currently
 implemented I/M program. The data are contained in Appendix B.


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 4.5.2      MOVES Modeling

 As previously discussed, emissions factors were generated using MOVES at the county scale.
 In MOVES, the County Scale is one of three options for running the model. It facilitates the
 use of local input data to develop emissions factors. It does not mean that county-level
 emissions totals are generated. Rather, the emissions factors from MOVES are multiplied by
 the VMT at the roadway link level based on the speed estimated for the link. This is done for
 all links in the air quality study area so that the resulting emissions inventories represent the
 on-road mobile source emissions generated in the study area. Note that the emissions factors
 produced by the MOVES2010b model are conservative in that they do not include the effects
 of EPA’s recently finalized Tier 3 emissions standards, which are projected to reduce
 emissions of individual criteria pollutants and hazardous air pollutants by as much as 10
 percent to 56 percent (EPA, 2014).




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 5       EXISTING CONDITIONS

 5.1     Existing Conditions—Criteria Pollutants

 This section addresses the existing conditions for the NAAQS criteria pollutants.

 5.1.1       Monitoring Data/EPA Air Quality Status

 Six air quality monitoring stations are located within or close to the study area, as shown in
 Figure 2. Denver’s CAMP station and the Commerce City, Welby, and NJH sites are the
 closest monitors to the project area. CAMP is in the Central Business District and is not
 representative of land use anywhere else in the project corridor. The NJH monitor does not
 record emissions of interest to this analysis. Table 11 contains the air monitoring data for the
 monitoring sites with data relevant to this project. Exceedances of NAAQS emissions
 standards are highlighted in the table. It should be noted that a single exceedance does not
 necessarily trigger a nonattainment designation. Chapter 2 of this report identifies the
 specific exceedance criteria. Even though several of the NAAQS have become stricter in recent
 years, historical pollutant concentrations from monitoring sites within and near the study
 area suggest that air quality has improved over time despite increasing road congestion,
 continued industrial activities, and the influence of weather patterns.
 As of July 2014, all areas in Colorado were in attainment of all NAAQS criteria pollutants
 except for ground-level ozone. Seven counties in the Denver metropolitan area and portions of
 two counties in the Colorado North Front Range are currently designated as nonattainment
 for exceeding the 2008 8-hour ozone standard. The region was originally designated under the
 1-hour standard, which has since been replaced with an 8-hour standard in in 2008.
 The Denver region was previously designated nonattainment for carbon monoxide and PM10.
 The region was redesignated to attainment/maintenance status for carbon monoxide by the
 EPA on December 14, 2001 (EPA, 2001), and for PM10 by the EPA on September 16, 2002
 (EPA, 2002a). Denver is in attainment for the 1997, 2006, and 2012 PM2.5 standards. As
 shown in Table 11, there have not been any exceedances of the carbon monoxide standard at
 any of the four monitoring stations in the study area since 1999. There has been one
 exceedance of the 1997 24-hour PM2.5 standard in 2001 at the CAMP station, but this was not
 enough to trigger a nonattainment designation for that pollutant.
 Although there is currently no monitoring station located in close proximity to I-70, recently a
 near-road monitoring station was set up in the area to measure ambient air quality adjacent
 to I-25 approximately a half mile south of the Colfax Avenue interchange. In the first complete
 year of data collection (2014), the average 24-hour PM10 concentration was found to be 28.1
 µg/m3, and the maximum value for the year was 115.2 µg/m3. These values are substantially
 below the 24-hour NAAQS for PM10 of 150 µg/m3.




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Table 11.        Pollutant monitoring data
                                Existing
                Averaging
Pollutant                        NAAQS       1999    2000    2001      2002    2003    2004    2005    2006    2007    2008    2009    2010       2011     2012      2013
                  Time
                                Standard
Firestation #6—1300 Blake Street, 080310019 (Decommissioned in 2011)

               8-Hour (2nd
                               9 ppm         5.2     4.6     4.0       3.6     3.4     3.6     2.3     2.6     2.4     3.0     1.8     2.2        1.7
               Max)
CO (ppm)
               1-Hour (2nd
                               35 ppm        11.2    8.6     7.0       7.5     6.1     5.8     4.2     4.2     4.1     4.5     3.6     3.3        2.7
               Max)

Denver CAMP (Continuous Air Monitoring Program)—2105 Broadway Avenue, 080310002

               8-Hour (2nd
                               9 ppm         5.0     5.4     4.1       3.7     4.5     4.1     2.5     3.1     2.8     3.1     2.2     2.4        1.8      2.0       2.5
               Max)
CO (ppm)
               1-Hour (2nd
                               35 ppm        12.1    12.8    9.3       7.4     14.9    8.7     4.3     4.6     5.9     7.0     6.8     4.0        3.1      4.0       5.7
               Max)

Ozone                                        No      No      No        No      No      No                                      No      No         No       No
               8-Hour (max)    0.075 ppm                                                       0.06    0.071   0.064   0.062                                         0.74
(ppm)                                        Data    Data    Data      Data    Data    Data                                    Data    Data       Data     Data
                               50 μg/m3
               Annual Mean     (Revoked in   29.9    33.8    38.4      37.5    33.7    29.1    28.3    27.3    27.4    28.6    25.7    26.6       32.9     31.6      32.1
PM10                           2006)
(μg/m3)
               24-Hour (2nd
                               150 μg/m3     49      57      75        75      61      53      57      51      55      56      42      52         80       103       75
               Max)
               Annual Mean     12 μg/m3      8.44    10.78   11.81     10.10   10.50   9.36    9.34    8.46    9.84    8.04    7.52    7.81       7.51     7.95      7.49
               24-Hour (2nd
PM2.5                          65 µg/m3      29.2    36.6    68.0      41.1    33.4    40.2    36.2    31.4    53.6
               Max)
μg/m3)
               24-Hour (2nd
                               35 µg/m3                                                                                30.3    25.7    25.3       28.0     32.2      27.2
               Max)
               Annual Mean     0.053 ppm     0.033   0.037   0.037     0.035   0.035   0.027   0.028   0.029   0.027   0.020   0.031   0.027      0.024    0.025     0.024
NO2 (ppm)
               1-hour          0.100 ppm                                                                                               0.080      0.093    0.076     0.086
               24-Hour (2nd
                               0.14 ppm      0.013   0.017   0.026     0.023   0.013   0.011   0.009   0.009   0.011   0.010   0.005
               Max)
SO2 (ppm)
               1-Hour (2nd
                               0.075 ppm                                                                                               0.045      0.042    0.043     0.039
               Max)
Commerce City/Alsup Elementary (COMM)—080010006
                               50 μg/m3
PM10
               Annual Mean     (Revoked in   36.6    42.7    35.7      37.6    38.2    34.6    38.9    35.0    33.8    31.5    27.6    28.2       24.6     29.5      28.6
(µg/m3)
                               2006)




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Table 11.        Pollutant monitoring data
                                  Existing
                Averaging
Pollutant                          NAAQS         1999     2000     2001      2002    2003    2004    2005    2006    2007    2008    2009    2010    2011    2012       2013
                  Time
                                  Standard
               24-Hour (2nd
                                150 µg/m3        141      134      112      98       115     103     98      111     111     107     93      68      65      86         97
               Max)
               Annual Mean      12 µg/m3         9.31     11.61    10.50    10.11    10.64   9.92    9.79    7.89    10.72   9.46    8.12    8.62    7.50    8.60       8.70
               24-Hour (2nd
PM2.5                           65 µg/m3         12.1     25.2     32.3     25.7     27.9    23.2    24.0    27.5    48.7
               Max)
(µg/m3)
               24-Hour (2nd
                                35 µg/m3                                                                                     26.7    23.6    24.3    20      28.7       26.5
               Max)
Welby (WBY)—3174 E. 78th Avenue, 080013001

               8-Hour (2nd
                                9 ppm            3.6      2.9      3.3      2.6      3.0     2.8     2.2     2.5     2.1     2.4     1.9     1.8     1.6     1.3        2.1
               Max)
CO (ppm)
               1-Hour (2nd
                                35 ppm           6.0      4.3      5.8      4.4      5.2     4.0     3.3     3.8     3.0     3.9     2.6     2.3     2.4     2.2        2.4
               Max)

Ozone          8-Hour (max)     0.08 ppm         0.081    0.066    0.066    0.074    0.070   0.070   0.076   0.081   0.086
(ppm)          8-Hour (max)     0.075 ppm                                                                                    0.085   0.078   0.068   0.089   0.089      0.082
                                50 μg/m  3

               Annual Mean      (Revoked in      22.1     24.0     27.9     24.6     23.6    29.5    32.3    27.8    29.9    25.5    23.7    26.3    28.4    22.8       28.2
PM10                            2006)
(µg/m3)
               24-Hour (2nd
                                150 µg/m3        42       43       55       45       41      95      66      49      73      61      45      52      61      85         72
               Max)
               Annual Mean      0.053 ppm        0.020    0.015    0.025    0.020    0.022   0.022   0.020   0.019   0.021   0.017   0.014   0.016   0.018   0.019      0.017
NO2 (ppm)
               1-hour           0.100 ppm                                                                                                    0.063   0.075   0.075      0.088
                                0.140 ppm
               24-Hour (2nd
                                (Revoked in      0.011    0.009    0.012    0.010    0.009   0.009   0.008   0.006   0.005   0.006   0.005
               Max)
SO2 (ppm)                       2010)
               1-Hour (2nd
                                0.075 ppm                                                                                                    0.038   0.037   0.046      0.030
               Max)
  1         Note: Exceedances of the criteria pollutant standards are highlighted.




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 5.1.2       Transportation Conformity

 As discussed previously, regional and project-level conformity applies to transportation
 projects in air quality nonattainment and attainment/maintenance areas (Transportation
 Conformity Rule, 40 CFR 93). Project-level conformity is conducted for projects that are
 funded and/or approved by FHWA or FTA and/or considered regionally significant (40 CFR
 93.102). To pass regional conformity, the project must be included in a conforming RTP and
 TIP (40 CFR 93.115). Project level conformity also includes a hotspot analysis in carbon
 monoxide areas and for projects of air quality concern in particulate matter areas. A project
 cannot create new, increase the frequency of, or exacerbate the severity of air quality
 violations, or delay timely attainment of the NAAQS or required interim milestones (40 CFR
 93.116). See Sections 7.1 and 7.2 for the results that confirm this conclusion. Furthermore, the
 design and concept for the proposed project must be adequately defined and must remain
 consistent with the project’s definition in the conforming RTP and TIP (40 CFR 93.115). The
 recently adopted 2040 Fiscally Constrained RTP (DRCOG, 2015) and the 2016-2010 TIP
 (DRCOG, 2015) will be amended to include a description of the I-70 East project that will
 match the project description for the ROD.
 As outlined in the FHWA policy memo, 23 CFR 771.133 recognizes that if full compliance is
 not possible by the time the Final EIS is prepared, the Final EIS should reflect consultation
 with the appropriate agencies and provide reasonable assurance that the requirements will be
 met. The project description for Phase I has been submitted to DRCOG for 2040 Fiscally
 Constrained RTP 2015 Cycle 2 Amendment Application. The approval schedule is in place to
 have the amendment adoption process complete at approximately the same time as the
 release of the Final EIS. The DRCOG Board voted on the 2040 Fiscally Constrained RTP 2015
 Cycle 2 Amendment Application in October 2015 and will complete regional air quality
 modeling in time for a public hearing in January 2016, and a final Board vote in February
 2016.A final conformity determination will be made prior to the release of the ROD in
 compliance with 40 CFR 93, which refers to NEPA process completion as the point at which
 FHWA issues a ROD.

 5.1.3       Existing (2010) Criteria Pollutant Emissions

 Emission inventories were developed in accordance with the procedures and assumptions
 presented in Chapter 4, Methodology, for the six NAAQS criteria pollutants. Emission
 inventories were calculated as estimates of the total daily pollutant emissions expected to be
 generated as a result of the implementation of each Build Alternative. The year 2010 is used
 to represent existing levels of emissions, as this year is consistent with the base year of the
 DRCOG regional travel demand model and the conformity determination for the regional
 transportation plan and improvement program. Existing emissions of criteria pollutants in
 the I-70 air quality study area are shown in Table 12.




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 Table 12. Existing (2010) criteria pollutant emissions (tons per day)

             Pollutant                              January                                    July
  CO                                                  53.10                                   55.58
  NOx                                                 15.38                                   14.64
  SO2*                                                0.09                                     0.07
  VOC                                                 3.34                                     3.38
  PM10                                                0.91                                     0.66
  PM2.5                                               0.74                                     0.51
 Note: CO and VOC emissions are higher in the summer because there are more cold starts in summer, and thus more
 cars traveling the (project area) highways while their catalytic converters are still warming up.
 *Sulfur dioxide was analyzed because it is a pollutant of general air quality concern and contributes to the overall
 conditions of the study area. Sulfur dioxide is not considered a transportation-related criteria pollutant.


 5.2      Existing Conditions—Mobile Source Air Toxics

 Controlling air toxic emissions became a national priority when Congress passed the Clean
 Air Act Amendments of 1990. The amendments mandated that the EPA regulate HAPs. EPA
 assessed HAPs in their latest rule on the Control of Hazardous Air Pollutants from Mobile
 Sources (Federal Register, Vol. 72, No. 37, page 8430, February 26, 2007). In addition, EPA
 identified seven compounds with significant contributions from mobile sources that are among
 the national and regional-scale cancer risk drivers. These are acrolein, benzene, 1,3 butadiene,
 diesel particulate matter plus diesel exhaust organic gases, formaldehyde, naphthalene, and
 polycyclic organic matter.
 FHWA released its revised interim guidance on when and how to analyze MSATs in the
 NEPA process for highways (Marchese, 2012). The guidance describes a tiered approach for
 MSAT analysis in NEPA projects: (1) no analysis necessary for projects with no potential
 MSAT effects; (2) a qualitative analysis for projects with low potential MSAT effects; and (3) a
 quantitative analysis to differentiate alternatives with higher potential MSAT emissions
 effects. One of the criteria requiring a quantitative analysis is a project with design year
 traffic volumes in the range of 140,000 to 150,000 vehicles per day or greater, which the I-70
 East project exceeds by a wide margin in the 2035 design year. The quantitative approach is
 presented in Chapter 4, Methodology. It includes an emissions burden analysis that forecasts
 emissions trends over time to use as the basis for comparing the effects of the alternatives.

 5.2.1        Incomplete or Unavailable MSAT Information

 Although FHWA guidance recommends a quantitative analysis of MSATs, there are no
 national standards in place to regulate them. Knowledge of MSAT implications is progressing
 and research continues. FHWA has issued standard language that addresses incomplete or
 unavailable information related to MSATs. That language is repeated here for reference:

 5.2.1.1          Incomplete or Unavailable Information for Project-
                  Specific MSAT Health Impacts Analysis

          In FHWA's view, information is incomplete or unavailable to credibly predict the project-specific
          health impacts due to changes in MSAT emissions associated with a proposed set of highway


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        alternatives. The outcome of such an assessment, adverse or not, would be influenced more by
        the uncertainty introduced into the process through assumption and speculation rather than any
        genuine insight into the actual health impacts directly attributable to MSAT exposure associated
        with a proposed action.

        The U.S. Environmental Protection Agency (EPA) is responsible for protecting the public health
        and welfare from any known or anticipated effect of an air pollutant. They are the lead authority
        for administering the Clean Air Act and its amendments and have specific statutory obligations
        with respect to hazardous air pollutants and MSAT. The EPA is in the continual process of
        assessing human health effects, exposures, and risks posed by air pollutants. They maintain the
        Integrated Risk Information System (IRIS), which is "a compilation of electronic reports on
        specific substances found in the environment and their potential to cause human health effects"
        (EPA, http://www.epa.gov/iris/). Each report contains assessments of non-cancerous and
        cancerous effects for individual compounds and quantitative estimates of risk levels from lifetime
        oral and inhalation exposures with uncertainty spanning perhaps an order of magnitude.

        Other organizations are also active in the research and analyses of the human health effects of
        MSAT, including the Health Effects Institute (HEI). Two HEI studies are summarized in Appendix D
        of FHWA's Interim Guidance Update on Mobile source Air Toxic Analysis in NEPA Documents.
        Among the adverse health effects linked to MSAT compounds at high exposures are; cancer in
        humans in occupational settings; cancer in animals; and irritation to the respiratory tract,
        including the exacerbation of asthma. Less obvious is the adverse human health effects of MSAT
        compounds at current environmental concentrations (HEI, http://pubs.healtheffects.org/view.
        php?id=282) or in the future as vehicle emissions substantially decrease (HEI, http://pubs.
        healtheffects.org/view.php?id=306).

        The methodologies for forecasting health impacts include emissions modeling; dispersion
        modeling; exposure modeling; and then final determination of health impacts - each step in the
        process building on the model predictions obtained in the previous step. All are encumbered by
        technical shortcomings or uncertain science that prevents a more complete differentiation of the
        MSAT health impacts among a set of project alternatives. These difficulties are magnified for
        lifetime (i.e., 70 year) assessments, particularly because unsupportable assumptions would have
        to be made regarding changes in travel patterns and vehicle technology (which affects emissions
        rates) over that time frame, since such information is unavailable.

        It is particularly difficult to reliably forecast 70-year lifetime MSAT concentrations and exposure
        near roadways; to determine the portion of time that people are actually exposed at a specific
        location; and to establish the extent attributable to a proposed action, especially given that some
        of the information needed is unavailable.

        There are considerable uncertainties associated with the existing estimates of toxicity of the
        various MSAT, because of factors such as low-dose extrapolation and translation of occupational
        exposure data to the general population, a concern expressed by HEI
        (http://pubs.healtheffects.org/view. php?id=282). As a result, there is no national consensus on
        air dose-response values assumed to protect the public health and welfare for MSAT compounds,
        and in particular for diesel PM. The EPA (http://www.epa.gov/risk/basic information.htm#g ) and
        the HEI (http://pubs.healtheffects.org/ getfile.php?u=395) have not established a basis for
        quantitative risk assessment of diesel PM in ambient settings.

        There is also the lack of a national consensus on an acceptable level of risk. The current context is
        the process used by the EPA as provided by the Clean Air Act to determine whether more
        stringent controls are required in order to provide an ample margin of safety to protect public
        health or to prevent an adverse environmental effect for industrial sources subject to the
        maximum achievable control technology standards, such as benzene emissions from refineries.
        The decision framework is a two-step process. The first step requires EPA to determine an
        "acceptable" level of risk due to emissions from a source, which is generally no greater than
        approximately 100 in a million. Additional factors are considered in the second step, the goal of
        which is to maximize the number of people with risks less than 1 in a million due to emissions


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         from a source. The results of this statutory two-step process do not guarantee that cancer risks
         from exposure to air toxics are less than 1 in a million; in some cases, the residual risk
         determination could result in maximum individual cancer risks that are as high as approximately
         100 in a million. In a June 2008 decision, the U.S. Court of Appeals for the District of Columbia
         Circuit upheld EPA's approach to addressing risk in its two step decision framework. Information
         is incomplete or unavailable to establish that even the largest of highway projects would result in
         levels of risk greater than deemed acceptable.

         Because of the limitations in the methodologies for forecasting health impacts described, any
         predicted difference in health impacts between alternatives is likely to be much smaller than the
         uncertainties associated with predicting the impacts. Consequently, the results of such
         assessments would not be useful to decision makers, who would need to weigh this information
         against project benefits, such as reducing traffic congestion, accident rates, and fatalities plus
         improved access for emergency response, that are better suited for quantitative analysis.

 5.2.2         Existing (2010) MSAT Emissions

 Emission inventories were modeled in accordance with the procedures and assumptions
 presented in Chapter 4, Methodology. The year 2010 is used to represent existing levels of
 emissions as this year is consistent with the base year of the DRCOG regional travel demand
 model and the conformity determination for the regional transportation plan and
 improvement program. Estimated MSAT emissions in the I-70 air quality study area are
 shown in Table 13.

 Table 13. Existing (2010) MSAT emissions (tons per day)

                  Pollutant                           January                            July
    Benzene                                            0.066                             0.093
    Formaldehyde                                       0.050                             0.053
    1,3 Butadiene                                      0.009                             0.011
    Acrolein                                           0.003                             0.004
    Naphthalene                                        0.007                             0.007
    Polycyclic organic matter                          0.003                             0.003
    Diesel particulate matter                          0.374                             0.377


 5.2.2.1          National MSAT trends

 According to an FHWA analysis using EPA's MOVES2010b model, as shown in Figure 14,
 even if vehicle-miles traveled (VMT) increase by 102 percent as assumed from 2010 to 2050, a
 combined reduction of 83 percent in the total annual emissions for the priority MSATs is
 projected for the same time period (Marchese, 2012).




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 Figure 14.         U.S. annual vehicle miles traveled vs. mobile source air toxics emissions, 2010 to
                    2050, using EPA’s MOVES2010b model

                               11'1111111r II ri II II III 1;11111111111111
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                    0.0015 -


                    0.0010


                    0.0005


                    0.0000
                          2010 2015 2020 2025 2030 2035 2040 2045 2050
                                                        Year

                         VMT                                                       Naphthalene
                         Diesel PM                 Formaldehyde                    Acrolein
                         Benzene                   Butadiene                       Polycyclics

  Source:
      http://www.fhwa.dot.gov/environment/air_quality/air_toxics/policy_and_guidance/aqintguidmem.cfm
      (Marchese, 2012)
  Note: Trends for specific locations may be different, depending on locally derived information representing vehicle-
   miles travelled, vehicle speeds, vehicle mix, fuels, emission control programs, meteorology, and other factors.




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 5.2.3        MSAT Research

         Human epidemiology and animal toxicology experiments indicate that many chemicals or
         mixtures termed air toxics have the potential to impact human health. As toxicology,
         epidemiology and air contaminant measurement techniques have improved over the decades,
         scientists and regulators have increased their focus on the levels of each chemical or material in
         the air in an effort to link potential exposures with potential health effects. The EPA's list of 21
         mobile source toxics represents their prioritization of these chemicals or materials for further
         study and evaluation. The EPA's strategy for evaluating air toxic compounds effects is focused on
         both national trends and local impacts. The FHWA has embarked on an air toxics research
         program with the intent of understanding the mobile source contribution and its impact on local
         and national air quality. Several of studies either initiated or supported by FHWA are described
         below2.

         Air toxics emissions from mobile sources have the potential to impact human health and often
         represent a regulatory agency concern. The FHWA has responded to this concern by developing
         an integrated research program to answer the most important transportation community
         questions related to air toxics, human health, and the NEPA process. To this end, FHWA has
         performed, funded or is currently managing several research projects. Many of these projects are
         based on an Air Toxics Research Workplan that provides a roadmap for agency research efforts2.
         These efforts include3:

 5.2.3.1          The National Near Roadway MSAT Study

         The FHWA, in conjunction with the EPA and a consortium of State departments of transportation,
         studied the concentration and physical behavior of MSAT and mobile source PM 2.5 in Las Vegas,
         Nevada and Detroit, Michigan. The study criteria dictated that the study site be open to traffic and
         have 150,000 Annual Average Daily Traffic or more. These studies were intended to provide
         knowledge about the dispersion of MSAT emissions with the ultimate goal of enabling more
         informed transportation and environmental decisions at the project-level. These studies are
         unique in that the monitored data was collected for the entire year. The Las Vegas, NV report
         revealed there are a large number of influences in this urban setting and researchers must look
         beyond the roadway to find all the sources in the near road environment. Additionally, in Las
         Vegas, meteorology played a large role in the concentrations measured in the near road study
         area. More information is available at http://www.fhwa.dot.gov/environment/air_quality
         /air_toxics/research_and_analysis/mobile_source_ air_toxics/.

 5.2.3.2          Traffic-Related Air Pollution

 5.2.3.2.1        Going One Step Beyond: A Neighborhood Scale Air Toxics Assessment in
                  North Denver (The Good Neighbor Project)

         In 2007, the Denver Department of Environmental Health (DDEH) issued a technical report
         entitled Going One Step Beyond: A Neighborhood Scale Air Toxics Assessment in North Denver
         (The Good Neighbor Project). This research project was funded by FHWA. In this study, DDEH
         conducted a neighborhood-scale air toxics assessment in North Denver, which includes a portion
         of the proposed I-70 East project area. Residents in this area have been very concerned about
         both existing health effects in their neighborhoods (from industrial activities, hazardous waste
         sites, and traffic) and potential health impacts from changes to I-70.




 2
   The information provided here is an update to research work discussed in the 2009 release of this interim guidance.
 The current title of each research activity is followed by the title used to describe the activity previously.
 3
   Available at http://www.fhwa.dot.gov/environment/airtoxic/workplan/index.htm



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        The study was designed to compare modeled levels of the six priority MSATs identified in FHWA's
        2006 guidance with measurements at existing MSAT monitoring sites in the study area.
        MOBILE6.2 emissions factors and the ISC3ST dispersion model were used (some limited testing of
        the CALPUFF model was also performed). Key findings include: 1) modeled mean annual
        concentrations from highways were well below estimated Integrated Risk Information System
        (IRIS) cancer (1/100,000) and non-cancer risk values for all six MSAT; 2) modeled concentrations
        dropped off sharply within 50 meters of roadways; 3) modeled MSAT concentrations tended to be
        higher along highways near the Denver Central Business District (CBD) than along the I-70 East
        corridor (in some cases, they were higher within the CBD itself, as were the monitored values);
        and 4) dispersion model results were generally lower than monitored concentrations but within a
        factor of two at all locations.

 5.2.3.2.2       Mobile Source Air Toxic Hotspot

        Given concerns about the possibility of MSAT exposure in the near road environment, The Health
        Effects Institute (HEI) dedicated a number of research efforts at trying to find a MSAT “hotspot.”
        In 2011 three studies were published that tested this hypothesis. In general the authors confirm
        that while highways are a source of air toxics, they were unable to find that highways were the
        only source of these pollutants and determined that near road exposures were often no different
        or no higher than background or ambient levels of exposure, and hence no true hotspots were
        identified. These links provide additional information where monitored on-road emissions were
        higher than emission levels monitored near road residences, but the issue of hotspot was not
        ultimately discussed.

        http://pubs.healtheffects.org/getfile.php?u=659 page 137,
        http://pubs.healtheffects.org/getfile.php?u=656 page 143, and
        http://pubs.healtheffects.org/getfile.php?u=617 page 87,

 5.2.3.2.3       Traffic-Related Air Pollution: A Critical Review of the Literature on
                 Emissions, Exposure, and Health Effects

        In January 2010, HEI released Special Report #17, investigating the health effects of traffic
        related air pollution. The goal of the research was to synthesize available information on the
        effects of traffic on health. Researchers looked at linkages between: (1) traffic emissions (at the
        tailpipe) with ambient air pollution in general, (2) concentrations of ambient pollutants with
        human exposure to pollutants from traffic, (3) exposure to pollutants from traffic with human-
        health effects and toxicologic data, and (4) toxicologic data with epidemiological associations.
        Challenges in making exposure assessments, such as quality and quantity of emissions data and
        models, were investigated, as was the appropriateness of the use of proximity as an exposure-
        assessment model. Overall, researchers felt that there was “sufficient” evidence for causality for
        the exacerbation of asthma. Evidence was “suggestive but not sufficient” for other health
        outcomes such as cardiovascular mortality and others. Study authors also note that past
        epidemiologic studies may not provide an appropriate assessment of future health associations as
        vehicle emissions are decreasing overtime. The report is available from HEI's website at
        http://www.healtheffects.org/. The FHWA provides financial support to HEI's research work.

 5.2.3.2.4       HEI Special Report #16

        In November 2007, the HEI published Special Report #16: Mobile-Source Air Toxics: A Critical
        Review of the Literature on Exposure and Health Effects. The purpose of this Report was to
        accomplish the following tasks:

            Use information from the peer-reviewed literature to summarize the health effects of
             exposure to the 21 MSATs defined by the EPA in 2001;
            Critically analyze the literature for a subset of priority MSAT; and



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            Identify and summarize key gaps in existing research and unresolved questions about the
             priority MSAT.
        The HEI chose to review literature for acetaldehyde, acrolein, benzene, 1,3 butadiene,
        formaldehyde, naphthalene, and polycyclic organic matter (POM). Diesel exhaust was included,
        but not reviewed in this study since it had been reviewed by HEI and EPA recently. In general, the
        Report concluded that the cancer health effects due to mobile sources are difficult to discern since
        the majority of quantitative assessments are derived from occupational cohorts with high
        concentration exposures and some cancer potency estimates are derived from animal models.
        The Report suggested that substantial improvements in analytical sensitively and specificity of
        biomarkers would provide better linkages between exposure and health effects. Noncancer
        endpoints were not a central focus of most research, and therefore require further investigation.
        Subpopulation susceptibility also requires additional evaluation. The study is available from HEI's
        website at http://www.healtheffects.org/.

 5.2.3.2.5       Kansas City PM Characterization Study (Kansas City Study)

        This study was initiated by EPA to conduct exhaust emissions testing on 480 light-duty, gasoline
        vehicles in the Kansas City Metropolitan Area (KCMA). Major goals of the study included
        characterizing PM emissions distributions of a sample of gasoline vehicles in Kansas City;
        characterizing gaseous and PM toxics exhaust emissions; and characterizing the fraction of high
        emitters in the fleet. In the process, sampling methodologies were evaluated. Overall, results
        from the study were used to populate databases for the MOVES emissions model. The FHWA was
        one of the research sponsors. This study is available on EPA's website at:
        http://www.epa.gov/otaq/emission-factors-research/420r08009.pdf

 5.2.3.2.6       Transportation Contribution to Particulate Matter Pollution (Air Toxics
                 Supersite Study)

        The purpose of this study was to improve understanding of the role of highway transportation
        sources in particulate matter (PM) pollution. In particular, it was important to examine
        uncertainties, such as the effects of the spatial and temporal distribution of travel patterns,
        consequences of vehicle fleet mix and fuel type, the contribution of vehicle speed and operating
        characteristics, and influences of geography and weather. The fundamental methodology of the
        study was to combine EPA research-grade air quality monitoring data in a representative sample
        of metropolitan areas with traffic data collected by State departments of transportation (DOTs)
        and local governments.

        Phase I of the study, the planning and data evaluation stage, assessed the characteristics of EPA's
        ambient PM monitoring initiatives and recruited State DOTs and local government to participate in
        the research. After evaluating and selecting potential metropolitan areas based on the quality of
        PM and traffic monitoring data, nine cities were selected to participate in Phase II. The goal of
        Phase II was to determine whether correlations could be observed between traffic on highway
        facilities and ambient PM concentrations. The Phase I report was published in September 2002.
        Phase II included the collection of traffic and air quality data and data analysis. Ultimately, six
        cities participated: New York City (Queens), Baltimore, Pittsburgh, Atlanta, Detroit and Los
        Angeles.

        In Phase II, air quality and traffic data were collected. The air quality data was obtained from EPA
        AIRS AQS system, Supersite personnel, and NARSTO data archive site. Traffic data included ITS
        (roadway surveillance), Coverage Counts (routine traffic monitoring) and Supplemental Counts
        (specifically for research project). Analyses resulted in the conclusion that only a weak correlation
        existed between PM2.5 concentrations and traffic activity for several of the sites. The existence of
        general trends indicates a relationship, which however is primarily unquantifiable. Limitations of
        the study include the assumption that traffic sources are close enough to ambient monitors to
        provide sufficiently strong source strength, that vehicle activity is an appropriate surrogate for



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        mobile emissions, and lack of knowledge of other factors such as non-traffic sources of PM and its
        precursors. A paper documenting the work of Phase II was presented at the 2004 Emissions
        Inventory Conference and is available at http://www.epa.gov/ttn/chief/conference/ei13/
        mobile/black.pdf.

 5.3    Existing Conditions—Greenhouse Gases

 Emission inventories for GHG were prepared as specified in Chapter 4, Methodology. The
 daily GHG emission inventories were estimated by APCD to be 4,064 and 4,318 tons per
 weekday in January and July 2010, respectively. There are no specific requirements for
 conducting a GHG analysis for a NEPA project. However, the Air Quality Protocol developed
 through the Interagency Consultation process calls for the reporting of global, national,
 statewide, and regional emissions of GHGs to provide context for the study area emissions
 calculated for the I-70 alternatives.
 Climate change is an important national and global concern. While the Earth has gone
 through many natural changes in climate in its history, there is general agreement that the
 Earth’s climate is currently changing at an accelerated rate and will continue to do so for the
 foreseeable future. Anthropogenic (human-caused) greenhouse gas emissions contribute to
 this rapid change. Carbon dioxide makes up the largest component of these GHG emissions.
 Other prominent transportation GHGs include methane and nitrous oxide.
 Many GHGs occur naturally. Water vapor is the most abundant GHG and makes up
 approximately two thirds of the natural greenhouse effect. However, the burning of fossil fuels
 and other human activities are adding to the concentration of GHGs in the atmosphere. Many
 GHGs remain in the atmosphere for time periods ranging from decades to centuries. GHGs
 trap heat in the Earth’s atmosphere. Because atmospheric concentration of GHGs continues to
 climb, our planet will continue to experience climate-related phenomena. For example,
 warmer global temperatures can cause changes in precipitation and sea levels.
 To date, no national standards have been established regarding GHGs, nor has EPA
 established criteria or thresholds for ambient GHG emissions pursuant to its authority to
 establish motor vehicle emission standards for carbon dioxide under the Clean Air Act.
 However, there is a considerable body of scientific literature addressing the sources of GHG
 emissions and their adverse effects on climate, including reports from the Intergovernmental
 Panel on Climate Change, the U.S. National Academy of Sciences, and EPA and other federal
 agencies.
 GHGs are different from other air pollutants evaluated in federal environmental reviews
 because their impacts are not localized or regional due to their rapid dispersion into the global
 atmosphere, which is characteristic of these gases. The affected environment for carbon
 dioxide and other GHG emissions is the entire planet. In addition, from a quantitative
 perspective, global climate change is the cumulative result of numerous and varied emissions
 sources (in terms of both absolute numbers and types), each of which makes a relatively small
 addition to global atmospheric GHG concentrations. In contrast to broad scale actions such as
 actions involving an entire industry sector or very large geographic areas, it is difficult to
 isolate and understand the GHG emissions impacts for a particular transportation project.
 Furthermore, presently there is no scientific methodology for attributing specific
 climatological changes to a particular transportation project’s emissions.


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 Under NEPA, detailed environmental analysis should be focused on issues that are significant
 and meaningful to decision-making. FHWA has concluded, based on the nature of GHG
 emissions and the exceedingly small potential GHG impacts of the proposed action, as
 discussed below and shown in Table 14, that the GHG emissions from the proposed action will
 not result in “reasonably foreseeable significant adverse impacts on the human environment”
 (40 CFR 1502.22(b)). The GHG emissions from the project Build Alternatives will be
 insignificant, and will not play a meaningful role in a determination of the environmentally
 preferable alternative or the selection of the preferred alternative. More detailed information
 on GHG emissions “is not essential to a reasoned choice among reasonable alternatives” (40
 CFR 1502.22(a)) or to making a decision in the best overall public interest based on a balanced
 consideration of transportation, economic, social, and environmental needs and impacts ( 23
 CFR 771.105(b)). For these reasons, a limited alternatives-level GHG analysis has been
 performed for this project based on emission inventories for each alternative for each five-year
 increment between 2010 and 2035. This allows for a basic comparison of potential GHG
 emissions among alternatives.
 The context in which the emissions from the proposed project will occur, together with the
 expected GHG emissions contribution from the project, illustrate why the project’s GHG
 emissions will not be significant and will not be a substantial factor in the decision-making.
 The transportation sector is the second largest source of total GHG emissions in the U.S.,
 behind electricity generation. The transportation sector was responsible for approximately 27
 percent of all anthropogenic GHG emissions in the U.S. in 2010.4 The majority of
 transportation GHG emissions are the result of fossil fuel combustion. Carbon dioxide2 makes
 up the largest component of these GHG emissions. U.S. carbon dioxide emissions from the
 consumption of energy accounted for about 18 percent of worldwide energy consumption
 carbon dioxide emissions in 2010.5. U.S. transportation carbon dioxide emissions accounted for
 about 6 percent of worldwide carbon dioxide emissions.6
 While the contribution of GHGs from transportation in the U.S. as a whole is a large
 component of U.S. GHG emissions, as the scale of analysis is reduced the GHG contributions
 become quite small. Using carbon dioxide because of its predominant role in GHG emissions,
 Table 14, below, presents the relationship between current and projected Colorado highway
 carbon dioxide emissions and total global carbon dioxide emissions, as well as information on
 the scale of the project relative to statewide travel activity.
 Based on emissions estimates from EPA’s MOVES model7, and global carbon dioxide
 estimates and projections from the Energy Information Administration, carbon dioxide


   4 Calculated from data in U.S. Environmental Protection Agency, Inventory of Greenhouse Gas Emissions and Sinks,

    1990-2010.
   5 Calculated from data in U.S. Energy Information Administration International Energy Statistics, Total Carbon

    Dioxide Emissions from the Consumption of Energy,
    http://www.eia.gov/cfapps/ipdbproject/IEDIndex3.cfm?tid=90&pid=44&aid=8, accessed 2/25/13.
   6 Calculated from data in EIA figure 104: http://www.eia.gov/forecasts/archive/ieo10/emissions.html and EPA table

    ES-3: http://epa.gov/climatechange/emissions/downloads11/US-GHG-Inventory-2011-Executive-Summary.pdf
   7 http://www.epa.gov/otaq/models/moves/index.htm. EPA’s MOVES model can be used to estimate vehicle exhaust

    emissions of carbon dioxide (CO2) and other GHGs. CO2 is frequently used as an indicator of overall transportation
    GHG emissions because the quantity of these emissions is much larger than that of all other transportation GHGs
    combined, and because CO2 accounts for 90-95% of the overall climate impact from transportation sources.



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 emissions from motor vehicles in the entire state of Colorado contributed less than one tenth
 of one percent of global emissions in 2010 (0.0813 percent). These emissions are projected to
 contribute an even smaller fraction (0.0612 percent) in 20408. VMT in the project study area
 represents 5.6 percent of total Colorado travel activity; and the project itself would increase
 statewide VMT by an estimated 0.0 percent. (Note that the project study area, as defined for
 the MSAT analysis, includes travel on many other roadways in addition to the proposed
 project.) As a result, based on the Build Alternative with the highest VMT, FHWA estimates
 that the proposed project could result in a potential increase in global carbon dioxide
 emissions in 2040 of 0.0000002 percent (less than one one hundred-thousandth of one
 percent). This very small change in global emissions is well within the range of uncertainty
 associated with future emissions estimates.9, 10

 Table 14. Statewide and Project Emissions Potential, Relative to Global Totals

                                                                                                           Percent
                                           Colorado          Colorado motor         Project study
                        Global CO2                                                                        change in
                                         motor vehicle           vehicle           area VMT, % of
                        emissions,                                                                        statewide
                                         CO2 emissions,      emissions, % of          statewide
                          MMT11                                                                          VMT due to
                                            MMT12              global total             VMT13
                                                                                                            project
  Current
  Conditions           29,670            24.1                0.0813%               5.6%                (None)
  (2010)




      MOVES includes estimates of both emissions rates and VMT, and these were used to estimate the Colorado
      statewide highway emissions in Table 5-3.
   8 Colorado emissions represent a smaller share of global emissions in 2040 because global emissions increase at a

      faster rate.
   9 For example, Figure 114 of the Energy Information Administration’s International Energy Outlook 2010 shows that

      future emissions projections can vary by almost 20%, depending on which scenario for future economic growth
      proves to be most accurate.
   10When an agency is evaluating reasonably foreseeable significant adverse effects on the human environment in an

      environmental impact statement and there is incomplete or unavailable information, the agency is required make
      clear that such information is lacking (40 CFR 1502.22). The methodologies for forecasting GHG emissions from
      transportation projects continue to evolve and the data provided should be considered in light of the constraints
      affecting the currently available methodologies. As previously stated, tools such as EPA’s MOVES model can be
      used to estimate vehicle exhaust emissions of carbon dioxide (CO2) and other GHGs. However, only rudimentary
      information is available regarding the GHG emissions impacts of highway construction and maintenance.
      Estimation of GHG emissions from vehicle exhaust is subject to the same types of uncertainty affecting other
      types of air quality analysis, including imprecise information about current and future estimates of vehicle miles
      traveled, vehicle travel speeds, and the effectiveness of vehicle emissions control technology. Finally, there
      presently is no scientific methodology that can identify causal connections between individual source emissions
      and specific climate impacts at a particular location.
   11 These estimates are from the EIA’s International Energy Outlook 2010, and are considered the best-available

      projections of emissions from fossil fuel combustion. These totals do not include other sources of emissions, such
      as cement production, deforestation, or natural sources; however, reliable future projections for these emissions
      sources are not available.
   12 MOVES projections suggest that Colorado motor vehicle CO
                                                             2 emissions may increase by 15.5% between 2010 and
      2040; more stringent fuel economy/GHG emissions standards reflected in MOVES2010b will not be sufficient to
      offset projected growth in VMT.
   13 Statewide VMT in 2010 (46,940 million) provided by U.S. DOT, FHWA, Highway Statistics, April 26, 2012




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  Future
  Projection           45,500          27.9                0.0612%             5.6%                0.0000002%
  (2040)
 Table notes: MMT = million metric tons. Global emissions estimates are from International Energy Outlook 2010, data
 for Figure 104, projected to 2040. Colorado emissions estimates are from MOVES2010b.



 6       DESCRIPTION OF ALTERNATIVES

 Consistent with federal regulations, the Final EIS fully evaluates the No-Action, Revised
 Viaduct, and Partial Cover Lowered Alternatives for impacts to transportation. The
 alternatives and options are presented in Table 15 and shown in Figure 15.
 For more detail on the alternatives and their options, see Attachment C, Alternative Analysis
 Technical Report. Attachment A, Alternatives Maps, included as part of this document,
 contains figures showing the roadway configurations within the study area for each of the
 future alternatives.

 Table 15. Alternatives and Options

                   Alternative                           Expansion Options                Operational Options
                                                          North
  No-Action Alternative                                                               N/A
                                                          South
                                                          North                           General-Purpose Lanes
                                Revised Viaduct
                                                          South                           Managed Lanes
  Build Alternatives
                                Partial Cover                                              General-Purpose Lanes
                                                     N/A
                                Lowered                                                    Managed Lanes


 6.1     No-Action Alternative

 The No-Action Alternative replaces the existing viaduct between Brighton Boulevard and
 Colorado Boulevard without adding any capacity; the remainder of the corridor will reflect
 current conditions and include existing, planned, and programmed roadway and transit
 improvements (such as FasTracks) in the study area.

 6.2     Build Alternatives

 Build Alternatives add capacity to I-70 by constructing additional lane(s) or restriping
 between I-25 and Tower Road.
 Revised Viaduct Alternative. This alternative replaces the existing I-70 viaduct between
 Brighton Boulevard and Colorado Boulevard. It adds two lanes in each direction from
 Brighton Boulevard to Tower Road. It also adds capacity from I-25 to Brighton Boulevard.
 Partial Cover Lowered Alternative. The Partial Cover Lowered Alternative is shown in
 Figure 15. As a result of the comments received on the Supplemental Draft EIS and additional
 stakeholder outreach and agency coordination, the Partial Cover Lowered Alternative has
 been refined to include elements of both the Basic Option and the Modified Option of the


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 Partial Cover Lowered Alternative as they were analyzed in the Supplemental Draft EIS. This
 document includes updated analysis of the refined Partial Cover Lowered Alternative and
 does not include multiple Connectivity Options.
 The Partial Cover Lowered Alternative as it is presented in the Final EIS removes the
 existing I-70 viaduct between Brighton Boulevard and Colorado Boulevard, lowering the
 highway below-grade in this area. It adds additional lane(s) in each direction from Brighton
 Boulevard to Tower Road. It also adds capacity from I-25 to Brighton Boulevard by restriping.
 This alternative includes a cover over the highway in the vicinity of Clayton Street and
 Columbine Street. As part of this alternative, 46th Avenue will be located on the north and
 south sides of the highway. It will be a two-way street between York Street and Milwaukee
 Street on both sides of the highway and one way in the other locations. This alternative
 eliminates the portion of 46th Avenue north of I-70 between Columbine Street and Clayton
 Street to allow for a seamless connection between Swansea Elementary School and the
 highway cover. As part of this alternative, access to and from I-70 at the Steele
 Street/Vasquez Boulevard interchange is maintained.
 The Partial Cover Lowered Alternative with Managed Lanes Option is identified as the
 Preferred Alternative for this project. For more details on the Preferred Alternative, refer to
 Chapter 3, Summary of Project Alternatives, in the Final EIS.

 6.3    Alternative Options

 Expansion Options. Expansion Options, refer to moving the north edge of the highway
 north or the south edge of the highway south of the existing facility from Brighton Boulevard
 to Colorado Boulevard to accommodate the larger footprint resulting from standard width
 lanes, expanded shoulders, and construction phasing. These options apply to the No-Action
 Alternative and the Revised Viaduct Alternative. The Partial Cover Lowered Alternative does
 not include the Expansion Options because expansion of the highway can occur only on the
 north side due to engineering restrictions and the location of the UPRR rail yard to the south.
 Operational Options. The Operational Options of the Partial Cover Lowered Alternative—
 General-Purpose Lanes and Managed Lanes—remain the same as those analyzed in the
 Supplemental Draft EIS. They include two scenarios about how the additional capacity with
 the Build Alternatives will be managed and operated. The General-Purpose Lanes Option will
 allow all vehicles to use all the lanes on the highway with no restrictions, while the Managed
 Lanes Option implements operational strategies (such as pricing) for only the additional lanes
 while keeping the rest as general-purpose lanes. With the Managed Lanes Option, the
 additional lanes are separated from the general-purpose lanes with a striped buffer and direct
 connections from the managed lanes to I-225, I-270, and Peña Boulevard are provided.
 Operational Options apply to the Revised Viaduct Alternative and the Partial Cover Lowered
 Alternative.




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                                                                                                                      Options
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 6.4     Phasing of the Preferred Alternative

 Revenue sources for the I-70 East project include allocations from various state and local
 sources, but there remains a gap between the estimated cost of the project and the revenue
 available to build it. Because of these funding limitations, the project will be constructed in
 phases over time. Phase 1 is the only defined phase for the project at this time. Future phases
 have not been determined and will rely on future funding; therefore, any future phases are
 referred to as Phase 2.

 6.4.1      Phase 1

 Phase 1 incorporates portions of the identified Preferred Alternative, the Partial Cover
 Lowered Alternative with Managed Lanes Option. It includes all construction and mitigation
 commitments included in the Preferred Alternative from Brighton Boulevard to Chambers
 Road.
 In general, Phase 1 includes the complete reconstruction of I-70 from Brighton Boulevard to
 I-270 with pavement width for the addition of two lanes in each direction. Only one lane will
 be open for use until traffic demand is met to open the second lane. It also includes widening
 the remaining stretch from I-270 to Chambers Road to accommodate one additional lane in
 each direction and restriping from I-25 to Brighton Boulevard.
 Phase 1 includes the construction of the highway cover between the Clayton Street and
 Columbine Street bridges and the associated urban landscape area on the cover. It will
 reconstruct the frontage roads, 46th Avenue North and South between Brighton Boulevard
 and Colorado Boulevard and Stapleton Drive North and South between Colorado Boulevard
 and Quebec Street. Phase 1 also includes the drainage requirements from the Preferred
 Alternative.

 6.4.2      Phase 2

 Phase 2 incorporates the remaining improvements needed for the Preferred Alternative. This
 phase would stripe in an additional tolled express lane from Brighton Boulevard to Quebec
 Street—Phase 1 constructed this section of I-70 wide enough to accommodate the additional
 lane.
 From Quebec Street to Chambers Road, I-70 would be widened for an additional tolled express
 lane in each direction, one going eastbound and one going westbound. From Chambers Road
 to Tower Road, capacity is increased by widening to accommodate additional tolled express
 lanes. Three proposed direct connections are planned from the tolled express lanes to I-270,
 I-225, and Peña Boulevard to accommodate regional and airport traffic. These direct
 connections result in a shift of eastbound I-70 to create room for the connections.




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 7       EFFECTS ANALYSIS

 This chapter discusses the results of the air quality analysis and the effects of the alternatives
 on air quality. It is arranged in the following order of pollutant analyses:
        Carbon monoxide hotspot analysis
        PM10 hotspot analysis
        Criteria pollutant emission inventories
        MSAT emission inventories
        GHG emission inventories

 7.1     CO Hotspot Analysis

 7.1.1       Modeled Results/Carbon Monoxide Hotspot Design Values

 Table 16 and Table 17 show the modeled 8-hour carbon monoxide concentrations from
 CAL3QHC, the background carbon monoxide concentrations provided by APCD, and the
 resulting total carbon monoxide concentrations for the Partial Cover Lowered Alternative
 with Managed Lanes Option for the AM and PM peak periods. According to Section 4.7.3 of
 the 1992 Guideline, total carbon monoxide concentrations are calculated as the sum of the
 modeled intersection concentration and the background concentration attributable to other
 local emissions sources. Concentrations in the table are shown for the receptors with the
 highest levels inside the carbon monoxide hotspot study area.
 The Denver region originally received a nonattainment designation because of carbon
 monoxide levels in 1978, when it exceeded both the 1-hour and 8-hour NAAQS limits for
 carbon monoxide. The trends through the 1980s and mid-1990s, however, primarily exceeded
 only the 8-hour standard. The last time Denver exceeded the 1-hour standard occurred prior
 to 1990, according to the Carbon Monoxide Maintenance Plan for the Denver Metropolitan
 Area (Colorado Air Quality Control Commission, 2005). Because of this, the 8-hour standard is
 used as the basis for the carbon monoxide hotspot analysis.
 As the numbers in Table 16 indicate, the 8-hour design values resulting from the carbon
 monoxide hotspot analysis are both well below the 8-hour NAAQS limit of 9.0 ppm. Since the
 carbon monoxide hotspot analysis is a worst-case study, it is reasonable to conclude that the
 carbon monoxide emissions at any intersection affected by the project also would be well below
 the NAAQS limit.
 It is noteworthy to repeat that the carbon monoxide hotspot analysis used a worst-case
 scenario in which the 2035 VMT activity was multiplied by MOVES emissions factors that
 represent the year 2010. With regard to Section 116 of the Transportation Conformity Rule,
 based on the carbon monoxide hotspot analysis and resulting total carbon monoxide
 concentrations, the project will not cause new local violations of the NAAQS limits for carbon
 monoxide, nor will it increase the severity or number of existing violations.




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 Table 16.        Results of the carbon monoxide hotspot analysis, 8-hour carbon monoxide
                  concentrations (I-70 at Colorado Boulevard)

                                                 CO Concentration (ppm)
         Period            Modeled Result from
                                                        Background                              Total CO
                                CAL3QHC
             AM                    2.5                       4.5                                     7.1
             PM                    2.5                       4.5                                     7.0



 7.1.2        Maximum Receptor Locations

 The receptors with the maximum carbon monoxide
 concentrations are shown by AM and PM traffic
 period (see Figure 16). The maximum receptor in the
                                                                                   •
 AM period is located in the northwestern quadrant
                                                                                 AM



 of the intersection, the maximum receptor is located                       II
                                                                                   •
 in the southeastern quadrant. These results are
                                                                                           •• •
                                                                            0 •
 consistent with general traffic flow during those
 hours.                                                                               •
 7.1.3        Sensitive Receptors
                                                             • Carbon Monoxide receptors • Maximum receptor locations
 Sensitive receptors include locations in the vicinity
 of a roadway that are likely to contain large numbers of populations who are most susceptible
 to the adverse effects of exposure to pollutants, such as hospitals, schools, child care facilities,
 and elder care facilities (EPA, 2013). Residential communities that are located in proximity to
 high-traffic freeways and roads also can be considered sensitive populations (California EPA,
 2005).
 The carbon monoxide hotspot analysis models the location at which carbon monoxide emission
 concentrations are expected to be greatest due primarily to the prevalence of idling vehicles at
 the interchange or intersection. For the carbon monoxide hotspot analysis, this location was
 determined to be I-70/Colorado Boulevard. As the results above demonstrate, the carbon
 monoxide emissions concentrations for all of the No-Action and Build Alternatives are below
 the NAAQS limits.
 There are no sensitive receptors within the I-70/Colorado Boulevard hotspot study area, which
 represents the highest concentration of carbon monoxide in the study area. The hotspot study
 area consists of industrial and commercial facilities within the Elyria and Swansea
 Neighborhood.
 Swansea Elementary School is the most notable concern for pollutant exposure because of its
 youth population, proximity to the highway, and frequency of outdoor activities. This school is
 located at Elizabeth Street between York Street and Steele Street/Vasquez Boulevard, just
 north of I-70 outside of the carbon monoxide hotspot study area. Since the carbon monoxide
 emission concentrations for all alternatives are below the NAAQS limit at all modeled




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 receptor locations, it is reasonable to conclude that the carbon monoxide emissions at Swansea
 Elementary School also are below the NAAQS limit.

 7.1.4       Carbon Monoxide Concentrations in the Covered Section

 It is assumed that an emergency ventilation system will be part of the construction for the
 Partial Cover Lowered Alternative, operating primarily for smoke control if a fire were to
 break out in the covered section. The ventilation system also would be used in other
 emergencies, including incidents, accidents, and weather that could cause potentially high
 pollutant concentrations within the covered section. The ventilation system would be designed
 to operate automatically based on smoke and emissions sensors in the covered section.
 An analysis was conducted to evaluate the need for a ventilation system based on the carbon
 monoxide levels that motorists and/or workers may be exposed to under conditions of slowed
 or stopped traffic. The air quality analysis is part of a larger study that considers fire-based
 ventilation needs for the covered section. The report, I-70 East Partial Cover Lowered
 Highway, Denver, Colorado—Covered and Depressed Sections Ventilated and Fire Life Safety
 Report (Atkins, February 2013), documents the process and assumptions used to evaluate the
 carbon monoxide conditions in the covered section. The report is included as Appendix E. The
 analysis assumed that all lanes of traffic are under stand-still conditions at full congested
 capacity. Pollution concentrations were estimated for the eastbound bore, since it represents
 the worst case because of the road gradient.
 FHWA guidance, Revised Guidelines for the Control of Carbon Monoxide Levels in Tunnels
 (FHWA-HEV-30, March 31, 1989), establishes maximum carbon monoxide levels in tunnels to
 protect the traveling public with an adequate margin of safety, as shown in Table 17.

 Table 17. Maximum carbon monoxide levels in tunnels

         Maximum CO Level                       Exposure Time                 Time-Based Exposure Limits
              (ppm)                               (minutes)                         (ppm-minutes)
                 120                                    15                                  1,800
                  65                                    30                                  1,950
                  45                                    45                                  2,025
                  35                                    60                                  2,100
 Source: Revised Guidelines for the Control of Carbon Monoxide Levels in Tunnels (FHWA-HEV-30, March 31, 1989)

 The maximum exposure limits and the exposure times in Table 17 were multiplied together to
 produce time-based exposure limits in units of ppm-minutes, which also are shown in the
 table. The 1,800 ppm-minute exposure limit is the most stringent, so it was applied in this
 analysis.
 A MOVES-based analysis was used to produce the results shown in Table 18 for three
 pollutants. As the results indicate, there would be a need for a ventilation system based on the
 nitrogen dioxide concentrations within 27 minutes of stand-still conditions in the covered
 section. Carbon monoxide concentrations would warrant a ventilation system within 40
 minutes of stopped traffic and nitrogen monoxide concentrations within 60 minutes.
 Therefore, the nitrogen dioxide concentrations represent the worst case from an air quality
 perspective. In both cases, the time to reach the exposure limit is relatively short and would


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 warrant the installation of a ventilation system regardless of fire safety needs. On the other
 hand, it would be a rare event to have full stand-still conditions for 40 minutes—or even for 27
 minutes—within the total length of covered highway called for in the Partial Cover Lowered
 Alternative.

 Table 18. Time to reach exposure limits

                                           Exposure Limit                          Time to Exposure Limit
          Pollutant
                                           (ppm-minutes)                                 (minutes)
  CO                                             1,800                                       40
  NO                                             2,251                                       60
  NO2                                             102                                        27
 1. Source: British Tunnelling Society guidance (Institute of Occupational Medicine, 2006)
 2. Source: Road Tunnels: Vehicle Emissions and Air Demand for Ventilation (PIARC, 2012)


 7.2     PM10 Hotspot Analysis

 7.2.1        PM10 Hotspot Design Values and Conclusions

 EPA’s guidance (EPA-420-B-13-053) for calculating design values was applied for the PM10
 hotspot analysis; and the design values estimated through the hotspot analysis were
 compared against the NAAQS for PM10. Compliance with the 24-hour PM10 NAAQS is based
 on the expected number of 24-hour exceedances of a particular level (currently 150 µg/m3),
 averaged over three consecutive years. Currently, the NAAQS is met when the expected
 number of exceedances is less than or equal to 1.0. The 24-hour PM10 design value is rounded
 to the nearest 10 µg/m3. For example, 155.000 rounds to 160, and 154.999 rounds to 150.
 These rounding conventions were followed when calculating design values for the hotspot
 analysis. The contributions from the project, nearby sources, and background concentrations
 from other sources are combined to estimate 2035 emission concentrations (i.e., design values)
 at receptor locations.

 7.2.1.1          Design values

 Based on current direction from EPA’s OTAQ, the design values for daily PM10 concentrations
 are calculated at each receptor by directly adding the sixth highest modeled 24-hour
 concentrations to the fourth highest 24-hour background concentration recorded over the past
 three years of monitoring data. Table 19 and Table 20 contain the hotspot analysis results for
 the I-70/I-225 and I-70/I-25 locations, respectively. The modeled project emissions
 concentrations include exhaust, brake wear, and tire wear emissions from on-road vehicles
 and re-entrained road dust kicked up into the air by passing vehicles.
 The fundamental differences among the alternatives occur in the viaduct section between
 Brighton Boulevard and Colorado Boulevard. The Pilot Travel Center is proposed to be closed
 as part of the Partial Cover Lowered Alternative and Revised Viaduct Alternative, North
 Option to accommodate the alternatives’ footprints. This is relevant to the I-70/I-25 hotspot
 analysis because of the contribution of concentrated diesel emissions generated by idling
 trucks at the truck stop, which is located in close proximity to the I-70/I-25 PM10 hotspot study


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 area. However, since the truck stop is several miles away from the I-70/I-225 interchange, it
 was not included in the hotspot analysis for that location.
 PM10 concentration levels for vary throughout the I-25 and I-225 PM10 hotspot areas
 depending on the alternative modeled. Figure 17 and Figure 18 show receptor locations and
 design values for the I-70/I-25 and I-70/I-225 PM10 hotspot areas for the No-Action Alternative
 and the Partial Cover Lowered Alternative. Particularly within the I-25 hotspot area,
 receptors closer to the highway show higher concentrations, and for the most part these are in
 the 110 µg/m3 to 130 µg/m3 range. At I-25 the Partial Cover Lowered Alternative has several
 receptors in the higher range (130 µg/m3 to 150 µg/m3) as compared with the No-Action
 Alternative. All of the receptors in the Partial Cover Lowered Alternative at I-225 are in a
 higher range than those of the No-Action Alternative at the same location. The clustered
 pattern of receptors surrounding 46th Avenue, north of the I-225 interchange in both figures,
 is consistent with a higher density of receptor placement required by EPA guidelines for areas
 adjacent to arterial roadways. Because of the density of receptors in this area the
 concentration estimates visually appear to be higher than in other areas, however these
 concentrations are still in the same range (89-110 µg/m3) as the rest of the modeled results.




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 Figure 17.
 Figure 17.     I-70/I-25and
                I-70/I-25 and I-70/I-225
                              I-70/I-225PM PM10
                                              10 hotspot
                                                 hotspot receptor locations and
                                                         receptor locations and maximum
                                                                                maximum
                concentrations for
                concentrations  for No-Action
                                    No-ActionAlternative
                                               Alternative(2035)
                                                           (2035)




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 Figure 18. I-70/I-25 and I-70/I-225 PM10 hotspot receptor locations and maximum
            concentrations for Partial Cover Lowered Alternative (2035)




         < 89.00 - 110.00 pg/m3         110.01 - 130.00 pg/m3          130.01 - 150.00 pg/m3   Approximate Scale

                                                                                                         2,600 feet
             Partial Cover Lowered Alternative, Managed Lanes Option roadway footprint




            110.01 - 130.00 pg/m3                                                                  Approximate Scale

                                                                                                   0            400 feet




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 Table 19. Forecasted PM10 concentrations for the I-70/I-225 hotspot analysis (µg/m3)

                          General-Purpose Lanes Option                          Managed Lanes Option

       Alternative                     Project +         Design                       Project +          Design
                       Modeled                                        Modeled
                                      Background1        Value                       Background1         Value

   No-Action
                           26              115              120          N/A              N/A              N/A
   Alternative
   Revised
   Viaduct                 35              124              120           41              130              130
   Alternative
   Partial Cover
   Lowered
                          N/A              N/A              N/A           41              130              130
   Alternative,
   Phase 1
   Partial Cover
   Lowered                 46              135              140           40              129              130
   Alternative
 1. A background concentration of 89 µg/m3 was used to estimate total 24-hour concentrations




 Table 20. Forecasted PM10 concentrations for the I-70/I-25 hotspot analysis (µg/m3)

                         General-Purpose Lanes Option                          Managed Lanes Option

      Alternative                     Project +         Design                      Project +           Design
                      Modeled                                        Modeled
                                     Background1        Value                      Background1          Value

  No-Action
                         62               151              150          N/A              N/A              N/A
  Alternative,
  Revised
  Viaduct                62               151              150          64               153              150
  Alternative,
  Partial Cover
  Lowered
                         N/A              N/A              N/A          61               150              150
  Alternative,
  Phase 1
  Partial Cover
  Lowered                63               152              150          57               146              150
  Alternative
 1. A background concentration of 89 µg/m3 was used to estimate total 24-hour concentrations


 Based on the numbers in Table 19 and Table 20, the results of the PM10 hotspot analysis
 demonstrate that all of the alternatives, including the Partial Cover Lowered Alternative with
 Managed Lanes Option, will be in compliance with the applicable 24-hour NAAQS standard
 for PM10. The design values for all alternatives at the I-25 hotspot and I-225 hotspot locations
 are equal to or below the 24-hour PM10 NAAQS of 150 µg/m3. The greatest difference between
 the No-Action Alternative and a Build Alternative occurs at the I-225 hotspot for the Revised
 Viaduct and Partial Covered Lowered Alternatives with Managed Lanes Option. These
 alternatives show increases of as much as 57 percent between modeled concentrations.


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 These design values vary from those modeled in the Supplemental Draft EIS. It is worth
 noting that the difference in results does not stem from any design changes made to the
 alternatives modeled, but instead reflects changes to the analysis methods required by the
 APCD and EPA for the Final EIS. These changes include using meteorological data from the
 former Stapleton International Airport rather than Denver International Airport, and
 modeling significantly more receptors in the hotspot analyses. In the case of the alternate
 meteorological data, the data from Stapleton show a significantly lower atmospheric mixing
 height than at Denver International Airport, which results in stronger inversions and thus
 less dispersion of pollutants from the highways. Additionally, differences in the prevailing
 wind direction at Stapleton as compared to Denver International resulted in receptors with
 the maximum PM10 concentrations being dispersed across the project area in a different
 pattern than in the Supplemental Draft EIS. Changes to the EPA guidance for receptor
 placement also resulted in significantly more receptors in close proximity to the highway. In
 many cases, these locations were not modeled in the Supplemental Draft EIS, as they are not
 accessible to the public or would only be frequented for a short duration. Under the revised
 EPA guidance, any location where public access is not precluded by the property owner (i.e.,
 anywhere not controlled by CDOT) must be included in the receptor network for the hotspot
 model. Thus, many of these near-highway receptors with high modeled PM10 concentrations
 may not actually be accessible to or frequented by members of the public. Finally, the revised
 guidance from the EPA regarding background concentrations resulted in lowered design
 values for all alternatives.
 It is noteworthy to restate that the design values presented in Table 19 and Table 20 simulate
 worst-case conditions because they represent the highest PM10 concentrations at the highest
 traffic volume locations in the corridor and in the year of peak emissions (2035). Therefore, it
 can be assumed that the PM10 concentrations would be lower than these values at every
 possible receptor location throughout the corridor, including all schools, parks, open spaces,
 and other places.

 7.2.1.2         Sensitive receptors

 Sensitive receptors include locations where populations are most susceptible to the adverse
 effects of exposure to pollutants related to transportation activities. Sensitive receptors
 include locations in the vicinity of a roadway that are most likely to contain large
 concentrations of sensitive populations, such as hospitals, schools, child care facilities, and
 elder care facilities (EPA, 2013). Residential communities that are located in proximity to
 high-traffic freeways and roads also can be considered sensitive populations (California EPA,
 2005).
 Sensitive receptors within the study area consist of schools, homes, and recreational facilities
 within the Elyria and Swansea Neighborhood. Swansea Elementary School is the most
 notable concern for pollutant exposure because of its youth population, proximity to the
 freeway, and frequency of outdoor activities.
 The PM10 hotspot analysis models the location at which PM10 emission concentrations are
 expected to be greatest. These locations were determined to be I-70/I-25 and I-70/I-225, as
 previously noted. As the results demonstrate, the PM10 emissions concentrations for the


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 No-Action Alternative and Partial Cover Lowered Alternative with Managed Lanes Option are
 below the NAAQS limits.
 Swansea Elementary School is located at Elizabeth Street between York Street and Steele
 Street/Vasquez Boulevard just north of I-70. It is within the I-70/I-25 PM10 hotspot study area,
 so modeled pollutant concentrations are available for 10 receptors located on the school
 property, as shown in Figure 19. As shown in Table 21, all of the modeled concentrations at
 the school are well below the 24-hour PM10 standard of 150 μg/m3 With regard to Section
 93.116 of the Transportation Conformity Rule, based on the PM10 hotspot analysis and
 resulting total PM10 concentrations, the project will not cause new local violations of the
 NAAQS standards for PM10, nor will it increase the severity or number of existing violations
 or required interim emission reductions or other milestones. Although the Preferred
 Alternative meets the hotspot analysis requirements for project-level conformity, it also must
 be included in the regional emissions analysis of a conforming RTP and TIP before a
 conformity determination can be made. It is assumed that this analysis is presenting a
 conservative—or worst-case—estimation, due to all sources being modeled at-grade and
 without the benefits of a depressed roadway. It also is worth noting that these results are
 significantly lower than those modeled for the Supplemental Draft EIS, due to the revision to
 EPA guidance on background concentrations discussed above. As a reminder, the NAAQS
 defines primary and secondary limits for PM10 based on human health and
 environment/property damage, respectively. In this case, the primary and secondary
 standards are both 150 μg/m3.




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        19. Sensitive
 Figure 19.
 Figure                        locations
                      receptor locations
            Sensitive receptor




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 Table 21. Forecasted PM10 concentrations at Swansea Elementary School

                                    Forecasted 2035 PM10 Concentrations (μg/m3)1,2
                                             Revised Viaduct                 Partial Cover Lowered
       Receptor                                Alternative                         Alternative
       Location           No-Action
                          Alternative     General-                    General-
                                                        Managed                     Managed       Phase
                                          Purpose                     Purpose
                                                         Lanes                       Lanes          1
                                           Lanes                       Lanes

   Playground
                              110            120           120           100           100          100
   Southwest
   School Building
                              110            110           110           100           100          100
   Southwest Corner
   Playground South           110            120           120           100           100          100
   School Building
                              110            110           110           100           100          100
   South Edge
   Playground
                              110            120           120           100           100          100
   Southeast
   Playground
                              110            110           110           100           100          100
   Northeast
   Columbine St—
   School Bus                 110            110           110           100           100          100
   Loading Zone
   Columbine St
   between 46th and           110            110           110           100           100          100
   47th Ave.
   Columbine St.
                              100            110           100           100           100          100
   and 47th Ave.
   Elizabeth St.
   between 46th and
   47th—Unpaved               110            110           110           100           100          100
   parking lot across
   from school
 1. Concentrations include project concentrations by alternative plus a background concentration of 89 μg/m3
 2. All receptor concentrations estimated using at-grade emissions sources


 7.3     Criteria Pollutant Emission Inventories

 The emission inventories for the criteria pollutants were developed based on the previously
 described process and input data. The emissions inventories are based on vehicle traffic for
 the roadway segments included in DRCOG’s Compass model and in the air quality study area
 shown in Figure 2. This includes all roadway segments directly affected by the project, and
 additional roadway segments where traffic volumes would change as a result of the project
 alternatives. Because the analyses are designed to encompass the project study area, they also
 reflect traffic on some roadway segments that would not be affected by the project.
 As a result, the emissions totals reported in this section of the Final EIS should be interpreted
 as representing motor vehicle emissions projected to occur within the study area, including
 both the roadways that are affected by the project and those that are not. Since all the
 freeway segments and most of the major streets in the study area do experience traffic volume
 changes as a result of the project alternatives, the majority of the emissions reported in this


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 section do occur on roadways affected by the project. Also note that the differences in
 emissions between alternatives reported in the various exhibits below are solely due to the
 project. Criteria pollutant values are shown in pounds. Each of the Build Alternatives as well
 as the No-Action Alternative have been analyzed to determine if any of the alternatives result
 in a pollutant to become a discriminating factor, or outlier, in this analysis. Any variations in
 the general emission inventory trends are noted.
 The criteria pollutants are:
        Ozone
        Particulate matter
        Carbon monoxide
        Nitrogen oxides
        Sulfur dioxide
        Lead

 Ozone formation requires a complex chemical reaction of other pollutants to occur. It is
 discussed herein based on the inventories of its two primary precursor pollutants: nitrogen
 oxides and volatile organic compounds. Lead has been completely phased out of motor vehicle
 fuels in the United States and is no longer a vehicle emission concern, so no inventories were
 prepared for that pollutant.
 The 2010, 2015, and 2020 emissions are the same for all alternatives for any given pollutant.
 Future Build conditions begin after opening day and are reflected in the 2025, 2030, and 2035
 emissions in the table and exhibits in this section.

 7.3.1       Particulate matter

 Table 22, Table 23, Figure 20, and Figure 21 show the values for the PM2.5 and PM10 emission
 inventories. From 2010 forward, both pollutants trend downward, due primarily to the cleaner
 standards for diesel engines, until about 2025 or 2030, when they trend higher as projected
 vehicular travel growth overtakes the technology-based emission reduction estimates.
 Although there are minor differences in emissions among the No-Action and Build
 Alternatives, there is no real discernible difference, since they are all very close in any given
 year. Therefore, the particulate matter emissions are not a discriminating factor in the
 selection of a preferred alternative.




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 Table 22. PM2.5 emission inventories (tons per day)

                                                         Partial     Partial
                                 Revised    Revised
                                                         Cover       Cover
      Year       No-Action      Viaduct—   Viaduct—                               Phase 1
                                                       Lowered—    Lowered—
                                   GP         ML
                                                           GP         ML
                                            January
  2010               0.74         0.74        0.74       0.74        0.74           0.74
  2015               0.44         0.44        0.44       0.44        0.44           0.44
  2020               0.38         0.38        0.38       0.38        0.38           0.38
  2025               0.34         0.35        0.35       0.35        0.35           0.35
  2030               0.35         0.36        0.36       0.36        0.36           0.36
  2035               0.37         0.39        0.38       0.39        0.38           0.38
                                              July
  2010               0.51         0.51        0.51       0.51        0.51           0.51
  2015               0.28         0.28        0.28       0.28        0.28           0.28
  2020               0.22         0.22        0.22       0.22        0.22           0.22
  2025               0.18         0.19        0.19       0.19        0.19           0.19
  2030               0.19         0.19        0.19       0.19        0.19           0.19
  2035               0.20         0.20        0.20       0.20        0.20           0.20



 Table 23. PM10 emission inventories (tons per day)

                                                         Partial     Partial
                                 Revised    Revised
                                                         Cover       Cover
      Year       No-Action      Viaduct—   Viaduct—                               Phase 1
                                                       Lowered—    Lowered—
                                   GP         ML
                                                           GP         ML
                                            January
  2010               0.91         0.91        0.91       0.91        0.91           0.91
  2015               0.60         0.60        0.60       0.60        0.60           0.60
  2020               0.59         0.59        0.59       0.59        0.59           0.59
  2025               0.57         0.58        0.58       0.58        0.58           0.58
  2030               0.61         0.62        0.61       0.62        0.61           0.61
  2035               0.66         0.66        0.66       0.67        0.66           0.66
                                              July
  2010               0.66         0.66        0.66       0.66        0.66           0.66
  2015               0.43         0.43        0.43       0.43        0.43           0.43
  2020               0.41         0.41        0.41       0.41        0.41           0.41
  2025               0.40         0.40        0.40       0.40        0.40           0.40
  2030               0.43         0.43        0.43       0.43        0.43           0.43
  2035               0.47         0.47        0.47       0.47        0.47           0.47




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 Figure 20. PM2.5 emission inventories (tons per day)

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                                        PM‐2.5 (Jan)   PM‐2.5 (July)
                                                                                        APCD (2015)




 Figure 21. PM10 emission inventories (tons per day)

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  0.7
  0.6
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  0.3
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                                         PM‐10 (Jan)   PM‐10 (July)
                                                                                        APCD (2015)




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 7.3.2       Carbon Monoxide

 Table 24 and Figure 22 show the carbon monoxide emission inventories. In almost all cases,
 the January emissions are shown to be higher than July emissions because of differing fuel
 specifications. The July emissions trend down from 2010 to 2035 largely because of fuel
 economy standards and engine technology. However, the January emissions show a different
 trend, as they begin to increase after 2020. This is explained by an increasing effect of engine
 cold starts in the colder months. There are minor differences in emissions among the
 alternatives in any given year; therefore, carbon monoxide is not a discriminating factor in the
 selection of a preferred alternative.

 Table 24. Carbon monoxide emission inventories (tons per day)

                                                          Partial      Partial
                                              Revised
                                  Revised                 Cover        Cover
      Year      No-Action                    Viaduct—                                Phase 1
                                Viaduct—GP              Lowered—     Lowered—
                                                ML
                                                            GP          ML
                                              January
  2010             53.10          53.10       53.10       53.10         53.10          53.10
  2015             40.84          40.84       40.84       40.84         40.84          40.84
  2020             41.52          41.52       41.52       41.52         41.52          41.52
  2025             41.30          43.87       42.90       43.84         43.06          42.29
  2030             42.97          45.65       44.63       45.61         44.80          44.00
  2035             45.37          48.20       47.13       48.16         47.31          46.46
                                               July
  2010             55.58          55.58       55.58       55.58         55.58          55.58
  2015             41.17          41.17       41.17       41.17         41.17          41.17
  2020             39.64          39.64       39.64       39.64         39.64          39.64
  2025             36.06          38.64       37.63       38.58         37.79          37.03
  2030             33.70          36.11       35.17       36.05         35.31          34.60
  2035             31.25          33.48       32.61       33.43         32.75          32.09




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 Figure 22. Carbon monoxide emission inventories (tons per day)

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  40
  30



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                                              CO (Jan)    CO (July)
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 7.3.3      Sulfur Dioxide

 Table 25 and Figure 23 show the sulfur dioxide emission inventories. In all years except 2035,
 the January emissions are higher than the July results. The July emissions display a slight
 upward trend from 2010 through 2035, whereas the January emissions peak in 2020, then
 begin a downward trend. The differences between alternatives are minimal, so sulfur dioxide
 is not a discriminating factor in the selection of a preferred alternative.

 Table 25. SO2 emission inventories (tons per day)

                                                              Partial      Partial
                                     Revised     Revised
                                                              Cover        Cover
         Year           No‐Action   Viaduct—    Viaduct—                                 Phase 1
                                                            Lowered—     Lowered—
                                       GP          ML
                                                               GP           ML
                                               January
  2010                     0.09       0.09         0.09        0.09         0.09          0.09
  2015                     0.08       0.08         0.08        0.08         0.08          0.08
  2020                     0.09       0.09         0.09        0.09         0.09          0.09
  2025                     0.08       0.09         0.08        0.09         0.08          0.08
  2030                     0.08       0.08         0.08        0.08         0.08          0.08
  2035                     0.08       0.08         0.08        0.08         0.08          0.08
                                                July
  2010                     0.07       0.07         0.07        0.07         0.07          0.07
  2015                     0.07       0.07         0.07        0.07         0.07          0.07
  2020                     0.08       0.08         0.08        0.08         0.08          0.08
  2025                     0.07       0.07         0.07        0.07         0.07          0.07
  2030                     0.07       0.07         0.07        0.07         0.07          0.07
  2035                     0.08       0.08         0.08        0.08         0.08          0.08




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                                                                                                                      Figure 23. SO2 emission inventories (tons per day)


                                                                                                                                                                           I-70 East Final EIS
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                                                                                                               0.10
                                                                                                       2010
                                                                                                       2015
                                                                                             2020 No Action
                                                                                             2025 No Action
                                                                                             2030 No Action
                                                                                             2035 No Action
                                                                                               2025 Phase 1
                                                                                               2030 Phase 1




                                                                              SO2 (Jan)
                                                                                               2035 Phase 1
                                                                                           2025 Rev. Via. GP
                                                                                           2030 Rev. Via. GP




                                                                              SO2 (July)
                                                                                           2035 Rev. Via. GP
                                                                                              2025 Rev. Via.…
                                                                                              2030 Rev. Via.…
                                                                                              2035 Rev. Via.…
                                                                                                2025 PCL GP




                                                                                                                                                                           Air Quality Technical Report
                                                                                                2030 PCL GP
                                                                                                2035 PCL GP
                                                                                               2025 PCL ML
                                                                                               2030 PCL ML
                                                                    APCD (2015)




                                                                                               2035 PCL ML
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 7.3.4       Ozone

 Emission inventories for the ozone precursor nitrogen oxides are shown in Table 26 and
 Figure 24. The inventories for the other primary precursor, volatile organic compounds, are
 shown in Table 27 and Figure 25. Since ozone is formed in the presence of sunlight through a
 chemical reaction of these two precursors, it is only possible to report trends for the two
 precursor pollutants and infer what effect these may have on ozone levels. Emissions of both
 nitrogen oxides and volatile organic compounds trend downward from 2010 through 2035.
 Therefore, the on-road motor vehicle contribution to the ozone problem is decreasing over
 time, which would likely result in lower ozone levels, but that depends on the precursor
 emission trends from other sources.

 Table 26. Nitrogen oxides emission inventories (tons per day)

                                                              Partial       Partial
                                  Revised       Revised       Cover         Cover
      Year         No-Action                                                             Phase 1
                                Viaduct—GP    Viaduct—ML    Lowered—      Lowered—
                                                                GP           ML
                                              January
   2010               15.38       15.38          15.38           15.38      15.38          15.38
   2015               8.45         8.45          8.45            8.45        8.45          8.45
   2020               6.03         6.03          6.03            6.03        6.03          6.03
   2025               4.46         4.71          4.63            4.74        4.64          4.56
   2030               3.78         4.00          3.93            4.02        3.94          3.87
   2035               3.36         3.55          3.49            3.58        3.50          3.44
                                                July
   2010               14.64       14.64          14.64           14.64      14.64          14.64
   2015               8.24         8.24          8.24            8.24        8.24          8.24
   2020               6.06         6.06          6.06            6.06        6.06          6.06
   2025               4.55         4.78          4.70            4.81        4.71          4.64
   2030               3.87         4.06          3.99            4.08        4.00          3.94
   2035               3.40         3.57          3.51            3.59        3.52          3.46




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  Figure 24. Nitrogen oxides emission inventories (tons per day)

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                                           NOx (Jan)      NOx (July)
                                                                                                    APCD (2015)




  Table 27. VOC emission inventories (tons per day)

                                                                         Partial       Partial
                                      Revised        Revised
                                                                         Cover         Cover
           Year         No-Action    Viaduct—       Viaduct—                                         Phase 1
                                                                       Lowered—      Lowered—
                                        GP             ML
                                                                           GP           ML
                                                   January
    2010                     3.34       3.34            3.34             3.34            3.34           3.34
    2015                     1.92       1.92            1.92             1.92            1.92           1.92
    2020                     1.55       1.55            1.55             1.55            1.55           1.55
    2025                     1.32       1.35            1.34             1.35            1.34           1.33
    2030                     1.11       1.14            1.13             1.14            1.13           1.12
    2035                     0.97       1.00            0.99             1.00            0.99           0.98
                                                       July
    2010                     3.38       3.38            3.38             3.38            3.38           3.38
    2015                     1.98       1.98            1.98             1.98            1.98           1.98
    2020                     1.62       1.62            1.62             1.62            1.62           1.62
    2025                     1.38       1.42            1.40             1.42            1.41           1.40
    2030                     1.16       1.19            1.18             1.20            1.18           1.18
    2035                     1.01       1.04            1.03             1.04            1.03           1.02




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  Figure 25. VOC emission inventories (tons per day)

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                                         VOC (Jan)   VOC (July)
                                                                                         APCD (2015)


  7.4      Mobile Source Air Toxics Emission Inventories

  The emission inventories for the MSAT pollutants were developed based on the previously
  described process and input data. Of the 21 MSATs, EPA has indicated that the majority of
  adverse health effects arise from seven pollutants, which FHWA has labeled as priority
  MSATs for NEPA studies. The pollutants are:
          Benzene
          Formaldehyde
          Naphthalene
          Diesel particulate matter (DPM)/diesel exhaust organic gases
          Acrolein
          1,3 butadiene
          Polycyclic organic matter

  Each of the Build Alternatives, as well as the No-Action Alternative, has been analyzed to
  determine if any of the alternatives result in a singular pollutant to become a discriminating
  factor, or outlier, in this analysis. Any variations in the general trends in the emission
  inventory are noted. MSAT pollutants are generally measured in pounds, with the exception
  of DPM, which is measured in tons. Based on FHWA’s analysis using EPA’s air quality
  models, DPM is the MSAT of the most concern.




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  7.4.1       Benzene

  Table 28 and Figure 26 show the benzene emission inventories. July emissions are higher
  than January emissions in all cases because of benzene’s evaporative properties. In all cases,
  emissions estimate a downward trend from 2010 through 2035. There are no discernible
  differences in emissions among alternatives in any given year, so benzene is not a
  discriminating factor in the selection of a preferred alternative.

  Table 28. Benzene emission inventories (pounds per day)

                                                            Partial       Partial
                                  Revised      Revised
                                                            Cover         Cover
       Year         No-Action    Viaduct—     Viaduct—                                  Phase 1
                                                          Lowered—      Lowered—
                                    GP           ML
                                                              GP           ML
                                              January
   2010                 133         133          133          133          133             133
   2015                 85          85           85           85            85             85
   2020                 72          72           72           72            72             72
   2025                 57          58           58           59            58             57
   2030                 42          43           43           44            43             43
   2035                 26          27           27           27            27             26
                                                July
   2010                 186         186          186          186          186             186
   2015                 119         119          119          119          119             119
   2020                 102         102          102          102          102             102
   2025                 78          80           79           80            79             79
   2030                 56          58           57           58            57             57
   2035                 43          44           43           44            44             43




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  Figure 26. Benzene emission inventories (pounds per day)

   200
   180
   160
   140
   120
   100
    80
    60
    40
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                                   Benzene (Jan)   Benzene (July)
                                                                            APCD (2015)




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  7.4.2         Formaldehyde

  Figure 27 and Table 29 show the formaldehyde emission inventories. July emissions are
  higher than January emissions in all cases because of formaldehyde’s evaporative properties.
  In all cases, emissions estimate a downward trend from 2010 through 2035. There are no
  discernible differences in emissions among alternatives in any given year, so formaldehyde is
  not a discriminating factor in the selection of a preferred alternative.

  Table 29. Formaldehyde emission inventories (pounds per day)

                                                             Partial      Partial
                                     Revised    Revised
                                                             Cover        Cover
         Year           No-Action   Viaduct—   Viaduct—                                Phase 1
                                                           Lowered—     Lowered—
                                       GP         ML
                                                               GP          ML
                                               January
  2010                    100         100         100         100          100            100
  2015                     61          61         61           61           61             61
  2020                     44          44         44           44           44             44
  2025                     34          35         35           35           35             34
  2030                     29          30         29           30           30             29
  2035                     24          25         25           25           25             24
                                                July
  2010                    106         106         106         106          106            106
  2015                     65          65         65           65           65             65
  2020                     49          49         49           49           49             49
  2025                     36          37         36           37           36             36
  2030                     29          29         29           30           29             29
  2035                     27          28         28           28           28             27




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  Figure 27. Formaldehyde emission inventories (pounds per day)

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   100
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       60
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                                 Formaldehyde (Jan)   Formaldehyde (July)
                                                                                        APCD (2015)




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  7.4.3       Butadiene

  Figure 28 and Table 30 show the 1,3 Butadiene emission inventories. July emissions are
  higher than January emissions in all cases because of 1,3 Butadiene’s evaporative properties.
  In all cases, emissions estimate a downward trend from 2010 through 2035. There are no
  discernible differences in emissions among alternatives in any given year, so 1,3 Butadiene is
  not a discriminating factor in the selection of a preferred alternative.

  Table 30. 1,3 Butadiene emission inventories (pounds per day)

                                                              Partial      Partial
                                     Revised     Revised
                                                              Cover        Cover
          Year          No-Action   Viaduct—    Viaduct—                                 Phase 1
                                                            Lowered—     Lowered—
                                       GP          ML
                                                                GP          ML
                                               January
   2010                   18.3        18.3        18.3         18.3          18.3          18.3
   2015                   11.6        11.6        11.6         11.6          11.6          11.6
   2020                    9.4        9.4          9.4          9.4          9.4            9.4
   2025                    7.4        7.7          7.6          7.7          7.6            7.5
   2030                    5.7        5.9          5.8          5.9          5.9            5.8
   2035                    3.8        3.9          3.9          3.9          3.9            3.8
                                                July
   2010                   23.0        23.0        23.0         23.0          23.0          23.0
   2015                   14.6        14.6        14.6         14.6          14.6          14.6
   2020                   12.2        12.2        12.2         12.2          12.2          12.2
   2025                    9.3        9.6          9.5          9.6          9.5            9.4
   2030                    6.9        7.2          7.1          7.2          7.1            7.0
   2035                    5.5        5.7          5.7          5.7          5.7            5.6




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  Figure 28.          1,3 Butadiene emission inventories (pounds per day)

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                                        1,3 Butadiene (Jan)       1,3 Butadiene (July)
                                                                                                           APCD (2015)




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  7.4.4       Acrolein

  Table 31 and Figure 29 show the acrolein emission inventories. July emissions are slightly
  higher than January emissions in all cases because of acrolein’s evaporative properties. In all
  cases, emissions estimate a downward trend from 2010 through 2035. There are no discernible
  differences in emissions among alternatives in any given year, so acrolein is not a
  discriminating factor in the selection of a preferred alternative.

  Table 31. Acrolein emission inventories (pounds per day)

                                                          Partial       Partial       Partial
                                Revised     Revised
                                                          Cover         Cover         Cover
      Year        No-Action    Viaduct—    Viaduct—
                                                        Lowered—      Lowered—      Lowered—
                                  GP          ML
                                                            GP           ML         Phase 1 ML
                                            January
   2010                 6.91     6.91         6.91          6.91         6.91           6.91
   2015                 3.90     3.90         3.90          3.90         3.90           3.90
   2020                 2.51     2.51         2.51          2.51         2.51           2.51
   2025                 1.74     1.78         1.77          1.80         1.77           1.76
   2030                 1.43     1.46         1.45          1.47         1.45           1.44
   2035                 1.18     1.21         1.20          1.22         1.20           1.19
                                              July
   2010                 7.04     7.04         7.04          7.04         7.04           7.04
   2015                 4.01     4.01         4.01          4.01         4.01           4.01
   2020                 2.62     2.62         2.62          2.62         2.62           2.62
   2025                 1.72     1.76         1.75          1.78         1.75           1.74
   2030                 1.33     1.35         1.35          1.37         1.35           1.34
   2035                 1.22     1.25         1.24          1.27         1.25           1.24




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  Figure 29.     Acrolein emission inventories (pounds per day)

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                                     Acrolein (Jan)   Acrolein (July)
                                                                                    APCD (2015)




  100                                                                            January 2016
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  7.4.5       Naphthalene

  Figure 30 and Table 32 show the naphthalene emission inventories. July emissions are
  slightly higher than January emissions in all cases because of naphthalene‘s evaporative
  properties. In all cases, emissions estimate a downward trend from 2010 through 2035. There
  are no discernible differences in emissions among alternatives in any given year, so
  naphthalene is not a discriminating factor in the selection of a preferred alternative.

  Table 32. Naphthalene emission inventories (pounds per day)

                                                             Partial      Partial
                                     Revised     Revised
                                                             Cover        Cover
          Year          No-Action   Viaduct—    Viaduct—                                Phase 1
                                                           Lowered—     Lowered—
                                       GP          ML
                                                               GP          ML
                                               January
   2010                   14.21      14.21        14.21      14.21         14.21          14.21
   2015                   8.14        8.14        8.14       8.14           8.14          8.14
   2020                   5.72        5.72        5.72       5.72           5.72          5.72
   2025                   4.36        4.47        4.44       4.51           4.45          4.42
   2030                   3.66        3.75        3.72       3.78           3.73          3.70
   2035                   3.04        3.12        3.10       3.15           3.10          3.08
                                                July
   2010                   14.48      14.48        14.48      14.48         14.48          14.48
   2015                   8.42        8.42        8.42       8.42           8.42          8.42
   2020                   6.04        6.04        6.04       6.04           6.04          6.04
   2025                   4.35        4.47        4.44       4.51           4.45          4.41
   2030                   3.43        3.52        3.49       3.55           3.50          3.47
   2035                   3.19        3.27        3.25       3.30           3.25          3.23




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  Figure 30.     Naphthalene emission inventories (pounds per day)

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                                      Napthalene (Jan)     Napthalene (July)
                                                                                          APCD (2015)




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  7.4.6         Polycyclic organic matter

  Table 33 and Figure 31 show the POM emission inventories. January emissions are shown to
  be higher than July emissions in all cases. In all cases, emissions estimate a downward trend
  from 2010 through 2030, then go back up slightly in 2035. There are no discernible differences
  in emissions among alternatives in any given year, so POM is not a discriminating factor in
  the selection of a preferred alternative.

  Table 33. Polycyclic organic matter emission inventories (pounds per day)

                                                             Partial     Partial
                                     Revised     Revised
                                                             Cover       Cover
         Year           No-Action   Viaduct—    Viaduct—                              Phase 1
                                                           Lowered—    Lowered—
                                      GPct         ML
                                                               GP         ML
                                               January
  2010                    6.65        6.65        6.65       6.65         6.65          6.65
  2015                    3.44        3.44        3.44       3.44         3.44          3.44
  2020                    2.24        2.24        2.24       2.24         2.24          2.24
  2025                    1.60        1.68        1.65       1.68         1.66          1.63
  2030                    1.53        1.61        1.58       1.61         1.59          1.57
  2035                    1.58        1.66        1.63       1.66         1.64          1.61
                                                July
  2010                    5.98        5.98        5.98       5.98         5.98          5.98
  2015                    3.24        3.24        3.24       3.24         3.24          3.24
  2020                    2.04        2.04        2.04       2.04         2.04          2.04
  2025                    1.28        1.34        1.32       1.35         1.33          1.31
  2030                    1.02        1.06        1.05       1.07         1.05          1.04
  2035                    1.02        1.07        1.05       1.07         1.05          1.04




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  Figure 31.     Polycyclic organic matter emission inventories (pounds per day)

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                                        POM (Jan)    POM (July)
                                                                                           APCD (2015)




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  7.4.7       Diesel particulate matter

  Table 34 and Figure 32 show the DPM emission inventories. January and July emissions are
  virtually the same in all cases. The emission trends are downward from 2010 through 2030,
  then increase slightly in 2035. There are no discernible differences in emissions among
  alternatives in any given year, so DPM is not a discriminating factor in the selection of a
  preferred alternative.

  Table 34. Diesel particulate matter emission inventories (tons per day)

                                                              Partial         Partial
                                     Revised     Revised
                                                              Cover           Cover
          Year          No-Action   Viaduct—    Viaduct—                                  Phase 1
                                                            Lowered—        Lowered—
                                       GP          ML
                                                                GP             ML
                                               January
   2010                   0.374      0.374        0.374       0.374           0.374        0.374
   2015                   0.146       0.146       0.146        0.146          0.146         0.146
   2020                   0.052       0.052       0.052        0.052          0.052         0.052
   2025                   0.012       0.013       0.013        0.013          0.013         0.013
   2030                   0.012       0.013       0.013        0.013          0.013         0.013
   2035                   0.024       0.025       0.025        0.025          0.025         0.024
                                                July
   2010                   0.377       0.377       0.377        0.377          0.377         0.377
   2015                   0.148       0.148       0.148        0.148          0.148         0.148
   2020                   0.052       0.052       0.052        0.052          0.052         0.052
   2025                   0.013       0.013       0.013        0.013          0.013         0.013
   2030                   0.013       0.013       0.013        0.013          0.013         0.013
   2035                   0.025       0.025       0.025        0.026          0.025         0.025




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                                                                                                                                                                      Figure 32. Diesel particulate matter emission inventories (pounds per day)


                                                                                                                                                                                                                                                   Air Quality Technical Report
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                                                                                                              0.05
                                                                                                                     0.10
                                                                                                                            0.15
                                                                                                                                   0.20
                                                                                                                                          0.25
                                                                                                                                                 0.30
                                                                                                                                                        0.35
                                                                                                                                                               0.40
                                                                                               2010
                                                                                               2015
                                                                                     2020 No Action
                                                                                     2025 No Action
                                                                                     2030 No Action
                                                                                     2035 No Action
                                                                                       2025 Phase 1
                                                                                       2030 Phase 1




                                                                      DPM (Jan)
                                                                                       2035 Phase 1
                                                                                   2025 Rev. Via. GP
                                                                                   2030 Rev. Via. GP




                                                                      DPM (July)
                                                                                   2035 Rev. Via. GP
                                                                                   2025 Rev. Via. ML
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                                                                                   2035 Rev. Via. ML
                                                                                        2025 PCL GP
                                                                                        2030 PCL GP
                                                                                        2035 PCL GP




                                                                                                                                                                                                                                                   I-70 East Final EIS
                                                                                       2025 PCL ML
January 2016




                                                        APCD (2015)




                                                                                       2030 PCL ML
                                                                                       2035 PCL ML
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  7.4.8          Greenhouse gas emission inventories

  The GHG (i.e., atmospheric carbon dioxide) emission inventories are shown in Table 35 and
  Figure 33. Summer (July) emissions are greater than winter (January) in all years and
  alternatives because of the additional energy consumption related to air conditioning use. The
  two alternatives with general-purpose lanes that were modeled show almost identical GHG
  emissions, which would be expected because the freeway capacity is the same for both. The
  Partial Cover Lowered Alternative with Managed Lanes Option results in lower GHG
  emissions than the modeled Build Alternatives with general-purpose lanes only.

  Table 35.        Greenhouse gas emission inventory (atmospheric carbon dioxide, tons per day)

                                                              Partial      Partial
                                     Revised     Revised
                                                              Cover        Cover
          Year          No-Action   Viaduct—    Viaduct—                                Phase 1
                                                            Lowered—     Lowered—
                                       GP          ML
                                                                GP          ML
                                               January
   2010                   3,939       3,939       3,939        3,939       3,939          3,939
   2015                   3,896       3,896       3,896        3,896       3,896          3,896
   2020                   4,533       4,533       4,533        4,533       4,533          4,533
   2025                   4,634       4,831       4,761        4,860       4,772          4,712
   2030                   4,812       5,016       4,943        5,045       4,955          4,892
   2035                   5,019       5,232       5,157        5,263       5,168          5,104
                                                 July
   2010                   4,184       4,184       4,184        4,184       4,184          4,184
   2015                   4,146       4,146       4,146        4,146       4,146          4,146
   2020                   4,830       4,830       4,830        4,830       4,830          4,830
   2025                   4,943       5,148       5,076        5,179       5,087          5,024
   2030                   5,134       5,347       5,272        5,380       5,284          5,218
   2035                   5,355       5,578       5,499        5,611       5,511          5,443




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                                                                                                                                             Figure 33.


                                                                                                                                                                                                                            Air Quality Technical Report
                                                                                                                                     1,000
                                                                                                                                     2,000
                                                                                                                                     3,000
                                                                                                                                     4,000
                                                                                                                                     5,000
                                                                                                                                     6,000
                                                                                                                                         0
                                                                                                                             2010




                                                                                                                                             Greenhouse gas emission inventory (atmospheric carbon dioxide, tons per day)
                                                                                                                             2015
                                                                                                                   2020 No Action




                                                                                  GHG / Atmospheric CO2 (Jan)
                                                                                                                   2025 No Action
                                                                                                                   2030 No Action
                                                                                                                   2035 No Action
                                                                                                                     2025 Phase 1
                                                                                                                     2030 Phase 1
                                                                                                                     2035 Phase 1
                                                                                                                 2025 Rev. Via. GP
                                                                                                                 2030 Rev. Via. GP




                                                                                  GHG / Atmospheric CO2 (July)
                                                                                                                 2035 Rev. Via. GP
                                                                                                                 2025 Rev. Via. ML
                                                                                                                 2030 Rev. Via. ML
                                                                                                                 2035 Rev. Via. ML
                                                                                                                      2025 PCL GP
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                                                                                                                     2025 PCL ML
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                                                                                                                     2030 PCL ML
                                                                    APCD (2015)




                                                                                                                     2035 PCL ML
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  7.4.9       Road dust emissions inventory

  Estimates for road dust include all particulate debris that is made airborne through the
  movement of traffic, including residual material from road sanding along with soils and
  minerals blown on to the road. Estimates for road dust show an increase of 43 percent
  between 2010 and the 2035 No-Action Alternative, a direct result in the increase in VMT
  estimated along the corridor. As shown in Table 36, there is only a slight difference between
  the 2035 No-Action Alternative and Build Alternatives; the Preferred Alternative has 1.6
  percent more road dust in tons per day than the No-Action Alternative.

  Table 36. Fugitive dust emissions inventory

                                       Total Fugitive Dust             Percent Difference
             Alternative
                                      Emissions (tons/day)         from No-Action Alternative
   No-Action Alternative                        4.9                            N/A
   Revised Viaduct Alternative
                                                5.0                            2.7
   (General-Purpose Lanes)
   Revised Viaduct Alternative
                                                5.0                            1.6
   (Managed Lanes)
   Partial Cover Lowered
   Alternative                                  5.0                            2.8
   (General-Purpose Lanes)
   Partial Cover Lowered
   Alternative                                  5.0                            1.6
   (Managed Lanes)
  Source: APCD (2015)


  7.4.10      Fugitive emissions during construction

  As discussed previously, the estimation of fugitive emissions during construction is not
  possible until specific construction methods and sequencing are developed for the selected
  preferred alternative. It is possible, however, to use the amount of material handled to provide
  an indication of the relative construction emissions for each alternative as a result of the
  movement of dirt, but emissions from construction vehicles is not included in this estimate.
  Table 37 presents the volume of material estimated to be handled for each project alternative.
  These numbers represent the amount of material brought to the project area to serve as
  embankment material. This quantification assumes that the Partial Cover Lowered
  Alternative will use excavation material derived from Brighton Boulevard to Colorado
  Boulevard as embankment material elsewhere within the project, requiring less new material
  to be handled. Excluding the No-Action Alternative, the Revised Viaduct Alternative is
  projected to have the highest volume of material to be handled, and will, therefore, likely
  generate the greatest amount of fugitive emissions and equipment-related exhaust particulate
  emissions during construction.
  The difference between the highest and lowest volumes of material is 97 percent.




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  Table 37. Excavation and fill material handled by alternative

                                                                       Total Material Handled
                       Alternative
                                                                           (Cubic Yards)
   No-Action Alternative                                                           117,200
   Revised Viaduct Alternative                                                   4,200,000
   Partial Cover Lowered Alternative                                             3,900,000
  Note: These numbers are rough estimates based on the best data available at present, and may change during final
  design. Quantities are for Managed Lanes Option (except for the No-Action Alternative).




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  8       REDUCTION OF AIR POLLUTANT EMISSIONS
          ASSOCIATED WITH THE PROJECT

  Motor vehicle emissions from the implementation of the No-Action and Build Alternatives in
  the study area have been evaluated. According to the worst-case scenario modeling performed
  for the PM10 hotspot analyses, all alternatives are projected to range below the NAAQS for
  PM10. Therefore, no specific mitigations are necessary for the project to proceed. Although
  mitigation is not required, one or more of the potential emission reduction measures described
  below will be utilized to minimize impacts to air quality. Additionally, any transportation-
  related measures or voluntary baseline emission reduction strategies already included as part
  of carbon monoxide or particulate matter maintenance plans that relate to I-70 East, such as
  street sanding/sweeping activities, would need to continue to be implemented with any of the
  No-Action or Build Alternatives. During construction, dust emissions should be minimized by
  including techniques to control fugitive dust.
  Several ongoing and planned strategies are used in the Denver/North Front Range ozone
  nonattainment area to reduce precursor emissions of volatile organic compounds and nitrogen
  oxides, including multi-modal transportation options, rideshare programs, vehicle emissions
  testing, and intersection improvements. Likewise, several strategies have been, and continue
  to be, implemented to maintain carbon monoxide and PM10 attainment.
  The following carbon monoxide strategies are documented in the Carbon Monoxide
  Maintenance Plan for the Denver Metropolitan Area (APCD, 2005):
         Federal tailpipe standards and regulations, including those for small engines and non-
          road mobile sources
         AQCC Regulation No. 4, covering residential wood burning control programs; the
          maintenance plan makes no revisions to residential wood burning control programs
         AQCC Regulations No. 3, No. 6, and Common Provisions, covering industrial source
          control programs; the Common Provisions, and Parts A and B of Regulation No. 3, are
          already included in the approved SIP; Regulation No. 6, and Part C of Regulation No.
          3, implement the federal standards of performance for new stationary sources and the
          federal operating permit program; the maintenance plan makes no revisions to these
          regulations; this reference to Regulation No. 6 and Part C of Regulation No. 3 should
          not be construed to mean that these regulations are included in the SIP
         In accordance with state and federal regulations and policies, the state and federal
          nonattainment New Source Review requirements in effect for the Denver area reverted
          to the state and federal attainment Prevention of Significant Deterioration permitting
          requirements when EPA approved the redesignation request and maintenance plan
  The following PM10 strategies are documented in the PM10 Maintenance Plan for the Denver
  Metropolitan Area (APCD, 2005):
         Federal fuels and tailpipe standards and regulations
         AQCC Regulation No. 4, covering wood stoves, conventional fireplaces, and wood
          burning restrictions on high-pollution days


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           AQCC Regulation No. 16, covering street sanding and sweeping requirements
           Regulation of stationary sources of emissions via AQCC Regulations Nos. 1, 2, and 6

  8.1       Reduction of global greenhouse gas emissions

  To help address the global issue of climate change, USDOT is committed to reducing GHG
  emissions from vehicles traveling on our nation’s highways. USDOT and EPA are working
  together to reduce these emissions by substantially improving vehicle efficiency and shifting
  toward lower carbon-intensive fuels. The agencies have jointly established new, more
  stringent fuel economy and first-ever GHG emissions standards for model year 2012 to 2025
  cars and light trucks, with an ultimate fuel economy standard of 54.5 miles per gallon for cars
  and light trucks by model year 2025. Further, on September 15, 2011, the agencies jointly
  published the first ever fuel economy and GHG emissions standards for heavy-duty trucks and
  buses.14 Increasing use of technological innovations that can improve fuel economy, such as
  gasoline- and diesel-electric hybrid vehicles, will improve air quality and reduce carbon
  dioxide emissions in future years.
  Consistent with its view that broad-scale efforts hold the greatest promise for meaningfully
  addressing the global climate change problem, FHWA is engaged in developing strategies to
  reduce transportation’s contribution to GHGs—particularly carbon dioxide emissions—and to
  assess the risks to transportation systems and services from climate change. In an effort to
  assist states and Metropolitan Planning Organizations (MPOs) in performing GHG analyses,
  FHWA has developed a Handbook for Estimating Transportation GHG Emissions for
  Integration into the Planning Process. The Handbook presents methodologies reflecting good
  practices for the evaluation of GHG emissions at the transportation program level, and will
  demonstrate how such evaluation may be integrated into the transportation planning process.
  FHWA also has developed a tool for use at the statewide level to model a large number of
  GHG reduction scenarios and alternatives for use in transportation planning, climate action
  plans, scenario planning exercises, and in meeting state GHG reduction targets and goals. To
  assist states and MPOs in assessing climate change vulnerabilities to their transportation
  networks, FHWA has developed a draft vulnerability and risk assessment conceptual model
  and has piloted it in several locations (FHWA-HEP-13-026, 2013).
  At the state level, there also are several programs underway in Colorado to address
  transportation GHGs. The Governor’s Climate Action Plan, adopted in November 2007,
  includes measures to adopt vehicle carbon dioxide emissions standards and to reduce vehicle
  travel through transit, flex time, telecommuting, ridesharing, and broadband
  communications. CDOT issued a Policy Directive on Air Quality in May 2009. This Policy
  Directive was developed with input from a number of agencies, including the CDPHE, EPA,
  FHWA, FTA, the Denver RTD and the Denver Regional Air Quality Council. This Policy
  Directive and implementation document, the CDOT Air Quality Action Plan, address
  unregulated MSATs and GHGs produced from Colorado’s state highways, interstates, and
  construction activities.


    14 For more information on fuel economy proposals and standards, see the National Highway Traffic Safety

     Administration’s Corporate Average Fuel Economy website: http://www.nhtsa.gov/fuel-economy/.



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  As a part of CDOT’s commitment to addressing MSATs and GHGs, some of CDOT’s program-
  wide activities include:
         Continuing to research pavement durability opportunities with the goal of reducing the
          frequency of resurfacing and/or reconstruction projects
         Developing air quality educational materials specific to transportation issues for
          citizens, elected officials, and schools.
         Offering outreach to communities to integrate land use and transportation decisions to
          reduce growth in VMT, such as smart growth techniques, buffer zones, transit-oriented
          development, walkable communities, access management plans, etc.
         Committing to research additional concrete additives that would reduce the demand
          for cement
         Expanding Transportation Demand Management efforts statewide to better utilize the
          existing transportation mobility network
         Continuing to diversify the CDOT fleet by retrofitting diesel vehicles, specifying the
          types of vehicles and equipment contractors may use, purchasing low-emission
          vehicles, such as hybrids, and purchasing cleaner burning fuels through bidding
          incentives where feasible; incentivizing is the likely vehicle for this
         Funding truck parking electrification (note: mostly via exploring external grant
          opportunities)
         Researching additional ways to improve freight movement and efficiency statewide
         Incorporating ultra-low sulfur diesel for non-road equipment statewide
  Even though project-level mitigation measures will not have a substantial impact on global
  GHG emissions because of the exceedingly small amount of GHG emissions involved, the
  following measures during construction will have the effect of reducing GHG emissions. The
  above-identified activities are part of a program-wide effort by FHWA and CDOT to adopt
  practical means to avoid and minimize environmental impacts in accordance with 40 CFR
  1505.2(c).

  8.2     Reduction of fugitive particle emissions during construction

  Potential measures for reducing emissions during construction are presented in this section.
  Construction-related fugitive particle emissions will be minimized by implementing the
  following dust control practices in accordance with requirements in AQCC Regulation No. 1,
  Emission Control for Particulate Matter, Smoke, Carbon Monoxide, and Sulfur Oxides:
         Use water or wetting agent in solution to control dust at construction sites.
         Use wind barriers and wind screens to prevent spreading of dust from the site.
         Have a wheel wash station and/or crushed stone apron at egress/ingress areas to
          prevent dirt being tracked onto public streets.
         Use vacuum-powered street sweepers to remove dirt tracked onto streets.
         Cover all dump trucks leaving sites to prevent dirt and dust from spilling onto streets.


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           Cover, wet, compact, or use a chemical stabilization binding agent on all excavated
            materials.
           Minimize disturbed areas, particularly in winter.
           Monitor for PM10, which will allow for the modification or implementation of various
            dust control measures.
  Some or all of the measures below also may be implemented, as applicable and manageable, to
  further reduce construction emissions:
           Prohibit unnecessary idling of construction equipment
           Locate construction diesel engines as far away as possible from residential areas
           Locate construction staging areas close to work sites, while situating them as far away
            as possible from residential uses
           Require heavy construction equipment to use the cleanest available engines or be
            retrofitted with diesel particulate control technology
           Use alternatives to diesel engines and/or diesel fuels such as: biodiesel, LNG or CNG,
            fuel cells, and electric engines
           For wintertime construction, install engine pre-heater devices to eliminate
            unnecessary idling
           Prohibit tampering with equipment to increase horsepower or to defeat emission
            control devices effectiveness
           Require construction vehicle engines to be properly tuned and maintained
           Use construction vehicles and equipment with the minimum practical engine size for
            the intended job
  Additionally, for any road construction project, a written control plan must be submitted for
  approval by CDPHE. The control plan includes all available practical methods that are
  technologically feasible and economically reasonable to reduce, prevent, and control fugitive
  particulate emission from the source into the atmosphere. When a plan is approved, CDPHE
  may take enforcement action if the owner or operator fails to comply with the provisions of a
  plan. An Air Quality Monitoring, Maintenance, and Commitment Plan will be prepared prior
  to construction and will include the following commitments:
           Documentation of daily visual inspections of active work sites by state- and federally
            certified personnel

           Daily opacity readings from stationary sources subject to Section II.A of Air Quality
            Control Commission Regulation No. 1 (5 CCR 1001-3) and applicable permit conditions

           Continuous PM10 monitoring during construction

           Presentation of continuous PM10 monitoring data to the public after quality review of
            the data, anticipated to be within one week of collection




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  Several regulatory and guidance documents from federal agencies, such as the Environmental
       Protection Agency (EPA) and the Federal Highway Administration (FHWA), provide
       direction for conducting criteria pollutant, MSAT, and GHG analysis for NEPA
       purposes. In addition, other documents are used in determining input data assumptions.
       These include:

  Transportation Conformity Regulations (40 CFR §51.390 and §93), as amended

  EPA’s Using MOVES to Prepare Emission Inventories in State Implementation Plans and
       Transportation Conformity: Technical Guidance for MOVES2010, 2010a and 2010b
       (EPA-420-B-12-028, April 2012)

  Using the MOVES and EMFAC Emissions Models in NEPA Evaluations, letter from Susan E.
       Bromm, Director, EPA’s Office of Federal Activities, to NEPA/309 Division Directors
       dated February 8, 2011

  FHWA’s Interim Guidance Update on Mobile Source Air Toxics Analysis in NEPA,
     memorandum from April Marchese, Director, Office of Natural Environment, to Division
     Administrators dated December 6, 2012

  EPA’s Using MOVES for Estimating State and Local Inventories of On-Road Greenhouse Gas
       Emissions and Energy Consumption (EPA-420-D-12-001, Public Draft, January 2012)




  January 2016                                                                               119
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   This cover sheet notes revisions that were made to the I-70 East Corridor Final Environmental
   Impact Statement – Air Quality Analysis Protocol Addendum (October 2, 2014), based on
   comments received from the EPA. Please use this as a reverence as to how those comments
   were addressed in the revised version.

   A.) Page 1 of the document; footnote number 1:

   “Transportation Conformity Guidance for Quantitative Hot-spot Analyses in PM2.s and PM10 Nonattainment and
   Maintenance Areas (EPA-420-B-10-040, December 2010)”

   EPA Comment: We note the reference to EPA’s hot-spot modeling guidance needs to be updated. Our current
   version of EPA’s “Transportation Conformity Guidance for Quantitative Hot-Spot Analyses in PM2.5 and PM10
   Nonattainment and Maintenance Areas” was issued in November of 2013 and is referenced as EPA-420-B-13-
   053. This version supersedes and replaces prior versions. We recommend that this version of our PM hot-spot
   guidance be reviewed to determine if any changes to the PM10 hot-spot analyses for the FEIS need revisions.

           Response/Action: The reference has been updated to the current version (EPA-420-B-13-053).
           This version will be used as guidance during FEIS revisions and referenced accordingly.

   B.) Page 3 of the document under “General modeling approach”:

   EPA Comment: EPA notes that based on discussions with FHWA/CDOT, it is our understanding and notes the
   following for the PCL alternative in the SDEIS; that for the portion of the project that will be up to 30 feet below
   surface, AERMOD was used to model the mobile sources as being at grade or at the surface. EPA’s Office of
   Transportation and Air Quality (OTAQ) has advised that using AERMOD with OPENPIT for the depressed (below
   grade) roadway section is a viable and better option than modeling the mobile sources as being at grade. The
   addendum of the “User’s Guide for the AMS/EPA Regulatory Model – AERMOD” [dated May 2014] provides
   guidance on the application of the OPENPIT option in AERMOD. Also, OTAQ notes that that it is acceptable to
   use volume sources at the end of the tunnels, with ½ of the emissions at each end, with AERMOD.

           Response/Action: Methodology has been revised to include the use of OPENPIT. This application
           will be used for FEIS analysis.

   C.) EPA notes the following additions for the FEIS hot-spot modeling:

          Page 4 of the document under “Dispersion modeling” (for PM10)
          Page 5 of the document under section 4.3 “CO Hotspot modeling”

           Response/Action: No changes requested.


   Other Revisions of Note:

          Section 3.1 Carbon Monoxide – added comment that new traffic data for the FEIS will be compared with
           data used in SDEIS to verify the CO Hotspot location.
          Section 4.2 Quantitative PM10 Hotspot Analysis, Dispersion modeling – revised discussion to better
           define the receptor grid as “…all other locations outside the project boundary where public access is not
           precluded by the project owner will be included in the receptor grid.”




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  1.          Introduction
  This document describes the proposed air quality analysis approach for the I-70 East project. The approach
  outlined in this document goes beyond federal requirements in several areas because of air quality concerns
  expressed during the public involvement process. This protocol is focused on air quality conformity
  requirements in order to obtain a Record of Decision (ROD) and the participating agencies associated with
  this protocol all have a part in the conformity process for air quality. Demonstrating project-level conformity
  and developing additional air quality information for NEPA purposes are the ultimate goals to fulfil the
  requirements of the ROD. The protocol is specific to this project only—it does not represent a change to
  Colorado Department of Transportation (CDOT)/Federal Highway Administration (FHWA) standard practice
  for analysis of air quality impacts in the National Environmental Policy Act (NEPA) process, nor does it
  establish a precedent for future air quality analyses in Colorado.


  2.          Background
  The Supplemental Draft Environmental Impact Statement (EIS) for the I-70 East project was released to the
  public in the summer of 2014. During the Supplemental Draft EIS, CDOT followed the I-70 East Corridor
  Draft Environmental Impact Statement, Air Quality Analysis Protocol, dated November 18, 2013 (I-70 East
  Air Quality Analysis Protocol). The protocol was developed in coordination with CDOT and cooperating
  agencies, including the Environmental Protection Agency (EPA), the Colorado Department of Public Health
  and Environment (CDPHE), Air Pollution Control Division (APCD), and FHWA. Following the release of the
  Supplemental Draft EIS, CDOT and cooperating agencies met to amend some of the air quality guidance
  documented in the November 2013 I-70 East Air Quality Analysis Protocol. This addendum documents
  agreements made during agency coordination meetings dated July 24, 2014 and August 18, 2014. Unless
  documented in this addendum, the air quality analysis protocols from the November 2013 I-70 East Air
  Quality Analysis Protocol document will continue to be followed in the Final EIS.

  Traffic data from the Denver Regional Council of Governments (DRCOG) model is being used to conduct the
  air quality analysis for the Final EIS. The DRCOG model data will come from an updated Compass model
  and not the newer Focus regional travel demand model. The I-70 East project will use the model set
  currently used by RTD for the SE corridor: Compass 5.0 with TransCAD 6.0, with the Cycle 2 2013 socio-
  economic dataset with the 2035 horizon year. This option is immediately available and includes minor
  updates to the socio-economic data set used in the DEIS. Other traffic modeling data may be completed or
  provided as part of this project for considerations with other resources, this protocol will only be using the
  DRCOG model traffic for conformity demonstrations. The Compass model is still the official model for use
  on project-level studies in the region and is immediately available.

  This document details each of the proposed approach elements, with project-level conformity addressed
  first, followed by elements of the NEPA analysis. The EPA’s transportation conformity hotspot guidance
  documents1 for carbon monoxide (CO) and particulate matter less than 10 micron size (PM 10) identify many
  items for interagency consultation, which are reflected in the following sections. For those items where the
  guidance provides some flexibility and defers to the interagency consultation process, the project team has
  proposed options and/or a preferred approach.



  1 Transportation Conformity Guidance for Quantitative Hot-spot Analyses in PM
                                                                               2.5 and PM10 Nonattainment and
  Maintenance Areas (EPA-420-B-13-053, November 2013)
  Using MOVES in Project-Level Carbon Monoxide Analyses. (EPA-420-B-10-041, December 2010)
  Official Release of the MOVES2010a and EMFAC2007 Motor Vehicle Emissions Models for Transportation Conformity
  Hot-Spot Analyses and Availability of Modeling Guidance (Federal Register, Volume 75, No. 243, December 10, 2010)




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  3.         Transportation Conformity
  3.1.       Carbon Monoxide
  The Supplemental Draft EIS included CO hotspot modeling for one intersection (I-70 and Colorado
  Boulevard). The project team will perform a CO hotspot analysis on the same intersection for the Final EIS.
  Furthermore, only the Preferred Alternative and No-Action Alternative will be modelled in the Final EIS. The
  team feels that this is justified because all of the alternatives were modeled in the Supplemental Draft EIS
  and showed low values. There will only be minor changes to the traffic data for the Final EIS (this will be
  confirmed once the new traffic data are available); thus, concentrations should not be affected.

  The Supplemental Draft EIS found that the interchange at I-70 and Colorado Boulevard would have the
  highest CO concentrations in the project area. Because the alternatives evaluated in the Final EIS are
  expected to have similar impacts on speeds and traffic volumes to those in the Supplemental Draft EIS, the
  project team proposes to consider this location to represent the worst case within the project area and to
  model only this location for CO.

  CDOT will conduct the CO hotspot analysis using CAL3QHC and MOVES. Background concentrations were
  calculated for the Supplemental Draft EIS using the procedure in 40 Code of Federal Regulations (CFR)
  §93.123(c) (transportation conformity rule) in consultation with the APCD. The conformity rule requires the
  analysis to cover the year of peak emissions. The team will use this same background concentration in the
  Final EIS.

  CDOT will then model a worst-case emissions scenario using the highest peak period traffic volumes and
  actual temperatures and speeds. The worst-case scenario consists of using future traffic volumes with
  existing year background emissions in the model. Temperature data from DRCOG’s most recent regional
  transportation conformity emissions analysis will be used for the CO hotspot modeling in the MOVES model.
  The conformity rule requires modeling of locations that are or will be at level of service D or worse. In the
  case of the I-70 East project, this could be dozens of intersections. Because the project team proposed to
  model only the worst-case location, the EPA Regional Administrator has approved this approach pursuant to
  40 CFR §93.123(a)(1).


  3.2.       Particulate Matter (PM10)
  The project team will follow the same PM10 modeling guidance as stated in the November 2013 I- 70 East Air
  Quality Analysis Protocol document, with some changes to the PM10 hotspot modeling analysis being
  conducted for NEPA purposes (discussed below) in order for it to also meet applicable conformity
  requirements.


  4.         NEPA Analysis
  4.1.       National Ambient Air Quality Standards and Mobile Source
             Air Toxics Emissions Analysis
  As with the Supplemental Draft EIS, the Final EIS will include an emissions inventory for National Ambient
  Air Quality Standards (NAAQS) pollutants/precursors and Mobile Source Air Toxics (MSAT) pollutants that
  will be developed using MOVES2010b’s County Scale option. The MSATs analyzed will reflect the more
  recent list of priority MSATs in FHWA’s 2012 guidance. The analysis will be conducted by APCD using
  traffic data provided by CDOT.



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  4.2.       PM10 Quantitative Hotspot Analysis
  Determine Applicability of Conformity Hotspot Analysis Requirement

  In the Supplemental Draft EIS, quantitative PM10 hotspot analysis was conducted for NEPA purposes to
  address community/reviewing agency concerns about PM10 concentrations. For the Final EIS, FHWA must
  make a determination as to whether the project is a Project of Air Quality Concern for conformity purposes;
  that is, whether hotspot modelling is required because the project meets one or more of the criteria in 40
  CFR 93.123(b). CDOT will evaluate the changes in diesel traffic due to the proposed project, and make a
  recommendation as to whether the project should be considered a Project of Air Quality Concern, and will
  share this proposed recommendation with the interagency consultation partners to reach consensus.
  Documentation regarding the finding will be prepared for the Final EIS air quality technical report.

  General modeling approach

  Regardless of whether the Final EIS PM10 quantitative hotspot analysis is performed for NEPA or conformity
  purposes, CDOT plans to perform this analysis in-house using alternative-specific traffic data provided by the
  consultant team. CDOT will use MOVES2010b at the Project scale for emissions analysis along with road
  dust/sanding emissions factors from the current PM 10 maintenance plan and the AERMOD dispersion model.
  AERMOD was selected because
  1. CDOT staff have considerable experience with running AERMOD
  2. AERMOD can model closure of the truck stop affected by some of the alternatives
  3. AERMOD can model the outflow from the proposed decked portion of I-70.

  Season(s) to be modeled

  CDOT will model the same season in the Final EIS as modeled in the Supplemental Draft EIS. Because
  PM10 (and CO) violations have typically occurred in the winter and the maintenance plans for these
  pollutants address wintertime conditions, the project team proposes modeling only the winter season. This
  will reduce the MOVES modeling workload by a factor of four while still modeling the “worst-case” season for
  air quality in Denver.

  Location(s) to be modeled

  CDOT will model the same locations in the Final EIS as modeled in the Supplemental Draft EIS. Because
  the I-70 East project covers a large geographic area, the project team prefers to model a subset of the
  project with the highest likelihood of PM10 NAAQS violations. The highest volume locations in the project
  area are associated with major interchanges.

  For NEPA purposes, all proposed alternatives will be modeled for PM10, including some of these alternatives
  that include “options” (e.g., managed lanes or no managed lanes). The project team will produce
  concentration estimates for each alternative and option (including No-Action).

  Emissions modeling

  Hotspot analysis for transportation conformity is required to address the “years of peak emissions.” For
  PM10, the project team proposes to model the design year (2035) based on the growth in PM10 emissions
  documented in the Supplemental Draft EIS. Prior to conducting modeling, the project team evaluated
  emissions in multiple years due to project phasing—that is, compare emissions factors and vehicle-miles
  traveled (VMT) for interim years to see if they “peak” prior to the design year (such that lower VMT in an
  interim year could still result in higher emissions). This analysis showed that 2035 is the year of peak
  emissions.




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  The project team will redefine which roadway links to model for each location. Based on the examples in
  EPA’s particulate matter hotspot training materials, the team will model freeway links, major arterial links,
  and associated connecting roads (ramps and frontage roads) that are affected by the project.

  Also, based on EPA’s guidance, the project team proposes to model daily emissions using four MOVES runs
  reflecting morning (AM) peak, midday, evening (PM) peak, and overnight.

  A major truck stop servicing the corridor will be closed under some of the alternatives. It will be modeled as
  an off-network link in MOVES and modeled as an area source in AERMOD. Activity data for the truck stop
  will be obtained from data collected by the project team either through peak hour counts or supplied by the
  business proprietor.

  Construction dust will not be included in the analysis because construction is not expected to last longer than
  five years at any individual site.

  The following additional MOVES input assumptions will be used:

         Link source type (vehicle mix): Link data will be constructed from the Denver Regional Council of
          Governments (DRCOG) conformity model. Truck fractions in the DRCOG model will be verified
          using the results of the DynusT traffic model.

         Meteorological Data: Under EPA’s particulate matter hotspot guidance, the meteorological inputs
          for the MOVES modeling need to be consistent with the inputs used for the regional emissions
          analysis for conformity. CDOT will use met inputs consistent with the most recent DRCOG regional
          emissions analysis for conformity. Meteorological data in MOVES will be provided by APCD and is
          consistent with the regional conformity modeling.

         Age Distribution: CDOT will use Age Distribution datasets provided by APCD. These distributions
          will be based on motor vehicle registration data.

  Dispersion modeling

  AERMOD receptors will be located per the general guidelines for PM 10 in EPA’s particulate matter hotspot
  guidance. The Supplemental Draft EIS receptor network consists of a 25 meters (m)/100m nested grid.
  Receptors were sited with a spacing of 25m until a distance of 100m from the roadway network was
  achieved. Receptors were then sited with 100m spacing up to a distance of 500m from the roadway
  network. Following EPA’s PM10 hotspot guidance in place at that time, receptors were excluded from the
  network if they were sited in an area with no public access or where members of the public would only be
  present for a short time. This approach excluded locations within a fenced property of a business, the
  median strip of the highway, right-of-way on a limited access highway links, or an approach to a tunnel. For
  the Final EIS, all locations outside the CDOT owned project boundary will be included in the receptor grid,
  following new guidance from EPA. Data from the Stapleton meteorological station will be used for the PM10
  hotspot modelling and flat terrain will be assumed for dispersion modeling.

  Following suggestions from the EPA’s Office of Transportation and Air Quality (OTAQ), the below-grade
  portions of roadway in the Partial Covered Lowered Alternative will be modeled using AERMOD’s OPENPIT
  option to better characterize emissions from this source. Additionally, the ends of the tunnels will be
  modeled as volume sources for this analysis; the AERMAP terrain processor will not be utilized.

  The project team proposes to use Commerce City as the background monitor as it best captures the
  industrial PM10 contributions in the project area and is a reasonable distance from the I-70 corridor (i.e., it
  may best reflect actual background concentrations, excluding I-70 impacts). It also may be appropriate to
  use a different monitor or interpolate between these and/or another monitor.

  Per EPA and FHWA guidance, CDOT will use EPA’s new PM background concentration guidance for
  hotspot modeling. EPA’s new guidance requires use of the fourth highest PM10 value over a 3-year period,



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  excluding exceptional events, to represent background. The project team proposes to determine the
  background concentration using 2011-2013 data. Although this guidance document has not been officially
  released at the time of this protocol, EPA and FHWA have agreed that the new PM background guidance
  should be used on the I-70 East project. If the new guidance is not published by the time the Final EIS is
  released to the public, EPA will provide a concurrence letter for the methodology to the team for
  documentation in the Final EIS air quality technical report.


  4.3.       CO Hotspot modeling
  The project team will follow the same CO modeling guidance as stated in the November 2013 I-70 East Air
  Quality Analysis Protocol document, with some changes. The CO hotspot analysis for conformity purposes
  will also serve as the analysis for NEPA. While the conformity regulations only require analysis of a
  Preferred Alternative (and the No-Action Alternative if the Preferred Alternative violates the NAAQS), the CO
  hotspot analysis will only include the Preferred Alternative for NEPA purposes. CDOT will conduct the CO
  hotspot analysis using CAL3QHC and MOVES. Data from the Denver International Airport meteorological
  station (provided by APCD) will be used for the CO hotspot modeling in the MOVES model, to be consistent
  with the regional conformity modeling. Additionally, an updated/corrected inspection and Maintenance (I/M)
  file, provided by APCD, will be used in the CO hotspot analysis. Documentation will be provided in the Final
  EIS air quality technical report documenting the change in I/M program file use between the Supplemental
  Draft EIS and the Final EIS.


  4.4.       Greenhouse Gases
  An updated version of the FHWA standard language will be used with modifications by CDOT to reflect
  Colorado climate activities. The table at the end will be replaced with greenhouse gas emissions by
  alternative calculated by APCD using the same travel data as the MSAT analysis. The MOVES emission
  factors for GHGs including CO2 will include adjustments for the most recent changes to the CAFE fuel
  economy standards. Global, national, state-wide, and regional GHG emissions from the FHWA table and
  other sources as available will be included in the supplement to the Final EIS to provide context.


  4.5.       Construction Fugitive Dust
  The Supplemental Draft EIS included a short discussion of construction fugitive dust impacts and a
  comparison of the volume of material moved for each construction alternative. The project team proposes
  that this analysis should be updated in the Final EIS. This is included for NEPA purposes, not conformity.
  As noted previously, construction is not expected to last long enough for these emissions to be included in a
  conformity analysis. Monitoring plans have not yet been prepared, but monitoring of PM10 emissions during
  construction is anticipated, and the Final EIS will include the primary objectives and requirements to be
  included in air quality monitoring plans.




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  1.          Introduction
  This document describes the proposed air quality analysis approach for the I-70 East project. The approach
  outlined in this document goes beyond federal requirements in several areas because of air quality concerns
  expressed during the public involvement process. This protocol is specific to this project only—it does not
  represent a change to Colorado Department of Transportation (CDOT)/Federal Highway Administration
  (FHWA) standard practice for analysis of air quality impacts in the National Environmental Policy Act (NEPA)
  process, nor does it establish a precedent for future air quality analyses in Colorado.


  2.          Background
  The Draft Environmental Impact Statement (EIS) for the I-70 East project was released to the public in
  November 2008. No public support was received on any of the proposed alternatives in the 2008 Draft EIS;
  therefore, CDOT and FHWA committed to selecting a preferred alternative by using a collaborative decision-
  making process in partnership with corridor communities and stakeholders. As a result, CDOT formed the
  Preferred Alternative Collaborative Team (PACT) to arrive at a preferred alternative, but this process ended
  without consensus in August 2011.

  Since then, CDOT has identified a new alternative, the Partial Covered Lowered Alternative, which retains I-
  70 on its current alignment, but lowers the highway between Brighton Boulevard and Colorado Boulevard
  (similar to portions of I-25 south of Broadway) with a 900-foot-long cover over the highway between
  Columbine Street and Clayton Street near Swansea Elementary School. This new alternative as well as any
  changes to previously analyzed alternatives required the development of the Supplemental Draft EIS,
  scheduled to be released for public review in summer 2013.

  Traffic data from the DRCOG model is being used to conduct the air quality analysis for the Supplemental
  Draft EIS. The air quality analysis will be updated with DynusT model results prior to the Final EIS.
  The interim DRCOG model data will come from the Compass and not the newer Focus regional travel
  demand model. The Compass model is still the official model for use on project-level studies in the region.
  FTA has not approved the Focus model yet (for New Starts projects) and no consultants are able to run the
  Focus model at this time. However, the traffic modeling for the project will use the updated socioeconomic
  forecasts produced by DRCOG in the fall of 2012.

  This document details each of the proposed approach elements, with project-level conformity addressed
  first, followed by elements of the NEPA analysis. The U.S. Environmental Protection Agency’s (EPA)
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  transportation conformity hotspot guidance documents for carbon monoxide (CO) and particulate matter
  less than 10 micron size (PM10) identify many items for interagency consultation, which are reflected in the
  following sections. For those items where the guidance provides some flexibility and defers to the
  interagency consultation process, the project team has proposed options and/or a preferred approach.




  1
   Transportation Conformity Guidance for Quantitative Hot-spot Analyses in PM2.5 and PM10 Nonattainment and
  Maintenance Areas (EPA-420-B-10-040, December 2010)
  Using MOVES in Project-Level Carbon Monoxide Analyses. (EPA-420-B-10-041, December 2010)
  Official Release of the MOVES2010a and EMFAC2007 Motor Vehicle Emissions Models for Transportation Conformity
  Hot-Spot Analyses and Availability of Modeling Guidance (Federal Register, Volume 75, No. 243, December 10, 2010)




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  3.          Transportation Conformity
  The Supplemental Draft EIS will include a discussion and preliminary analysis of transportation conformity.
  A formal draft project-level conformity determination will be included in the Final EIS, with the final conformity
  determination made in the Record of Decision.

  Project-level conformity applies to transportation projects in air quality nonattainment and
  attainment/maintenance areas. Project-level conformity is conducted for projects that are funded and/or
  approved by FHWA or FTA and/or considered regionally significant. To pass project-level conformity, the
  project must be included in a conforming RTP and TIP; and the project cannot create new, increase the
  frequency of, or exacerbate the severity of air quality violations. Furthermore, the design and concept for the
  proposed project must be adequately defined and must remain consistent with the project’s definition in the
  conforming RTP and TIP.

  If the project changes in concept or design during the planning process, or if it was not originally included in
  the RTP and TIP, the regional conformity analysis would need to be revisited before the project can proceed.
  This is the case with the I-70 East Corridor. There are some projects included in the 2035 RTP which is
  developed and maintained by DRCOG. However, neither the No-Build nor any of the alternatives are fully
  included in the RTP. An amendment to the RTP will be necessary once the preferred alternative is selected
  and prior to the issue of a Record of Decision by FHWA.

  The following projects related to the I-70 East Corridor are included in the 2035 RTP:

         I-70 viaduct replacement (partial) from Brighton Boulevard to Colorado Boulevard

         I-70 widening from I-270 to Havana Street

         I-70 at Vasquez Boulevard interchange improvements


  3.1.        Carbon Monoxide
  The 2008 Draft EIS included CO hotspot modeling for four intersections. The project team proposes to scale
  back the CO hotspot analysis for the Supplemental Draft EIS. The team feels that this is justified because
  the CO modeling for the 2008 Draft EIS showed reasonably low values (approximately 5 to 6 parts per
  million [ppm] compared to a standard of 9 ppm) and MOVES CO emissions rates are lower than the
  MOBILE6.2 rates used in the 2008 Draft EIS.

  The 2008 Draft EIS found that the interchange at I-70 and Colorado Boulevard would have the highest CO
  concentrations in the project area. Because the alternatives evaluated in the Supplemental Draft EIS are
  expected to have similar impacts on speeds and traffic volumes to those in the 2008 Draft EIS, the project
  team proposes to consider this location to represent the worst case within the project area and to model only
  this location for CO. Due to more detailed DynusT mesoscopic simulation model now being applied in this
  analysis, however, there is a possibility that the worst-case location could change. This will be monitored
  and a different location may be modeled if warranted.

  CDOT will conduct the CO hotspot analysis using CAL3QHC and MOVES. Concentration estimates will be
  produced for all alternatives and options. Background concentrations will be calculated using the procedure
  in 40 Code of Federal Regulations (CFR) §93.123(c) (transportation conformity rule) in consultation with the
  Air Pollution Control Division (APCD). The conformity rule requires the analysis to cover the year of peak
  emissions. In the 2008 Draft EIS, the year of peak emissions was 2030; however, the Draft EIS also
  indicated that concentrations would be highest in 2010. CDOT will address this uncertainty by comparing
  emissions factors and VMT for interim years 2015, 2020, 2025 and 2030 to see if they ―  peak‖ prior to the
  design year. The consideration of multiple years is appropriate given the project phasing.



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  CDOT will then model a worst-case emissions scenario using the highest peak period traffic volumes and
  lowest peak period temperatures and speeds. The conformity rule requires modeling of locations that are or
  will be at level of service D or worse. In the case of the I-70 project, this could be dozens of intersections.
  Because the project team is proposing to model only the worst-case location, the EPA Regional
  Administrator will need to approve this approach pursuant to 40 CFR §93.123(a)(1). Similar approval was
  sought and received for the streamlined approach used for CO hotspot modeling for the T-Rex project.

  The following comments were received from EPA Region 8 on March 5, 2013:

          Region 8 consulted with our Office of Transportation and Air Quality (OTAQ) and we have agreed
          that this approach is acceptable, as was done for the Trex project, for CO hotspot modeling for the I-
          70 East project.

  A letter was received from Shaun L. McGrath, EPA Region 8 Administrator, on June 12, 2013, formally
  agreeing to the above methodology.


  3.2.        Particulate Matter (PM10)
  While the community and the reviewing agencies are concerned about the potential particulate matter
  impacts from the project, the regulatory definition of a ―project of air quality concern‖ in 40 CFR §93.123(b)
  centers on whether the project has a significant impact on diesel traffic volumes. Because the project does
  not include transit-related elements and Denver is a PM10 maintenance area (e.g., the State Implementation
  Plan [SIP] does not identify ― areas of violation or possible violation‖), the following criteria from this section of
  the rule apply:

      b. PM10 and PM2.5 hot-spot analyses.
         i. The hot-spot demonstration required by §93.116 must be based on quantitative analysis methods
            for the following types of projects:
             (1) New highway projects that have a significant number of diesel vehicles and expanded
                  highway projects that have a significant increase in the number of diesel vehicles;
             (2) Projects affecting intersections that are at Level-of-Service D, E, or F with a significant
                  number of diesel vehicles or those that will change to Level-of-Service D, E, or F because of
                  increased traffic volumes from a significant number of diesel vehicles related to the project.

  The project team believes that it can demonstrate that the project is not a ― project of air quality concern‖
  pursuant to the conformity rule because there is no significant change in diesel truck traffic between the No-
  Action Alternative and any of the Action alternatives. The 2008 Draft EIS found very small changes in truck
  traffic under the alternatives, largely because there are no existing alternative routes for traffic to divert from
  and the same is expected from the updates with the Supplemental Draft EIS.

  The model results for the No-Action and two build alternatives indicate that the I-70 East Corridor is not a
  project of air quality concern. Table 1 shows the commercial vehicle miles of travel (VMT) and vehicle hours
  of travel (VHT) for the three Compass model runs based on the project study area for air quality. The study
  area is based on the impacts of different I-70 alternatives on the surrounding roadway network.

  The results in Table 1 indicate a very small increase (i.e., 1–3%) in commercial vehicle VMT in the study
  area between the No-Action and build alternatives. Congested VHT decreases between the No-Action and
  build alternatives. In some respects, VHT is the better measure because emissions are a function of speed.
  In either case, a small increase in VMT and a small decrease in VHT confirm that the I-70 East Corridor is
  not a project of air quality concern with regard to the PM10 analysis and transportation conformity
  requirements.




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            Table 1.     Commercial Vehicle Miles and Hours of Travel (2035, study area)

                                                                    Partial Cover        Partial Cover
                                              Revised Viaduct –
           Measure         No-Action                              Lowered - General       Lowered –
                                              General Purpose
                                                                      Purpose           Managed Lanes
         Vehicle Miles           503,400               521,500              519,900               506,700
           of Travel     Percent Difference
            (VMT)           from No-Action
                                                            4%                   3%                    1%
         Vehicle Hours            16,660                16,280               16,290                16,220
           of Travel     Percent Difference
            (VHT)           from No-Action
                                                           -2%                  -2%                   -3%


  Based on this information, it does not appear that a PM10 hotspot analysis will be required for conformity.
  Once the more detailed Dynus-T travel modeling results are available, the project team will reevaluate this
  conclusion and engage the Interagency Consultation group. The group will either confirm that the project is
  not a ―
        project of air quality concern‖ for conformity purposes or discuss any necessary changes to the PM10
  hotspot modeling analysis being conducted for NEPA purposes (discussed below) in order for it to also meet
  applicable conformity requirements.



  4.          NEPA Analysis
  4.1.        National Ambient Air Quality Standards and Mobile Source
              Air Toxics Emissions Analysis
  As with the 2008 Draft EIS, the Supplemental Draft EIS will include an emissions inventory for National
  Ambient Air Quality Standards (NAAQS) pollutants/precursors and Mobile Source Air Toxics (MSAT)
  pollutants that will be developed using MOVES2010b’s County Scale option. The MSATs analyzed will
  reflect the more recent list of priority MSATs in FHWA’s 2009 guidance. The analysis will be conducted by
  APCD using traffic data provided by CDOT.

  Emission factors are generated at the County-Scale in MOVES and applied at the link level. In MOVES, the
  County Scale is one of three options for running the model. It facilitates the use of local input data to
  develop emissions factors. It does not mean that county-level emissions totals will be generated.

  The 2008 Draft EIS included several analysis years (1990, 2001, 2010, 2020, and 2030) based on input
  received during the consultation process for the document. This analysis was compromised by the fact that
  the 1990 vehicle miles of travel (VMT) came from a different source and estimates for the more recent years
  were suspect (while VMT grew by 20-30 percent each decade between 2001 and 2030, it appeared to
  ―grow‖ by almost 100 percent between 1990 and 2001).

  For the supplemental DEIS, the problematic 1990 and 2001 analysis years will no longer be included so that
  the analysis for different years is based on the same source for travel data. The revised analysis will use a
  base year of 2010 and a horizon year of 2035 consistent with other major projects.




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  4.2.       PM10 Quantitative Hotspot Analysis
  General modeling approach

  Quantitative PM10 hotspot analysis will be conducted for NEPA purposes to address community/reviewing
  agency concerns about PM10 concentrations. CDOT plans to perform this analysis in-house using alternative-
  specific traffic data provided by the consultant team. CDOT proposes to use MOVES2010b at the Project
  scale for emissions analysis along with road dust/sanding emissions factors from the current PM 10
  maintenance plan and the AERMOD dispersion model. AERMOD was selected because 1) CDOT staff
  have considerable experience with running AERMOD, 2) AERMOD can model closure of the truck stop
  affected by some of the alternatives, and 3) AERMOD can model the outflow from the proposed decked
  portion of I-70.

  Season(s) to be modeled

  Because PM10 (and CO) violations have typically occurred in the winter and the maintenance plans for these
  pollutants address wintertime conditions, the project team proposes modeling only the winter season. This
  will reduce the MOVES modeling workload by a factor of four while still modeling the ―
                                                                                       worst-case‖ season for
  air quality in Denver.


  Location(s) to be modeled

  Because this project covers a large geographic area, the project team prefers to model a subset of the
  project with the highest likelihood of PM10 NAAQS violations. The highest volume locations in the project
  area are associated with major interchanges. The 2008 Draft EIS provided estimated traffic volumes for
  2030, as listed in Table 2.

                              Table 2. 2030 Estimated Traffic Volumes
                              Interchange                   2030 Annual Average Daily Traffic
                                I-70/I-25                                 ~400,000
                                I-70/I-270                                ~370,000
                                I-70/I-225                                ~350,000
                          I-70/Peña Boulevard                             ~305,000

  The I-70/I-25 interchange is outside of the project limits but upwind of the project area under some met
  conditions. Volumes at this interchange change slightly under some alternatives. The I-70/I-270 and I-
  70/Peña Boulevard interchanges have high traffic volumes but no nearby land uses with public access.
  Background concentrations are likely to be the same at all locations based on the proximity of the nearby
  PM10 monitors (the same background concentrations would likely be used for any locations along the
  corridor, as discussed in the following subsection). Considering these factors, the project team proposes two
  modeling locations: (1) from the Mousetrap east along I-70 to the Vasquez Boulevard/Steele Street
  interchange and (2) the area around the I-70/I-225 interchange.

  There are several build alternatives associated with the project, and some of these alternatives include
  ―options‖ (e.g., managed lanes or no managed lanes). The project team will produce concentration
  estimates for each alternative and option (including No-Action).




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  Emissions modeling

  Hotspot analysis for transportation conformity is required to address the ―   years of peak emissions.‖ While
  this analysis is being conducted for NEPA purposes and not conformity, CDOT proposes to apply the same
  guideline. For PM10, the project team proposes to model the design year (2035) based on the growth in
  PM10 emissions documented in the 2008 Draft EIS. (CDOT will verify that the emissions trend using
  MOVES is the same as the trend calculated for the prior DEIS with MOBILE6.2.) Prior to conducting
  modeling, the project team will evaluate emissions in multiple years due to project phasing—that is, compare
  emissions factors and VMT for interim years to see if they ― peak‖ prior to the design year (such that lower
  VMT in an interim year could still result in higher emissions). If this turns out to be the case, then the project
  team will model whichever year results in the highest emissions.

  The project team will need to define which roadway links to model for each location. Based on the examples
  in EPA’s particulate matter hotspot training materials, the team proposes to model freeway links, major
  arterial links, and associated connecting roads (ramps and frontage roads) that are affected by the project.

  Also, based on EPA’s guidance, the project team proposes to model daily emissions using four MOVES runs
  reflecting morning (AM) peak, midday, evening (PM) peak, and overnight. At this point, it appears that traffic
  data from the DynusT model will be available for AM peak, PM peak, and daily, so the midday and overnight
  travel activity will need to be estimated using data for the three available time periods and the DRCOG
  model results.

  A major truck stop servicing the corridor will be closed under some of the alternatives. It will be modeled as
  an off-network link in MOVES and modeled as an explicit source in AERMOD. Activity data for the truck stop
  will be obtained from data collected by the project team either through peak hour counts or supplied by the
  business proprietor.

  Construction dust will not be included in the analysis because construction is not expected to last longer than
  5 years at any individual site.

  The following additional MOVES input assumptions will be used:

         Link source type (vehicle mix). To meet schedule demands, initial link data will be constructed
          from the Denver Regional Council of Governments (DRCOG) conformity model. Additional, higher-
          accuracy traffic data from the DynusT model will be available later and incorporated into the analysis
          prior to the Final EIS. CDOT will compare datasets and update links to reflect the DynusT model
          results where a statistically significant difference is demonstrated.

         Non-travel-related inputs. CDOT is working with APCD to assemble non-travel-related inputs such
          as age distribution, fuels, Inspection/Maintenance (I/M), and meteorological inputs. Under EPA’s
          particulate matter hotspot guidance, the meteorological inputs for the MOVES modeling need to be
          consistent with the AERMOD met inputs and the inputs used for the regional emissions analysis for
          conformity. CDOT will develop temperature and humidity data for the four MOVES time periods by
          extracting and averaging the relevant hourly data from the AERMOD meteorological data set.

  Dispersion modeling

  AERMOD receptors will be located per the general guidelines for PM 10 in EPA’s particulate matter hotspot
  guidance. AERMOD will be used to auto-generate receptors for the PM hotspot analysis and any receptors
  that are in the right-of-way or on property where the general public does not have access will be removed.

  Identifying an appropriate monitor to use for PM10 background concentrations is a key topic for interagency
  consultation. A complicating factor is that there is no monitor that is upwind from the project area under most
  meteorological conditions that also captures the industrial contributions that the project area neighborhoods
  are concerned about. Denver’s Continuous Ambient Monitoring Program (CAMP) station and the Commerce
  City, Welby, and National Jewish Health (NJH) sites are the closest monitors to the project area. CAMP is in



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  the Central Business District and is not representative of land use anywhere else in the project corridor. It
  appears that the NJH monitor does not record PM10 emissions. Each of the monitors is downwind of at
  least one major highway, which means they may not represent a true background value. After reviewing the
  locations of these three monitors on aerial photographs, the project team proposes to use Commerce City as
  the background monitor as it best captures the industrial PM10 contributions in the project area and is a
  reasonable distance from the I-70 corridor (i.e., it may best reflect actual background concentrations,
  excluding I-70 impacts). It also may be appropriate to use a different monitor or interpolate between these
  and/or another monitor.

  The following comments were received from EPA Region 8 on March 5, 2013:

           EPA would note that interpolating between monitors would require additional guidance from OTAQ
           and our Office of Air Quality Planning and Standards (OAQPS) and may require significant effort.
           Perhaps the best course would be, as noted above, to try to select a single monitor that would
           sufficiently represent the background concentrations for the project.

  EPA’s guidance requires use of the highest PM10 value over a 3-year period, excluding exceptional events,
  to represent background. The project team proposes to determine the background concentration using
  2009-2011 data because calendar year 2012 data will not be complete and quality assured until the PM10
  hotspot analysis is already complete. (According to EPA’s AirData site, annual statistics for 2012 are not
  final until May 1, 2013.) The 2012 data can be reflected in revised design value calculations for the Final
  EIS.


  4.3.         CO Hotspot modeling
  The CO hotspot analysis for conformity purposes will also serve as the analysis for NEPA. While the
  conformity regulations only require analysis of a preferred alternative (and the No-Action Alternative if the
  preferred alternative violates the NAAQS), the CO hotspot analysis will include all of the alternatives for
  NEPA purposes.


  4.4.         Evaluating CO Concentrations in the Covered Portion of I-70

  An emergency ventilation system is assumed as part of the Partial Cover Lowered alternatives. The
  ventilation system is for emergency situations including incidents, accidents, and weather. It would operate
  automatically based on emissions sensors in the tunnel.
  The project team wishes to evaluate the CO levels that motorists and/or workers may be exposed to with its
  natural ventilation design, particularly under conditions of slowed or stopped traffic due to snowstorms or
  traffic incidents. FHWA guidance establishes maximum CO levels in tunnels to protect the travelling public
  with an adequate margin of safety (see Table 3).


                          Table 3.        Maximum Carbon Monoxide Levels in Tunnels
                          Maximum CO Level (ppm)                Peak-hour Exposure Time (minutes)
                                        120                                          15
                                        65                                           30
                                        45                                           45
                                        35                                           60
  Source: Revised Guidelines for the Control of Carbon Monoxide Levels in Tunnels (FHWA-HEV-30, March 31, 1989)




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  The projected levels of CO will be analyzed using guidance from Chapter 13, Enclosed Vehicular Facilities
  from The American Society of Heating, Refrigerating and Air-Conditioning Engineers Applications Handbook
  (2011, pages 13.1-13.30). The covered portion of I-70 matches the American Society of Heating,
  Refrigerating, and Air-Conditioning Engineers guidance’s characterization of a bi-directional tunnel with
  natural or traffic-induced ventilation and these data points will be applied for the air quality analysis.

  As a side note, two Stapleton Airport Tunnels carried I-70 under one of the airport’s north-south runways and
  taxiways from the 1970’s to 1995. The east tunnel was the shorter of the two and was built later than the
  longer tunnel. The longer tunnel is estimated to be approximately 800 feet in length based on relationships
  using old aerial photography. The length of the shorter tunnel is estimated at 250 feet with a 250 foot
  separation between the tunnels.



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  Aerial photo of Stapleton Airport Tunnels
  Scale: 1 inch = 400 feet (approx.)


  4.5.       Mobile Source Air Toxics
  FHWA recently revised the guidance for MSAT analyses in NEPA documentation. The revisions reflect
  recent MSAT research and changes in methodology for conducting emissions analysis. They incorporate
  the use of the latest version of MOVES (MOVES2010b) in MSAT analyses for NEPA studies. To the extent
  possible, the Supplemental Draft EIS will address the recommendations of the guidance, but revisions may
  be needed for the Final EIS.

  As noted earlier, an MSAT emissions burden analysis similar to the analysis in the 2008 Draft EIS will be
  compiled by APCD using MOVES with CDOT providing traffic data. The MSAT analysis will cover the newer
  list of seven priority MSATs in FHWA’s 2009 guidance.

  The project team will obtain and summarize MSAT monitoring data for the project area and, to the extent
  possible, report trends. New data will not be collected. FHWA will work with CDOT to develop updated
  language describing MSAT research conducted since the 2008 Draft EIS. This will be based on FHWA’s
  updated MSAT guidance.




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  The Supplemental Draft EIS will include an expanded discussion of the findings of the Good Neighbor study
  in consultation with City and County of Denver Department of Environmental Health (DEH). DEH has
  committed to updating the Good Neighbor study to reflect updated emissions factors in MOVES. CDOT
  intends to provide DEH with recalculated MOVES emissions factors for the Good Neighbor project area that
  will replace those originally generated by MOBILE6.2, which is no longer supported by EPA.

  DEH will use these emissions factors in conjunction with their existing CALPUFF modeling platform to
  analyze trends in air quality. CALPUFF is being used rather than AERMOD for the MSAT analysis because
  AERMOD is not supported for near-roadway applications of MSATs. This will help the public see how
  emissions might change compared to the levels DEH modeled for their 2007 report (due to fleet turnover and
  use of MOVES). The full study will be posted on the I-70 East project website, along with CDOT addendums
  containing emissions comparisons and analysis of trends in air quality, if possible.

  The following comments were received from EPA Region 8 on March 5, 2013:

          Region 8 has conferred with OTAQ and we note that this statement (i.e., CALPUFF is being used
          rather than AERMOD for the MSAT analysis because AERMOD is not supported for near-roadway
          applications of MSATs) is not correct and does not comport with general practice among air quality
          modelers. AERMOD, CALINE3, CAL3QHC, and CAL3QCHR are all able to model MSAT
          concentrations. The modeling procedures outlined in the EPA guidance document, Transportation
          Conformity Guidance for Quantitative Hot-spot Analyses in PM2.5 and PM10 Nonattainment and
          Maintenance Areas, are applicable to MSATs, as specified in Section 1.5 of that document. We note
          also that AERMOD is able to model NO2 concentrations, as specified in Section 10 of EPA's Near-
          road NO2 Monitoring Technical Assistance Document. In conclusion, there is no technical reason
          why AERMOD could not be used to model MSATs or NO 2 or why CALINE3, CAL3QHC, or
          CAL3QHCR could not be used to model MSATs.

  EPA has determined that the PM2.5 NAAQS are also protective of exposure to diesel particulate matter. The
  Supplemental Draft EIS could cite this information and show the trend in PM 2.5 concentrations as a way of
  addressing this particular MSAT.


  4.6.       Greenhouse Gases
  An updated version of the FHWA standard language will be used with modifications by CDOT to reflect
  Colorado climate activities. The table at the end will be replaced with greenhouse gas emissions by
  alternative calculated by APCD using the same travel data as the MSAT analysis. The MOVES emission
  factors for GHGs including CO2 will include adjustments for the most recent changes to the CAFE fuel
  economy standards. Global, national, statewide, and regional GHG emissions from the FHWA table and
  other sources as available will be included in the supplement to the DEIS to provide context.


  4.7.       Construction Fugitive Dust
  The 2008 Draft EIS included a short discussion of construction fugitive dust impacts and a comparison of the
  volume of material moved for each construction alternative. The project team proposes that this analysis
  should be updated in the Supplemental Draft EIS. This is included for NEPA purposes, not conformity. As
  noted previously, construction is not expected to last long enough for these emissions to be included in a
  conformity analysis. Monitoring plans have not yet been prepared, but monitoring of PM10 emissions during
  construction is anticipated.




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